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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
        Plaintiffs,                 )
                                    )        CIVIL ACTION NO.
        v.                          )          2:14cv601-MHT
                                    )               (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
        Defendants.                 )

              PHASE 2A OMNIBUS REMEDIAL OPINION

                              PART III.



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                           I.    INTRODUCTION

      As stated previously, this opinion is divided into

three parts.     This is the third part, which discusses the

parties’ proposed provisions, the relief that the court

orders and its reasons for doing so, and the court’s PLRA

findings.    The court anticipates that the monitoring team

may   use   this    part    as    a   reference    guide    to    better

understand the intricacies of the order.               Both deal with

the following areas of liability, in the following order:

correctional        staffing;          mental-health          staffing;

restrictive        housing;       intake;       coding;      referral;

confidentiality; treatment teams and plans; psychiatric

and therapeutic care; suicide prevention; higher levels

of care; discipline; and training.1



    1. This part of the opinion also discusses ADOC’s
promulgation of policies--an area in which the court
declines to order relief.
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          II. REMEDIAL PROVISIONS AND PLRA FINDINGS

                       A. Correctional Staffing

       The currently operative 2017 understaffing remedial

order requires the ADOC to have “fully implemented the

Savages’     correctional       staffing        recommendations”          by

February 20, 2022.       Phase 2A Understaffing Remedial Order

(Doc.     1657)   at    3.     As       discussed   previously,         the

recommendations that must be “fully implemented” by that

date      include:       (1)        hiring       for         the      3,826

full-time-equivalent         correctional        staffing      positions

necessary to fill the “mandatory” and “essential” posts

described    in   the    staffing       analysis;      (2)   undertaking

“another staffing analysis ... for every facility”; and

(3) creating an “agency staffing unit” to “implement[]

and enforce[]...any changes resulting from” the Savages’

analysis.     Savages’ Report (Doc. 1813-1) at 20, 100,

121-33.     It is clear at this point that at least the

first of these requirements is out of reach.                       Overall

correctional      staffing     numbers     in   ADOC’s       system   have

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barely increased in three years, and the system has

filled less than half of the positions necessary to meet

the requirement of 3,826 full-time-equivalent officers.

This failure must be considered in the context that,

despite   the    court’s     instruction       in   2018    that    “the

defendants are not to delay implementation until the last

minute, but are to begin immediately and swiftly upon

receiving” the Savages’ recommendations, the defendants

had, at the time of the 2021 omnibus hearings, taken no

steps whatsoever toward complying with the second and

third requirements.         Braggs, No. 14cv601-MHT, 2018 WL

985759, at *8 (M.D. Ala. Feb. 20, 2018) (Thompson, J.).



                a.    The Parties’ Proposed Provisions

    To      remedy       ADOC’s        continued,       extraordinary

correctional      understaffing,        the    plaintiffs       propose

mainly that the court maintain the existing February 2022

deadline.     See Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 2.1.1.           In the alternative, if the

court modifies this deadline, the plaintiffs ask that

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benchmarks be imposed on the ADOC’s compliance to ensure

that another three-plus years do not pass with minimal

progress made and with no intervening points at which

that lack of progress might be reviewed by the court.

See Pls.’ Post-Trial Br. (Doc. 3370-1) at 342-44.                     The

plaintiffs      propose      that       these   benchmarks        should

prioritize correcting the staffing deficiencies at ADOC’s

mental-health hubs, intake facilities, and restrictive

housing units first, but they do not propose specific

benchmarks beyond that general suggestion of structure.

See id.

    The defendants propose that no relief is necessary.

See Defs.’ Post-Trial Br. (Doc. 3367) at 58-59.                  In the

alternative, they propose two modified deadlines for

fixing its correctional staffing deficiencies, as well

as new intervening dates for creating the agency staffing

unit and completing the updated staffing analysis.                    See

Defs.’ Revised Correctional Staffing Proposal (Doc. 3351)

at §§ 2.1.1-2.1.7.        The first of these deadlines would

require the ADOC to reach critical minimum staffing by,

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at the latest, December 31, 2023.                  See id. at 6.         The

latter of the deadlines would require the ADOC to fill

85     % of the mandatory posts described in the updated

staffing analysis by July 1, 2025.                See id.     In light of

Meg Savage’s testimony that meeting critical minimum

staffing should generally mean filling all mandatory

posts, see June 15, 2021, R.D. Trial Tr. at 122-27, it

is unclear how these two deadlines would work together:

Filling critical minimum posts should require more staff

than filling 85 % of mandatory posts. The ADOC’s proposal

contains no timeline for it to fill any of the essential

posts—the positions necessary for “normal operations.”

June 16, 2021, R.D. Trial Tr. at 41-42.                It also does not

include       any    adjustments      to    the    operation      of   ADOC

facilities during the four years before it would under

its proposal achieve 85           % of the staffing level at which,

according to Savage, the prisons could safely operate in

a non-lockdown status.



                    b.   The Court’s Ordered Relief

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    The   court    will    adopt    a   hybrid    of   the   timelines

proposed by the defendants and the plaintiffs.                 In light

of ADOC’s minimal progress toward correcting its severe

correctional understaffing in the four years since the

liability opinion, the court will extend to July 1, 2025,

the deadline for filling all mandatory and essential

posts prescribed in the most recent staffing analysis in

effect    at   that    time.2       This    extension      grants     the

defendants’ request for another four years from the time

of the omnibus remedial hearings to achieve the level of

staffing necessary to safely conduct normal operations,

including programming, recreation, and other activities

“as prescribed in all policy and procedures.”                  June 16,

2021, R.D. Trial Tr. at 41-42.             Given the exceptionally

slow pace of progress the ADOC has made over the past


     2. As explained in the Savages’ staffing analysis
and in Meg Savage’s testimony, for an essential post to
be filled, it need only in fact be occupied 75 % of the
time. See Savages’ Staffing Analysis (Doc. 1813-1) at
106.    In addition, per the parties’ stipulations,
compliance with this deadline and with the benchmarks
below will not be monitored at Hamilton or Tutwiler
absent further order of this court.           See Joint
Stipulation (Doc. 3288) at 3.
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four years, the court finds that this deadline is the

earliest date with which it is realistic to expect the

department may be able to comply.

     However, when the amount of work (much of which

should have been done years ago) ADOC must put into

achieving adequate correctional staffing is considered,

July 2025 is just around the corner. Time is of the

essence.      Every week and month is dear.                         The court,

therefore,      agrees    with     the           plaintiffs     that    it   is

necessary         to          impose             certain        intermediate

benchmarks--that        is,    “point[s]          of   reference”      against

which   ADOC’s     progress      may        be    assessed.         Benchmark,

MERRIAM-WEBSTER     ONLINE,      https://www.merriam-webster.com

/dictionary/benchmark (last visited December 21, 2021).

In deference to the ADOC, the court will not attempt to

prescribe these benchmarks itself.                       Instead, it will

order the defendants, in consultation with the Savages,

to   propose      realistic      benchmarks            for    the    level   of

correctional staffing ADOC will attain by December 31 of

2022,   2023,     and    2024.         These       benchmarks       should   be

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achievable     for   ADOC,   should     appropriately       prioritize

filling mandatory posts and staffing the mental-health

hubs and intake facilities, and should put the ADOC on

track to comply with the court’s order to fill all

mandatory and essential posts by July 1, 2025.                      Once

imposed, ADOC will be required to submit status reports

to the court regarding its progress towards meeting them.

       The benchmarks need not be enforceable.                They are

merely meant as a means of measuring ADOC’s progress

towards filling its mandatory and essential posts by

2025, so that the court and the parties can determine if

ADOC    is   falling   behind    and    take    appropriate      action

immediately.     By assessing ADOC’s progress against the

benchmarks, the court and the parties will decrease the

chances that, come four years from the omnibus remedial

hearings, they will have to scramble to ensure that ADOC

complies with the court’s correctional staffing order or,

worse, to extend the deadline for doing so by another

four years.     It is unfortunate that, in all likelihood,

eight years will pass from the time of the court’s

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liability opinion before ADOC achieves the staffing it

needs to provide inmates the care that the constitution

requires.      Twelve years would be beyond the pale.

       To    facilitate      meeting        these     deadlines         and

benchmarks, ADOC should also create its agency staffing

unit and work with the Savages to update the staffing

analysis as soon as possible after the issuance of this

order.3      The defendants’ prosal also contains a provision

requiring ADOC to revise the format of its correctional

staffing reports; while this may be necessary, the court

will not order ADOC to do so now.            If the monitoring team

determines      that   alterations     to    the    format      of   ADOC’s

reports would aid the oversight of its compliance with

these       deadlines,    the    court      anticipates         that    the

defendants will work collaboratively with the monitoring

team    to    make   those   adjustments.           Per   the    Savages’

analysis from March 2021, Basic Correctional Officers

(BCOs) should not fill and may not be counted for any


    3. The court will require the defendants, within 21
days of the effective date, to submit to the court a
proposal for specific dates by which this may be done.
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armed post, and so-called Correctional Cubicle Operators

(CCOs) should not fill and may not be counted for any

position other than “secure control room posts with no

direct      inmate    contact.”         Assessment       of     Posting

Assignments (Doc. 3151-1) at 6, 8.



                c.    PLRA Findings

      The deadlines and benchmarks described above are

necessary     to     correct    ADOC’s      extreme      correctional

understaffing, which continues to place mentally ill

prisoners in ADOC’s care at a substantial risk of serious

harm for the reasons discussed above.                  Because these

deadlines require only that ADOC fill the positions that

its staffing expert Meg Savage credibly testified are

necessary for safe, normal prison operations, they are

narrowly     tailored     to    correcting      the     understaffing

violation found by the court.          And because the benchmarks

are   not    requirements,      but    merely     reference      points

intended to facilitate the defendants’ compliance with

the court’s order, they are the least intrusive way of

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ensuring that the violation is corrected.                 Accordingly,

the court finds that the deadlines and benchmarks set

forth above are narrowly drawn, extend no further than

necessary    to   correct     the    correctional        understaffing

violation found by the court, and are the least intrusive

means necessary to correct that violation.                See 18 U.S.C.

§ 3626(a)(1)(A).

       However, while these deadlines and benchmarks are

necessary to correct the understaffing violation, the

court finds that they are not sufficient to do so.                       As

explained above, ADOC has had four years to fix its

correctional officer deficiencies since the court found

that    ADOC’s    “severe”     understaffing,          “combined       with

chronic     and     significant           overcrowding,”         was     an

“overarching      issue[]    that        permeate[s]     each    of    the”

court’s other liability findings.              Braggs, 257 F. Supp.

3d at 1268.        In that time, the system-wide staffing

numbers    have   barely    moved.         Less   than    half    of    the

mandatory and essential posts identified by the Savages

are currently filled.        ADOC remains far from filling even

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the mandatory positions, which comprise the vast majority

of the mandatory and essential posts described in the

Savages’ staffing analysis and which, per that analysis

and   Meg   Savage’s       testimony,     are    so   critical      that

facilities should lock down if they are not filled 100                    %

of the time. See June 15, 2021, R.D. Trial Tr. at 127-29.

      The consequences of this extreme understaffing have

been catastrophic, just as they were four years ago at

the time of the court’s liability opinion.              Suicide watch

hours have shot up more than 4,000 % above the levels

anticipated     in   the     mental-health       vendor’s     contract

because the absence of security staff causes terrifying

conditions to proliferate in the prisons, leading to

anxiety,    psychological      deterioration,         and   ultimately

suicidality.     Inmates in celled environments, including

treatment environments like the SU and SLU, cannot get

out of their cells and are unable to receive necessary

mental-health interventions due to a lack of correctional

staff.   See, e.g., Pls.’ Ex. 3310 at ADOC546882; May 25,

2021, R.D. Trial Tr. at 140-44; see also Pls.’ Ex. 3347

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at ADOC553738.           The resulting degree of isolation in

these units is akin to or worse than segregation is meant

to   be   under     ADOC    policy    and      the    court’s   orders—a

disquieting irony as the SLU in particular is intended

to provide a diversionary unit for mentally ill inmates

to   avoid    subjecting       them       to   the     harm   caused    by

segregation.       At the same time, dormitory environments

are unsafe even in the most intensive treatment units:

Tommy McConathy was raped in the grievously understaffed

RTU at Bullock, which sometimes operated with no officers

whatsoever on the dormitory floor.                   See Pls.’ Ex. 3403

at ADOC558777; May 28, 2021, R.D. Trial Tr. at 157-58.

     Perhaps the most dangerous effects of this severe

understaffing are in the restrictive housing units, where

most suicides in ADOC facilities occur.                Inmates go weeks

without      any    out-of-cell           exercise     time     at     all,

exacerbating       the    mental-health        effects   of   isolation.

See, e.g., Pls.’ Ex. 3921 at ADOC517730-58.                   Officers at

St. Clair acknowledged that this lack of out-of-cell time

was due to insufficient correctional staff.                   See May 27,

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2021, R.D. Trial Tr. at 118; May 28, 2021, R.D. Trial Tr.

at 186-87.     Units operate without enough officers to get

an   inmate    out   of   his   cell   even       in   the    event   of    a

mental-health        emergency.        See    Pls.’      Ex.     4269      at

ADOC588534; see also June 16, 2021, R.D. Trial Tr. at

195.    This problem was reflected in the death of Charles

Braggs, who hanged himself in his cell an hour after a

nurse asked correctional officers to bring him to the

infirmary.       See Pls.’ Ex. 3284 at 5.                    Mental-health

treatment is nearly non-existent, including for inmates

with serious mental illness, in part due to the lack of

correctional staff.        Clinical encounters are missed for

lack    of    correctional      officers     to    bring       inmates     to

appointments.        See, e.g., May 25, 2021, R.D. Trial Tr.

at 158-59.

       Moreover, experts for both parties testified that

the only way to operate segregation units safely given

the known risk of decompensation and suicide on those

units is to have correctional staff perform cell-by-cell

security checks twice an hour, 24 hours per day, for

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every   occupied     segregation       cell      to   check    on    the

inhabitant.    The court explained in the liability opinion

that these checks are “necessary to keep prisoners safe

from self-harm and suicide,” and it based its finding of

constitutional deficiencies in segregation in part on

Vail’s assessment of ADOC logs “that suggested that no

segregation     checks     were    done    for    multiple      hours.”

Braggs, 257 F. Supp. 3d at 1244.          Vail credibly testified

in the omnibus remedial hearings that this security-check

requirement is one of the most important obligations of

correctional administration because of how essential it

is to keeping inmates safe.         See May 27, 2021, R.D. Trial

Tr. at 206-07.4


    4. The defendants’ expert Dr. Metzner agreed with
Vail that these security checks are “good correctional
practice,” but did not appear from his testimony to agree
with Vail’s view about the degree of criticality of these
checks. June 30, 2021, R.D. Trial Tr. at 181. However,
as Metzner acknowledged, he is an expert in correctional
psychiatry, not an expert in correctional administration
and security like Vail. See id. at 180. Accordingly,
and based on the evidence that missed security checks
played a role in several of the recent suicides, although
the court gave due weight to Metzner’s opinion on these
security checks, it found Vail’s testimony on the
importance of security checks more persuasive. Moreover,
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       At     its    current       staffing     levels,    ADOC     cannot

consistently conduct these checks.                 As in the liability

trial, Vail again found many logs indicating gaps of

multiple hours between security checks.                    See May 27,

2021,       R.D.    Trial   Tr.    at    159-61.      Audits   of   ADOC’s

restrictive housing units have routinely found compliance

levels with the required 30-minute security checks below

20   %.      The extraordinary degree to which non-compliance

with        this    requirement         puts   inmates    at   risk    was

illustrated by the case of Casey Murphree, who was not

found for hours after his death until rigor mortis had

begun.        Had security checks been conducted as required

by   ADOC      policy      and    this   court’s   orders,     Murphree’s

attempt to hang himself might have been noticed and

interrupted.

       Considering the evidence discussed above and the

totality       of    the    evidence      presented   during    the   2021



ADOC is falling short of the security-check requirement
under either expert’s view of the necessary compliance
rate. On this issue, the defendants are missing the mark
by yards, not inches.
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omnibus remedial hearings, the court now finds that--with

the     exception   of   the    restrictive       housing     unit     at

Tutwiler--ADOC’s restrictive housing units are unsafe for

prisoners with mental-health needs,5 and that while the

segregation provisions in the parties’ proposed omnibus

remedial orders outline a plausible long-term framework

for   the    operation   of    restrictive     housing     units     once

correctional staffing levels rise, neither proposal is

adequate to address the serious risk of harm faced now

by inmates in segregation.         No matter what provisions the

court       might   order       regarding       security        checks,

mental-health evaluations, out-of-cell time, and other

areas in which ADOC has failed to provide adequate care,

there is a substantial likelihood that ADOC will be

unable to comply fully until it hires significantly more

correctional staff—an object that, by ADOC’s projection,


    5. Nor are the restrictive housing units unsafe only
for inmates on ADOC’s mental-health caseload.         As
illustrated by the deaths of Gary Campbell and Charles
Braggs, ADOC does not have sufficient staff to be able
to consistently identify people who decompensate and
develop mental-health needs in segregation, making the
units unsafe for inmates both on and off the caseload.
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is years away.            Until then, ADOC’s pattern of past

noncompliance offers little reason to expect that ADOC

will implement the provisions that the court orders with

the consistency that is necessary to protect inmates in

restrictive         housing,      where    ADOC’s     compliance       or

noncompliance is a matter of life-and-death.

       In   light    of   this    finding,   the    court    considered

ordering     the     defendants     to    close    some   or   all    the

restrictive housing units at its men’s facilities until

correctional staffing levels improve enough to make it

possible      for    ADOC    to    operate   those    units     safely.

However, in deference to ADOC and to ensure that the

remedy intrudes no further into the operations of the

prison than is necessary to address the risk of harm to

inmates in segregation caused by the system’s present

staffing levels, the court will instead order that ADOC

must take additional precautions to protect against the

most    severe      and     immediate     dangers    to     inmates    in

restrictive housing in the event that ADOC fails to

comply with the court’s orders regarding security checks,

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mental-health evaluations, out-of-cell time, and other

areas in which ADOC has failed to provide adequate care.

This is not to excuse noncompliance; it is simply to be

realistic     about     the     extreme      risks      that     ADOC’s

understaffing poses to inmates in restrictive housing.

    At this time, the court will not dictate all of the

additional steps ADOC must take.               Rather, because the

parties were not afforded the opportunity to address this

issue during the omnibus remedial hearing, it will allow

them to submit proposals as to what interim measures are

necessary     until      correctional        staffing       increases.

Possible    measures      might      include     hiring      temporary

observers to monitor inmates in restrictive housing until

ADOC hires a sufficient level of correctional staff, or

temporarily reducing the number of inmates that ADOC

keeps in restrictive housing.

    The parties’ proposals should also consider how the

safety needs of prisoners who require protective custody

will be addressed, and they should further discuss how

ADOC should manage the dangers posed by prisoners who

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would present a significant safety or security risk in

general population.        Part of the court’s hesitation to

order the closure of any of ADOC’s male restrictive

housing units stemmed from concern over what would happen

with these two groups of prisoners—at the moment, ADOC

uses restrictive housing for both groups.                 The proposals

should also suggest means of ensuring that any prisoners

moved out of the restrictive housing units do not end up

in functionally identical units: that is, units that

offer   equivalently       deficient      levels     of    monitoring,

out-of-cell time, and treatment.               In considering the

parties’ proposals, the court will also adopt a plan for

how the relief it orders may be modified if ADOC meets

the staffing benchmarks set forth above.             The goal is for

ADOC to obtain sufficient correctional staff to be able

to safely run its prisons, including segregation units

if it so chooses.        If ADOC’s staffing levels begin to

improve such that it is able to meet the benchmarks, its

capacity to oversee restrictive housing units in a way



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that does not subject those housed there to a serious

risk of harm should accordingly improve as well.

      The court will order, however, that at least until

its   correctional     staffing        improves,    ADOC    must    take

certain steps to ensure that its stabilization unit,

suicide   watch,    and    restrictive      housing     cells    remain

suicide-resistant.        Specifically, the court will order

that ADOC must check such cells for suicide-resistance

before they receive new occupants, and that it must

conduct a thorough check of all such cells at least once

per quarter to verify that they satisfy every element of

Lindsay M. Hayes’s Checklist for the “Suicide Resistant”

Design of Correctional Facilities (Doc. 3206-5), which

the court discusses in more detail below, and                which the

parties previously agreed to use as a means of gauging

suicide-resistance.        In addition, the quarterly check

must be documented.

      The court finds this relief necessary given the

unfortunate reality that, until correctional staffing

improves, there will likely be lapses in the observation

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of inmates in the stabilization unit, suicide watch, and

restrictive housing cells.                These inmates already face a

heightened        risk     of    decompensation        and    suicide,     and

therefore require an additional layer of protection.                       The

checks      are     also        narrowly     tailored        and     minimally

intrusive.        In recognition of ADOC’s limited resources,

the court does not require it to conduct a documented

check of every element of the Hayes checklist each time

a    stabilization       unit,       suicide     watch,      or    restrictive

housing cell receives a new occupant; rather, a more

cursory      examination        of   the    cell   for    tie-off      points,

visibility, and potentially dangerous items will suffice.

       To be clear, precautionary measures in addition to

the segregation provisions proposed by the parties are

necessary in light of the specific claims presented in

this     case     and    the      scope     of   the     court’s      remedial

responsibilities with respect to those claims.                       That does

not mean that such measures are the only adjustments that

should be made immediately at this juncture to align

ADOC’s operations with the staffing levels it has, rather

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than the levels it hopes to attain.              Other claims could

require other adjustments; alleviating the risk of harm

to inmates with mental-health needs in ADOC’s segregation

units is only what this court can do to address this vast

and multifaceted problem.

     This also is the only adjustment that is necessary

today.   The court takes no position at this point on what

further remedies may be necessary in the years to come

if ADOC does not improve its correctional staffing.                  The

court emphasizes, however, that, if progress on staffing

continues to be elusive, the defendants will have to

consider other modifications to ADOC’s operations to make

the system capable of adequately protecting and treating

prisoners with mental illness.          When a State incarcerates

some of its citizens, it accepts a coordinate obligation

to provide them a certain minimum of mental-health care.

As   experts     for     both    parties    testified,     there     are

ultimately two ways to fix the problem of having too few

staff    to    provide    this    minimal     care    to    an   inmate

population: staffing can be increased, or the population

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can be reduced.         See May 28, 2021, R.D. Trial Tr. at

198-99; June 17, 2021, R.D. Trial Tr. at 98-100.                     ADOC

has options about how to proceed.            But one option it does

not have is to throw up its hands and declare the staffing

challenges     too   insurmountable       for    minimally     adequate

mental-health care to be possible.                  The Constitution

affords ADOC great latitude in the operation of its

prisons, but it does not permit that.



                   B.    Mental-Health Staffing

     Although     ADOC     has    made    more     progress      towards

remedying mental-health understaffing than it has towards

remedying correctional understaffing, its progress is

incomplete.      According to the staffing ratios developed

by ADOC’s consultants, which indicate the minimum number

of staff needed to treat any given number of inmates,

five of ADOC’s 15 facilities have enough mental-health

staff to treat their current inmate populations.                  Yet no

facility is staffed at the levels called for by the

December 2019, mental-health staffing matrix, which the

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parties developed, using the ratios, to indicate the

levels   of   mental-health          staff    ADOC   could   expect     to

require in the coming years.                 This discrepancy is the

result of the COVID-19 pandemic, in response to which

ADOC reduced intake from local jails, thereby reducing

its inmate population to abnormally low levels.                      When

intake resumes, ADOC will almost certainly require more

staff    in   each        of   its     facilities     to     provide      a

constitutionally permissible standard of care.

    Moreover,       ADOC’s     lack    of    correctional    staff     has

prevented its mental-health staff from treating inmates

as efficiently as its consultants assumed when developing

the staffing ratios. Therefore, even in those facilities

where ADOC has provided the number of mental-health staff

called for by the staffing ratios, more mental-health

staff are likely needed.



               a.        The Parties’ Proposed Provisions

    In   light      of    ADOC’s      limited   progress     in   hiring

mental-health staff, the plaintiffs propose that ADOC

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must maintain levels of mental-health staffing consistent

with or greater than those called for by its consultants’

staffing   ratios,     see   Pls.’     Updated    Proposed      Omnibus

Remedial Order (Doc. 3342) at § 2.2.3.2, subject to the

following adjustments and qualifications:

  • Staffing levels shall not be less than those set
    forth in ADOC’s October 1, 2020, contract with
    Wexford. See id. at § 2.2.2.

  • ADOC must change the staffing ratios for all
    mental-health positions other than Program Managers
    and Clerks to ensure that they are filled even when
    staff are absent on vacations or sick leave.    See
    id. at §§ 2.2.3.2.1-2.2.3.2.2.

  • ADOC must keep filled the positions of Clinical
    Director of Psychiatry, Director of Mental-Health
    Services, Northern Regional Psychologist, Central
    Regional     Psychologist,     Southern    Regional
    Psychologist, and Ombudsman, see id. at § 2.2.1.

  • “Each ADOC major facility must have at least one (1)
    full-time equivalent (“FTE”) licensed Professional
    (“MHP”).   Each treatment hub—Bullock Correctional
    Facility, Donaldson Correctional Facility, and
    Tutwiler Prison for Women—must have at least two (2)
    FTE MHPs. Each treatment hub must have two (2) MHPs
    on-site for at least eight (8) hours per day every
    business day, and at least one (1) MHP on the
    weekends and holidays.” Id. at § 2.2.3.1.

  • “The ratio of CRNPs to psychiatrists must be 1.25:1
    on   a    statewide   bases,    but   not    on   a
    facility-by-facility basis.” Id. at § 2.2.3.2.3.
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• All CRNPs working as mental-health staff must be
  certified to work in psychiatry. Id. at § 2.2.3.2.4.

• ADOC’s   mental-health     vendor   may   consider   an
  [associate licensed counselor] as a [qualified
  mental-health professional] for 18 months after the
  start of his or her employment, provided that the
  [associate licensed counselor] is working towards
  licensure as an [licensed professional counselor].
  During that time, the [associate licensed counselor]
  can participate, as part of her training, in suicide
  risk assessments conducted by an independently
  licensed [qualified mental-health professional] or
  another     independently     licensed    mental-health
  professional such as a psychiatrist, psychologist,
  or CRNP. The [associate licensed counselor] cannot,
  however, complete suicide risk assessments or
  conduct    follow-up    examinations    alone.      The
  [associate licensed counselor’s] progress toward
  licensure must be assessed every six months. If the
  [associate licensed counselor] has not reached 600
  hours of supervised time toward licensure by the
  six-month assessment, 1,200 hours by the 12-month
  assessment, or achieved licensure by the 18-month
  assessment, the [associate licensed counselor] must
  no longer be considered or counted as an [qualified
  mental-health professional]. At all times, no more
  than    10     %    of     [qualified     mental-health
  professionals]can be [associate licensed counselors]
  working   towards    their   licensure   as   [licensed
  professional counselors]. See id. at § 2.2.3.2.5.

• All activity technicians to work two shifts per day
  during the week and at least one shift on weekends,
  id. at § 2.2.3.2.6.




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  • “ADOC and its mental-health vendor may substitute
    [qualified     mental-health  professionals]   for
    psychologists on a facility-by-facility basis,
    provided that the total number of [qualified
    mental-health professionals] and psychologists is
    equal to or greater than the number would be if
    applying   the   consultants’ ratios.”     Id.  at
    § 2.2.3.2.7.

  • “Implementation of the mental-health staffing ratios
    must be reviewed by appropriately qualified experts
    agreed upon by the parties or selected by the EMT,
    with input and participation of the EMT as it deems
    appropriate.   Upon completion of such review, the
    experts will make recommendations, if necessary, for
    revising those staffing ratios. The recommendations
    will be provided to the EMT and to the Parties. The
    EMT will receive input from the Parties and will
    determine whether and to what extent the experts’
    recommendations are to be implemented.”      Id. at
    § 2.2.2.2.


       The defendants propose that, because of the progress

they     have   already     made,        no     remedial     relief    is

necessary--including        the    relief       that   the   court    has

already      ordered--and         that        “[a]ny   oversight       of

mental-health       staffing        through        reevaluation        of

mental-health staffing, reporting, and monitoring must

also end.”      Defs.’ Post-Trial Br. (Doc. 3367) at 60–64,

64.


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    In     the   alternative,        they       propose       that      ADOC’s

“mental-health         vendor     will     fill       the     mental-health

staffing    positions      at    each    ADOC     major       facility,       by

program,    consistent      with     the    mental-health            staffing

ratios recommended by [ADOC’s consultants], within one

hundred [and] twenty (120) days of the Effective Date [of

the court’s Phase 2A omnibus remedial order]” and that

“[b]eginning      one    (1)     year     from     the      initiation        of

monitoring,      the      EMT     shall      review         the      assigned

mental-health         staffing    ratios        for    the       ADOC    major

facilities under monitoring ... and make recommendations,

if necessary, for revising those staffing ratios.”                           Id.

at 60, 64–65.

    Finally,      both     parties       propose       that      ADOC    shall

continue    to    submit    quarterly       mental-health            staffing

reports    to    the    court,     and    monthly        reports        to   the

plaintiffs,      as    required    by     the     Phase     2A    Order      and

Injunction on Mental-Health Understaffing.                        See Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at



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§§ 15.1-15.2; Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at §§ 2.2.2-2.2.3.



                 b.    The Court’s Ordered Relief

       The court will order, as both sides propose, that

ADOC    must    maintain    levels   of    mental-health      staffing

consistent with or greater than those called for by its

consultants’ staffing ratios.            To ensure that the ratios

are accurate, the court will order, as the defendants

propose, that the EMT must review the ratios beginning

one    year    from   the   initiation    of   monitoring      and,   if

necessary, make recommendations for revising them.6                   In

reviewing ADOC’s compliance with the staffing ratios, the

court notes that the EMT may allow ADOC to substitute

qualified mental-health professionals for psychologists,



    6. The court does not order, as the plaintiffs
propose, that “[i]mplementation of the mental-health
stiffing ratios must be reviewed by appropriately
qualified experts agreed upon by the parties or selected
by the EMT.”   Pls.’ Post-Trial Br. (Doc. 3370 at 74).
The   monitoring   team’s    familiarity   with   ADOC’s
mental-healthcare system will better position it to
evaluate the staffing ratios than any outside expert.
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and   associate      licensed       counselors       for     qualified

mental-health professionals, subject to the conditions

that the plaintiffs propose.7              The court credits Dr.

Burns’s   testimony     that    these    substitutions       will    not


     7. ADOC’s consultants explained that they intended
the term “qualified mental-health professional,” or QMHP,
to refer to professionals who are “appropriately licensed
to practice (assess for the presence of mental illness,
evaluate for the risk of suicide, provide therapy)
independently with no supervision required,” but not to
“associate licensed counselor[s], licensed bachelor[s]
of social work, [or] licensed marriage and family
therapist[s].”   See Recommended Staffing Ratios (Doc.
2385-1) at 3.      They further explained that “[t]he
requirements for QMHPs [would be] generally the same as
for psychologists,” id. at 12, that QMHPs in the
restrictive housing units would “provide one 90-minute
therapy group” per day, id. at 11, and that QMHPs in the
SUs would provide “structured therapeutic activity,” id.
at 13.

    The parties disagreed as to the term’s precise
meaning, with the defendants proposing to define the term
differently depending on whether it was used in the
staffing ratios or in their proposed remedial provisions.
Thus, the court was confronted with three different
definitions--one from the plaintiffs, and two from the
defendants. Much confusion ensued.

    For now, suffice it to say that the court assumes
that the EMT, in monitoring ADOC’s compliance with the
staffing ratios, will count as qualified mental-health
professionals only those professionals who are qualified
to provide therapy.
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hamper the provision of care.               See June 4, 2021 R.D.

Trial Tr. at 48-51.

    The court will also order that ADOC must achieve the

staffing    levels    set     forth    in    the   staffing      matrix

previously approved by the court by June 1, 2025, see

Phase 2A Order and Injunction on Mental-Health Staffing

Remedy     (Doc.     2688),     subject      to     any      subsequent

modifications.       The court orders this relief because,

although in some of its facilities ADOC has, according

to the staffing ratios, enough mental-health staff to

serve    its   current      inmate     population,     the     evidence

presented at the omnibus remedial hearings indicates that

it will need more when intake returns to pre-pandemic

levels, and that it may well need more currently, given

its lack of correctional staff.

    Finally, in order to provide the defendants with as

much flexibility as possible while still providing a

meaningful opportunity for oversight, the court will

order ADOC to work with the EMT to develop report formats

for mental-health staffing, and to submit reports to the

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court and the EMT on at least a quarterly basis. However,

given the paramount importance of adequate mental-health

staffing    to       remedying     the       violations    found    in   the

liability opinion, the court cannot allow ADOC to put

oversight       on    hold   as    it    reformulates      its     reports.

Accordingly, until ADOC and the EMT have finalized a new

report format or else concluded that the existing report

format     is    adequate,        ADOC       shall   continue    providing

mental-health staffing reports as required by the Phase

2A Order and Injunction on Mental-Health Understaffing

(Doc. 2301 and Doc. 2301-1).

     The court declines to adopt the majority of the

plaintiffs’ proposed provisions because it does not find

them necessary on the basis of the current record.                    There

is no evidence, for instance, that the staffing ratios

fail to account for absences due to vacation or sick

leave; that the CRNPs currently working as mental-health

staff are not certified to work in psychiatry; that the

positions of Clinical Director of Psychiatry, Director

of    Mental-Health           Services,              Northern      Regional

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Psychologist,        Central    Regional    Psychologist,      Southern

Regional Psychologist, and Ombudsman are not currently

filled; or that there are not two full-time-equivalent

qualified mental-health professionals at each treatment

hub.    That said, the court takes seriously the concerns

that    motivate      the    plaintiffs’    proposals--particularly

the    concern   that       there   must   be   sufficient     qualified

mental-health professionals at each treatment hub to

perform mental-health evaluations for all inmates who

need them, and the concern that there must be sufficient

activity technicians in each facility to facilitate the

provision of out-of-cell time--and trusts that should

they prove prescient, the EMT will bring the issue to its

attention.



                 c.    PLRA Findings

       The   court    finds    it   necessary     to   order    ADOC   to

maintain levels of mental-health staffing consistent with

or greater than those called for by its consultants’

staffing ratios because those ratios indicate the minimum

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number   of   staff    required     to   treat    any    given    inmate

population.        While   ADOC    has    provided       mental-health

staffing at the levels called for by the ratios in five

of its 15 facilities, its limited progress does not

obviate the need for relief, especially because its lack

of correctional staff has prevented its mental-health

staff from treating inmates as efficiently as ADOC’s

consultants assumed.

    It   is   not     enough,     however,     that     ADOC    maintain

sufficient staff to treat its current, abnormally low

population; it must also take steps to prepare for the

increase in its inmate population that will occur when

intake resumes to pre-pandemic levels.                  Therefore, the

court finds it necessary to order ADOC to continue to

work towards providing mental-health staffing at levels

consistent with the staffing matrix, which the parties

developed     as      an   estimate       of     ADOC’s        long-term

mental-health staffing needs.

    Finally, the court finds it necessary to order ADOC

to submit mental-health staffing reports on at least a

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quarterly    basis    so    that    the    court    and   the   EMT   can

effectively monitor its progress, and reduce the relief

ordered today as appropriate.

      Each of these provisions is also narrowly tailored

and minimally intrusive.           While ADOC must comply with the

staffing ratios, the court affords it as much leeway as

possible in making hiring decisions by allowing it to

substitute    qualified      mental-health         professionals      for

psychologists     and      associate       licensed   counselors      for

qualified mental-health professionals, as the plaintiffs

propose.    And while ADOC must work towards complying with

the   staffing   matrix,      it    need    not    achieve   compliance

immediately. Finally, while the court requires ADOC to

continue    to   submit     quarterly       mental-health       staffing

reports, it allows it the opportunity to work with the

EMT to modify the format of those reports.



                     C.    Restrictive Housing

      ADOC’s use of restrictive housing remains seriously

problematic.     The department has failed to define clearly

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the “exceptional circumstances” that, as its own policies

require, must exist if an inmate with a serious mental

illness is to be kept in restrictive housing.                   It thereby

keeps     inmates      with     serious        mental    illnesses        in

segregation       under   any     circumstances          it    sees     fit.

Moreover,     ADOC      lacks     a        functioning       process    for

identifying inmates as contraindicated for restrictive

housing, and even when it does successfully identify

signs of contraindication, it fails to take them into

account    when     deciding     whether       to    place    inmates     in

restrictive       housing.       Then,        once    inmates     are     in

segregation, it fails to provide sufficient out-of-cell

time and does not conduct routine mental-health rounds,

security checks, or periodic mental-health assessments

as required by court order and internal policy.                   For all

of these reasons, inmates in ADOC’s restrictive housing

units   currently      face     an    unacceptably       high    risk     of

decompensation, self-harm, and suicide.



                  1.   Exceptional Circumstances

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    The     concept       of    so-called        “exceptional”        or

“extenuating” circumstances appears at various points in

the parties’ proposals and in the provisions adopted by

the court today.         Most importantly, it describes the

circumstances in which an individual may be placed in

segregation directly from suicide watch or despite a

clinical    contraindication           for    restrictive       housing

placement, including a serious mental illness.                   Beyond

the definition of exceptional circumstances, there are

further questions as to how long a person may remain in

segregation when exceptional circumstances permit such

placement and what conditions of confinement are required

during that placement; those issues will be discussed

below.



               a.    The Parties’ Proposed Provisions

    The parties’ final proposals for the definition of

exceptional circumstances are as follows:

    Plaintiffs:      “‘Exceptional Circumstance’ refers to a

circumstance    in    which    ADOC    is    unable   to   provide    an

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appropriate alternative placement to restrictive housing

(e.g., an SLU), due to a lack of bed space, for a prisoner

with an SMI who needs to be placed in a closed cell for

disciplinary,             investigative,          or   preventative    reasons,

and whose placement in general population would create

an unacceptable risk to the safety of any person.”                         Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 1.9.

      Defendants:               “‘Extenuating circumstance(s)’ means,

as an exception to the general rule disfavoring the

placement            of    an     inmate      with     a   diagnosed    SMI     in

restrictive housing, a situation where: (a) a safety or

security issue exists preventing placement of the inmate

in alternative housing (such as a SU, RTU, or SLU); or

(b)       a    non-safety         or    non-security        issue    exists    and

transfer or transportation to alternative housing (such

as    a       SU,    RTU,    or    SLU)      is   temporarily       unavailable.

Examples            of    safety       and   security      issues    include   an

inmate’s known or unknown enemies in alternative housing

or the inmate’s creation of a dangerous environment (to

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the inmate, other inmates, and/or staff) by his or her

presence in alternative housing.              An inmate placed in a

[restrictive housing unit] for safety and security issues

for seventy-two (72) hours or longer will be offered at

least three (3) hours of out-of-cell time per day (which

may be congregate out-of-cell time) while he or she

remains in a [restrictive housing unit].                    An inmate

placed in a [restrictive housing unit] for non-safety or

non-security      issues     should      be     removed     from     the

[restrictive     housing     unit]     within     seventy-two       (72)

hours.”      Defs.’    Revised      Definition      of    “Extenuating

Circumstances” (Doc. 3314-1) at 2.

      Both parties propose that inmates with serious mental

illnesses may not be placed in restrictive housing absent

an exceptional circumstance, see Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 12.2.1; Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at § 12.2,

and   the   plaintiffs      offer      the    following     additional

provisions:



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  • “When a prisoner with an SMI is placed in [a
    restrictive housing unit] due to an Exceptional
    Circumstance, the person must be transferred to an
    SLU, or to a mental health inpatient bed (RTU or SU)
    if clinically indicated, within five (5) calendar
    days.” Id. at § 12.2.2.

  • “If a prisoner has an SMI and the need for placement
    in restrictive housing arises, but no Exceptional
    Circumstance exists, the prisoner must remain out of
    restrictive housing or be moved to Mental Health
    Observation in a crisis cell until transport can be
    arranged to an SLU, or to a mental health inpatient
    bed (RTU or SU) if clinically indicated.        This
    transport must occur within five (5) calendar days.”
    Id. at § 12.2.3.


                b.    The Court’s Ordered Relief

      The   court    will   adopt      the    defendants’     proposed

definition     of    exceptional     circumstances,        subject    to

certain modifications, and will order, as both parties

propose, that inmates with a serious mental illness may

not   be    placed   in   segregation        unless   an   exceptional

circumstance applies.

      The court reaches this conclusion after considerable

discussion with the parties and with defense expert Dr.

Metzner, during which it became clear that both parties’

proposed definitions would yield identical results in

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most instances.         When a diversionary bed is available to

the inmate at issue--that is, when there is a bed free,

when immediate transportation to that bed is possible,

and when placing the inmate in that diversionary unit

would    not    present    a   safety        or     security       risk--both

parties’ definitions would require the prisoner to be

diverted from segregation.              Alternatively, when no safe

diversionary      placement       is    readily      available       and   the

inmate presents a safety or security risk in his or her

current housing, both parties would find that exceptional

circumstances exist permitting temporary placement in

segregation.

       The main point of difference between the definitions

would arise when no diversionary placement is available

but it is safe to leave the inmate in their current

housing—for example, when an inmate has enemies in the

only diversionary unit with an available bed but could

stay in general population without safety or security

risk.    In that situation, the plaintiffs’ proposal would

have    the    inmate    remain    in       place    until     a    different

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diversionary bed became available, while the defendants’

proposal      would   permit       ADOC    to   place    the    inmate   in

restrictive housing during that time.                    The reason for

this disagreement, in Dr. Metzner’s view, was the need

for “accountability” for prisoners’ misconduct.                    July 2,

2021, R.D. Trial Tr. at 5-9.              As Metzner put it, “I don’t

think it’s acceptable to say, okay.                We know you did a

rule violation.         You just stay in your normal housing

until we can get you to alternative housing.                     That’s a

free pass.”      Id. at 8.

    An additional distinction is that the defendants’

definition, unlike the plaintiffs’, includes what is in

effect   an    order:        It    requires     that    all    segregation

placements not caused by safety or security issues--for

instance,      placements         resulting      from    the     lack    of

immediately available transportation to a diversionary

unit--be      limited   to    72    hours.       See    Defs.’    Revised

Definition of “Extenuating Circumstances” (Doc. 3314-1)

at 2.      Furthermore, ADOC would have to provide three

hours of out-of-cell time per day to any inmate placed

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in segregation for safety- or security-related issues who

remained    there     longer      than      72        hours,        in   effect

transforming       the     conditions            of         confinement     to

non-segregation.      See id.     Dr. Metzner testified that the

rationale for these limitations was that he believes 72

hours is the amount of time that a person with serious

mental   illness    can    remain      in   segregation             conditions

without suffering serious psychological harm, although

he   also   testified      that     inmates           who     are    otherwise

clinically contraindicated for segregation should not be

placed there even “for one minute.”                   July 1, 2021, R.D.

Trial Tr. at 170-71.

     It is difficult to square Dr. Metzner’s testimony

that inmates with serious mental illness are not harmed

by   segregation    placements       up     to    72        hours    with   the

circumstances surrounding the death of Casey Murphree,

who had a serious mental illness and killed himself

within a day of his placement in restrictive housing.

The court also notes that plaintiffs’ expert Eldon Vail

testified that the accountability that Metzner described

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would   become      less   important      as   correctional       staff

received more training.         As he explained, “officers want

to see people held accountable for bad behavior,” and

“[i]f they don’t understand what drives that bad behavior

in the case of someone who is mentally ill,” they may

resent diversionary measures and “feel like people aren’t

being held accountable.           But the more they understand

what goes on in treatment, which is accountability in

some ways at a level that is far more powerful than

putting someone in segregation, then they’re going [to]

... have a better understanding of what the range of

their job has now become.”         June 1, 2021, R.D. Trial Tr.

at 35-36.

     Still,   the    court      takes   seriously     Dr.    Metzner’s

concern about ensuring accountability for misconduct. As

such, the court will generally adopt the defendants’

proposal, including the 72-hour time limit for placements

unrelated to safety concerns and the requirement to offer

at least three hours of out-of-cell time to any inmate

to   whom     safety-      or    security-related         exceptional

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circumstances apply who remains in restrictive housing

longer than 72 hours.             While this does not place a

specific outer limit on the amount of time that a prisoner

may stay in segregation under exceptional circumstances,

the duration will of course be limited by the nature of

the        circumstance         itself—once       the       exceptional

circumstance       is     resolved,       there      is     no   further

justification for keeping the inmate in segregation.

      In    addition,    the    court    will   require     significant

documentation       of    the     out-of-cell       time    offered    to

prisoners who remain in restrictive housing longer than

72 hours under exceptional circumstances.                   Every week,

ADOC will be required to file with the court and the

monitoring team individual reports on each prisoner who

has been in restrictive housing for longer than 72 hours

under exceptional circumstances during that week.                  These

individual      reports     should       indicate     the    amount    of

out-of-cell time offered to the prisoner each day, the

nature of the out-of-cell time (i.e., exercise, group

therapy, etc.), the exceptional circumstance justifying

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the prisoner’s continued segregation placement, and the

date by which ADOC expects that exceptional circumstance

to be resolved.        The court frankly has serious doubts

about ADOC’s ability to offer the three hours of daily

out-of-cell time required by the defendants’ proposal

given its present level of correctional understaffing,

as ADOC is currently unable to consistently offer even

the five hours of weekly out-of-cell required for all

inmates    in   segregation.         Close    observation         of   this

requirement is necessary to ensure that it does not

become—like     many    of    ADOC’s    existing        obligations      to

inmates it houses in segregation—a right enjoyed on paper

but not in practice.

     The court does not adopt the plaintiffs’ proposal

that, “If a prisoner has an SMI and the need for placement

in   restrictive       housing    arises,      but      no     Exceptional

Circumstance exists, the prisoner must remain out of

restrictive      housing     or    be    moved     to        Mental-health

Observation in a crisis cell,” see Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 12.2.3, because

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it is unnecessary in light of the court’s present order

that inmates with serious mental illnesses must remain

out    of    restrictive       housing       absent     an     exceptional

circumstance.

      The    court   also    does    not     adopt      the    plaintiffs’

proposal that seriously mentally ill prisoners who are

placed      in   restrictive    housing      due   to    an    exceptional

circumstance must be transferred to an SLU within five

calendar days, because it is made largely redundant by

the    defendants’     proposed     definition          of    “exceptional

circumstances.”         Although       the   defendants’       definition

allows seriously mentally ill prisoners who are placed

in    restrictive     housing    for     exceptional         circumstances

related to safety to stay there for longer than five

days, it also requires those prisoners to receive at

least three hours of out-of-cell time per day—an amount

of time that, according to Mr. Vail, alleviates the risk

of decompensation significantly.              See May 28, 2021, R.D.

Trial Tr. at 24.            Indeed, Vail testified that, when

inmates receive more than two hours of out-of-cell time

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per day, they are not functionally in segregation.                   See

id. at 18–19.



               c.    PLRA Findings

       For all of the reasons discussed above, including

ADOC’s continued practice of transferring inmates from

suicide    watch    to    segregation     and   placing    inmates    in

segregation when they are clinically contraindicated for

such    placement        due   to   serious     mental    illness     or

otherwise, as well as the role this practice repeatedly

played in recent suicides in ADOC facilities, the court

finds that this definition and provision are necessary

to correct the segregation violations found by the court

in   its   liability      opinion.        Because   the   defendants’

definition     of        “exceptional      circumstances”        allows

segregation placements for the maximum amount of time

that the defendants’ expert testified that he believed

is safe, the court finds that it is narrowly tailored to

correcting these violations.             And because the definition

and provision allow ADOC to continue placing inmates in

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segregation for reasons of accountability—again, the only

point of disagreement between the parties with respect

to the definition of exceptional circumstances—the court

finds that the remedy it adopts is the least intrusive

means of correcting the violations.               Finally, because of

the court’s grave concerns about whether ADOC can in fact

offer the three hours of daily out-of-cell time the

defendants propose given the severity of its correctional

understaffing, the court finds that the documentation

requirement       it    imposes   is    necessary    to   correct    the

segregation violations, narrowly tailored to correcting

those violations, and the least intrusive means of doing

so.



         2.   Screening for Serious Mental Illnesses

                       a. The Parties’ Proposed Provisions

       With respect to ADOC’s failure to identify inmates

with    serious    mental     illnesses     and    divert   them    from

restrictive housing, both sides propose that prior to

placement in a restrictive housing unit, each inmate must

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be screened by an RN or LPN who has been trained in the

screening process, and that the screening must assess

whether the inmate has been flagged as seriously mentally

ill; whether the inmate is at imminent risk of suicide

or   serious     self-harm;      whether     the    inmate     exhibits

debilitating symptoms of a serious mental illness; and

whether the inmate requires emergency medical care.                   See

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at §§ 12.1.1; Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at §§ 12.1.1–12.1.2.

     The plaintiffs propose, additionally, that any LPN

conducting screening must be supervised by an RN, see

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 12.1.1; and that mental-health staff must have the

authority to veto any inmate’s placement in a residential

housing unit if such placement is contraindicated by the

inmate’s screening, id. at § 12.1.3.

     The parties agree that the results of the screening

must be used to determine whether the inmate can be placed

into restrictive housing or must be diverted to another

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location,    and    whether     the   inmate    requires    a   medical

and/or mental-health referral.              See id. at § 12.1.2;

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§ 12.1.3.

      They agree, too, that there should be some mechanism

for    the    removal      of     inmates       who      have     become

contraindicated      for   restrictive         housing    since   their

placement there, or who were put there by mistake.                    To

that end, they propose the following provisions:

      Plaintiffs:

  • “Mental health staff have the authority to have any
    prisoner removed from a [restrictive housing unit]
    if it is determined that continued placement is
    contraindicated as evidenced by changes in the
    prisoner’s mental state and functioning.”     Pls.’
    Updated Proposed Omnibus Remedial Order (Doc. 3342)
    at § 12.3.1.

  • “ADOC will affirmatively inform psychiatrists,
    psychologists, licensed mental health professionals,
    certified   registered   nurse   practitioners,   and
    registered nurses, in a manner that is documented,
    (1) that they have both the authority AND the
    obligation to inform corrections when they have
    determined   that   a   prisoner’s    likelihood   of
    decompensation requires a transfer to an RTU, SLU,
    or SU; and (2) that such a determination is not
    merely giving advice to corrections, but that it will


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   trump any decision to the contrary and                     will   be
   carried out promptly.” Id. at § 12.3.2.

• “If a prisoner in a [restrictive housing unit] has a
  newly diagnosed SMI or a [qualified mental-health
  professional] determines that continued placement in
  the [restrictive housing unit] is contraindicated,
  that prisoner must be removed from the [restrictive
  housing unit] within 72 hours. Removal must occur
  sooner if clinically indicated. The prisoner must
  be placed into housing appropriate to their mental
  health needs (i.e., RTU, SU, SLU). Placement of a
  prisoner with an SMI into an SLU must take priority
  over a prisoner without an SMI.” Id. at § 12.3.3.

   Defendants:

• “Mental-health staff may advise correctional staff
  to remove an inmate from the [restrictive housing
  unit]   if  mental-health   staff   determines   that
  continued placement of the inmate in restrictive
  housing is contraindicated as evidenced by changes
  in the inmate’s mental state and functioning.      In
  this situation, the inmate must be removed from the
  [restrictive housing unit] within seventy-two (72)
  or sooner if a psychiatrist, psychologist, CRNP, or
  counselor determines the need for removal of the
  inmate from the [restrictive housing unit] is urgent.
  An inmate removed by mental-health staff from the
  [restrictive   housing   unit]   as   a   result   of
  decompensation    or   contraindication    will    be
  transferred to a mental-health setting appropriate
  for the level of mental-health services required by
  the inmate.” Defs.’ Proposed Phase 2A Remedial Order
  (Doc. 3215) at § 12.5.7.




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                 b.    The Court’s Ordered Relief

      The court will order that, prior to placement in a

restrictive housing unit, inmates must be screened by an

appropriately         trained       RN,     or     an    LPN     under     an

appropriately trained RN’s supervision, and that the

screening must assess the topics proposed by the parties.

The   court    will    also     order      that    the   results     of    the

screening must be used to determine whether the inmate

should be placed in restrictive housing and whether the

inmate requires a medical and/or mental-health referral,

and that an inmate flagged by mental-health staff as

contraindicated        for    restrictive         housing     must   not   be

placed    in     restrictive         housing        absent       documented

exceptional circumstances. Finally, the court will adopt

the defendants’ proposed provision regarding the removal

of inmates from the restrictive housing unit, with the

caveat    that    ADOC       need    not    remove       an    inmate     from

restrictive      housing       if    an    exceptional         circumstance

exists.



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    The court orders that inmates must be screened, and

that the screening must assess certain topics, because

it is seriously concerned by the evidence that screenings

continue to miss signs of contraindication.                       Granted,

ADOC has made progress in ensuring that inmates receive

screenings prior to being placed in restrictive housing

units.    Given the heightened importance of ensuring that

inmates   with   contraindications         are   not    inadvertently

placed in restrictive housing, however, and the fact that

ADOC’s    progress,      while     encouraging,        is     a     recent

development, the court finds that it must require ADOC

to conduct an adequate screening of each inmate entering

restrictive housing.       The court agrees that the screening

must cover the topics proposed by the parties, because,

according to Dr. Burns’s uncontradicted testimony, those

topics must be covered if the screening is be effective.

See June 3, 2021, R.D. Trial Tr. at 171-73.                 And in light

of the evidence that LPNs have been unable to conduct

adequate screenings of prisoners entering the general

population, where the stakes are much lower, the court

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agrees with the plaintiffs that LPNs may not conduct

screenings     of    prisoners    entering      segregation      unless

supervised.       If ADOC sustains its progress with respect

to screenings, however, the court may revisit this order

at a later time.

      The court orders that the results of the screening

must be used to determine whether the inmate should be

placed in restrictive housing and whether the inmate

requires a medical and/or mental-health referral, in

light    of   the   evidence,    described     in   the    opinion    on

changed circumstances, that ADOC staff routinely ignore

the     results     of   screenings     and     place     inmates     in

segregation despite documented contraindications.                    The

screenings are intended to keep contraindicated inmates

out of restrictive housing, and to ensure that mentally

ill inmates receive the care that they need.                  They can

fulfill neither purpose if they are ignored.

      Out of deference to ADOC, however, the court will

not grant mental-health staff veto power over decisions

to place inmates in restrictive housing.             Rather, it will

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order that an inmate flagged by mental-health staff as

contraindicated for restrictive housing may nevertheless

be   placed     in    restrictive       housing,         but     only     if

correctional      staff     determine        that    an        exceptional

circumstance     exists    and    document      their      reasons       for

reaching that decision.            The court orders that such

decisions be documented because, given the evidence that

correctional     staff     routinely     ignore      the       results    of

screenings    and    the   recommendations          of    mental-health

staff, the court finds that it must impose some mechanism

for the EMT to monitor decisions by correctional staff

to   place     inmates     flagged      as     contraindicated           in

restrictive housing.

     The court adopts the defendants’ proposed provision

regarding the removal of inmates from the restrictive

housing unit because it agrees with both parties that,

given the heightened risk of decompensation faced by

inmates in restrictive housing and the imperfections

inherent in even the best screening systems, there must

be some mechanism for removing inmates from restrictive

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housing due to decompensation or an error in the initial

screening process.          Again, however, in an effort to

provide    ADOC    with   maximum         flexibility,    it   will   not

provide mental-health staff with complete authority to

determine the facilities in which inmates may be housed,

but will instead order that ADOC may keep an inmate in

restrictive housing over the objections of mental-health

staff provided that an exceptional circumstance exists.

For the same reasons as before, that decision, and the

reasons for it, must be documented.

     Finally, the court does not adopt the plaintiffs’

proposal    that    ADOC      must        affirmatively     inform    its

mental-health professionals that they are required to

inform corrections when they determine that a prisoner

should be removed from restrictive housing, because there

is    little       evidence      that          ADOC’s     mental-health

professionals      are     failing        to   flag     individuals    as

contraindicated for restrictive housing because they do

not understand that they have a duty to do so.                  Rather,

the evidence demonstrates that the ADOC’s mental-health

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professionals         are   failing       to     flag    individuals      as

contraindicated for restrictive housing because they do

not    conduct    regular       follow-up      examinations.        If   the

monitoring team finds that mental-health staff fail to

flag inmates as contraindicated for restrictive housing

because they do not know that they are supposed to,

however, the court may revisit the issue.



                 c.     PLRA Findings

       The court finds these provisions necessary for the

reasons given above:        Despite ADOC’s progress in ensuring

that    inmates       receive    mental-health          screening   before

entering restrictive housing, screenings continue to miss

signs    of   contraindication,            and     their    results      are

routinely ignored.          To remedy these failures, and to

account for the inevitable risk of decompensation in

restrictive housing, the court finds that it must (1)

order that each inmate receive a comprehensive screening

that     is   performed         by   a      competent      mental-health

professional, (2) order that correctional staff use the

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results of the screening to determine whether the inmate

should be placed in restrictive housing and whether the

inmate requires a medical and/or mental-health referral,

and (3) order that mental-health staff may recommend the

removal of inmates from restrictive housing who were put

there by mistake or who have decompensated since their

initial screening.

    These provisions are narrowly tailored, because each

is designed to address only ADOC’s failure to screen

contraindicated inmates from restrictive housing, and to

account for the risk of decompensation.                They are also

minimally intrusive.         While the court requires that each

screening address certain topics, it finds that, in light

of Dr. Burns’s uncontroverted testimony that screenings

must address those topics, and the extreme risk that

restrictive    housing       poses    to   seriously    mentally     ill

inmates, it can order no less. And while the court orders

that ADOC must use the results of the screening to

determine whether inmates may be placed in restrictive

housing,      and     that      it        must   generally       follow

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recommendations by mental-health staff to remove inmates

from restrictive housing, it allows ADOC the flexibility

to override recommendations by mental-health staff so

long as it can document the existence of an exceptional

circumstance.



                    3.   Mental-Health Rounds

               a.     The Parties’ Proposed Provisions

    Both sides propose that mental-health rounds must be

conducted by a qualified mental-health professional in

each restrictive housing unit at least weekly, see Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 12.5.1;    Defs.’      Proposed      Phase   2A    Remedial     Order

(Doc. 3215) at § 12.4.1, and that the rounds must include

the following:

  • A discussion with the post officer(s) concerning any
    behavior changes of an inmate in the restrictive
    housing unit;

    A walk through the restrictive housing unit, stopping
    at each occupied cell to make visual contact with
    the inmate inside the cell;



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  • Attempts to verbally communicate with the inmate,
    including a brief inquiry into how the inmate is
    doing and whether the inmate has mental-health needs
    or a desire to speak with mental-health staff
    privately; and

  • A brief assessment of the inmate’s hygiene, behavior,
    affect, physical condition, and the condition of his
    or her cell (such as cleanliness, trash, food, bodily
    fluids, smoke, etc.).

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at §§ 12.5.3, 12.5.3.2-12.5.3.5; Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at § 12.4.2.                     The

plaintiffs would require, additionally, that the rounds

must include a review of duty post logs and segregation

unit   record   sheets     for   information      about     prisoners’

participation in recreation, showers, meal consumption

and sleep patterns, see Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 12.5.3.1, and that prior

to conducting mental-health rounds independently, new

MHPs    must     shadow      a    senior      MHP,      psychiatrist,

psychologist, or CRNP for three           mental-health rounds in

the restrictive housing unit, see id. at § 12.5.2, and

receive certain training, see id. at § 13.4.

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    Both   sides     also    agree     that   the   rounds     must   be

documented, and propose the following provisions:

    Plaintiffs:

  • “Documentation of Mental Health rounds requires
    notation of the date and time of entry and exit of
    the professional conducting the mental health round
    on the [restrictive housing unit] Correctional
    Officer Duty Post Log. Mental health professionals
    must also log a brief notation about each inmate in
    the [restrictive housing unit] on the Mental Health
    Rounds Form.” Id. at § 12.5.4.

  • “If there has been any significant change in the
    prisoner’s condition or additional mental health
    follow-up is indicated, a brief progress note will
    also be entered in the specific prisoner’s medical
    record.   The mental health rounds forms must be
    chronologically filed and maintained by the mental
    health manager.” Id. at § 12.5.5.


    Defendants:

  • “A mental-health round will be documented on ADOC
    Form MH-038, Mental-Health Rounds Log (as amended),
    which will contain a notation about any mental-health
    needs expressed by an inmate in the [restrictive
    housing unit] or concerns identified by the
    [qualified mental-health professional] as to any
    inmate during the mental-health round. Each Mental
    Health Rounds Log Form completed during a mental-
    health round will be chronologically filed and
    maintained by the mental-health manager or other
    designated mental-health staff member.”        Defs.’
    Proposed Phase 2A Remedial Order (Doc. 3215) at §
    12.4.3.
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                  b.    The Court’s Ordered Relief

       The court will order that mental-health rounds must

be conducted by a qualified mental-health professional

in each restrictive housing unit at least weekly, and

that    they     should       generally        include    the   kinds     of

interactions, inquiries, and assessments that both sides

propose.    It will also order, as the plaintiffs propose,

that the rounds should include a review of duty post logs

and segregation unit record sheets for information about

prisoners’ participation in recreation, showers, meal

consumption and sleep patterns.                 Finally, the court will

order     that        the     rounds     must     be     accurately      and

contemporaneously              documented,         and      that        that

documentation          must     be     filed      chronologically        and

maintained       by     the    mental-health        manager     or    other

designated       mental-health         staff    member.     Should      ADOC

continue its progress in conducting mental-health rounds,

the court may revisit whether this relief is necessary.




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    The court orders that mental-health rounds must be

conducted at least weekly in light of the heightened need

for rounds in ADOC’s understaffed facilities, and the

fact that ADOC has yet to sustain its recent progress in

conducting rounds.       The rounds are an essential mechanism

for ensuring that inmates receive the care they need in

a timely fashion, and for identifying inmates who are

deteriorating in segregation.                See June 3, 2021, R.D.

Trial Tr. at 176-78 (testimony of Dr. Burns); June 30,

2021, R.D. Trial Tr. at 68-69 (testimony of Dr. Metzner).

If conducted properly, they can allow ADOC to prevent

crises   before    they    occur,      and    thereby   allocate     its

resources more efficiently.

    Although      ADOC    has   made    encouraging      progress     in

ensuring that rounds occur regularly, it has yet to

sustain that progress for any significant time.                 Indeed,

until quite recently, its provision of mental-health

rounds was seriously deficient.                 When Charles Braggs

killed himself in July 2020, for instance, two months had

passes since ADOC had conducted mental-health rounds in

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St. Clair.       See Pls.’ Ex. 4119 at 2.              The reason given

was “Lack of Security Staff.”             Id.    Given the expectation

that correctional understaffing will continue to inhibit

the performance of mental-health duties in this area as

in    others,    the    court     finds   that    it   must     order    the

performance of these rounds to ensure that they will, in

fact, be conducted.

      The court orders that the rounds should generally

include    the     kinds    of     interactions,        inquiries,       and

assessments that both sides propose, as well as a review

of duty post logs and segregation unit record sheets for

information        about         prisoners’        participation         in

recreation, showers, meal consumption and sleep patterns,

in light of Dr. Metzner’s testimony that these measures

are    generally       necessary    to    identify     and     address   an

inmate’s mental-health needs and to gauge effectively

whether an inmate’s mental-health has deteriorated.                      See

June 30, 2021, R.D. Trial Tr. at 68-69.                      It does not

order    that    the     rounds    must    entail      these    kinds    of

interactions,      inquiries,       and   assessments,         because   it

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credits Dr. Metzner’s testimony that the appropriate

nature of the interactions involved in the mental-health

rounds may vary according to how well the mental-health

professional conducting the rounds knows the prisoners

she is monitoring, and how familiar the prisoners are

with the process.      See id. at 68.       Dr. Metzner explained,

for instance, that, if an inmate who has lived in the

segregation unit for some time flashes a thumbs up sign,

and the mental-health professional conducting the rounds

knows that to be a sign that the inmate does not need

assistance,    the    mental-health       professional       need    not

attempt to communicate verbally with the inmate.                See id.

He also explained, however, that a mental-health round

must consist of “more than just walking by the cells and

getting the thumbs up.”         July 2, 2021 R.D. Trial Tr. at

27.   That is, if the mental-health provider conducting

the rounds decides to forego verbal communication with

an inmate, she cannot also forego discussions with post

officers, a review of the post log, and observations of



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the     inmate’s    hygiene,      behavior,      affect,       physical

condition.

      Finally, the court orders that mental-health rounds

must be documented accurately and contemporaneously, and

that that documentation be filed chronologically, in

order    to   provide     some    means    of    monitoring      ADOC’s

progress, and to ensure that ADOC is able to track

inmates’ needs and mental-health statuses over time.

Documentation is particularly appropriate in light of its

past practice of conducting rounds that did not involve

stops at each cell.        See June 3, 2021 Trial Tr. at 183

(testimony of Dr. Burns).         By tracking the time spent on

each round, ADOC will provide the EMT with a means of

ensuring that these “drive by” rounds no longer occur.

      The court does not order, as the plaintiffs propose,

that,    “[p]rior    to    conducting      mental     health     rounds

independently,      new   MHPs    must    shadow     a   senior     MHP,

psychiatrist, psychologist, or CRNP” for three rounds,

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 12.5.2, or that they receive other training related

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specifically to the conduct of rounds, see id. at § 13.4,

because there is no evidence in the record to suggest

that     the    mental-health        professionals      who      conduct

mental-health rounds are insufficiently trained. It also

declines to adopt the plaintiffs’ proposal that, “[i]f

there has been any significant change in the prisoner’s

condition      or     additional     mental    health   follow-up     is

indicated, a brief progress note will also be entered in

the specific prisoner’s medical record,” because it is

rendered redundant by the court’s order that a progress

note     be    created    after      every    significant     clinical

encounter.



                 c.     PLRA Findings

       The    court    finds   the    provisions    that    it    orders

necessary because, as explained above, it is particularly

important      that     ADOC   conducts       regular   mental-health

rounds, especially while its restrictive housing units

remain understaffed, so that it can identify inmates who

are decompensating and allocate its scare resources to

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avert crises before they occur.              Although ADOC has made

recent progress in conducting rounds, it has yet to

sustain its progress for long enough to obviate the need

for monitoring.       Additionally, the rounds generally must

cover the topics proposed by both parties if they are to

be consistently effective, and they must be documented

so that the EMT can monitor ADOC’s progress, and to ensure

that ADOC is able to track inmates’ mental-health needs

and mental-health statuses over time.

       These   provisions      are   also    narrowly    tailored      and

minimally intrusive.           While the court orders that the

rounds should generally entail the kinds of interactions,

inquiries, and assessments proposed by both sides, it

allows ADOC the flexibility to forego verbal interactions

when    appropriate,     and    it    does    not   require    that    the

mental-health      professionals          conducting   the    rounds   be

trained in any particular way.



                 4.    Mental-Health Assessments

                a.    The Parties’ Proposed Provisions

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        With respect to ADOC’s provision of mental-health

assessments, both sides propose that inmates must receive

a       mental-health       assessment        by     a     psychiatrist,

psychologist, CRNP, or counselor within seven days of

placement      in    a   restrictive      housing     unit,    see   Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 12.6.1; Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215) at § 12.5.1; that the assessment must be documented

on ADOC’s Mental-Health Assessment/Report form, see Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 12.6.1; Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215) at § 12.5.4; and that the assessments must include

a review or examination of the following topics:

    • The inmate’s past response to restrictive housing;
    • The inmate’s general appearance or behavior;
    • Whether the inmate has a present suicidal ideation;
    • Whether the inmate has a history of suicidal
      behavior;
    • Whether   the   inmate   is   presently  prescribed
      psychotropic medication;
    • Whether the inmate has a current mental-health
      complaint;
    • Whether the inmate is currently receiving treatment
      for a diagnosed mental illness;


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  • Whether the inmate has a history of ininmate and
    outpatient psychiatric treatment;
  • Whether the inmate has a history of treatment for
    substance abuse;
  • Whether the inmate has a history of abuse or trauma;
    and
  • Whether the inmate is presently exhibiting symptoms
    of psychosis, depression, anxiety, or aggression.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342)   at    §§ 12.6.2-12.6.3;        Defs.’   Proposed     Phase    2A

Remedial Order (Doc. 3215) at § 12.5.5.              Both sides also

propose that inmates coded as           mental-health code A must

receive additional assessments at least every 90 days,

and that inmates coded as mental-health code B or C must

receive additional assessments at least every 30 days.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at § 12.6.5; Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at §§ 12.5.2-12.5.3.

    The      plaintiffs    propose,     additionally,       that    each

assessment must include a final disposition of one of the

following: “(1) No mental health referral; (2) Routine

referral     to   mental    health;      (3)    Emergency     referral

requiring assessment within an hour; or (4) Referral for

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removal   from      segregation.”        Pls.’       Updated    Proposed

Omnibus Remedial Order (Doc. 3342) at § 12.6.4.                      The

defendants, by contrast, would simply require that “the

psychiatrist,        psychologist,        CRNP,        or      counselor

[conducting the assessment] will consider the need for a

mental-health referral and, if a mental-health referral

is made, the priority of such mental-health referral

(i.e., emergent, urgent, or routine).”                Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at § 12.5.6.

    The plaintiffs also propose that, “[i]f a prisoner’s

[restrictive housing unit] placement continues after a

periodic mental health assessment, then the clinical

rationale for his or her continued placement must be

documented.”        Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 12.6.6.



               b.     The Court’s Ordered Relief

    The court will order that inmates must receive a

mental-health         assessment        by       a      psychiatrist,

psychologist, CRNP, or counselor within seven days of

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placement in a restrictive housing unit; that inmates

must     receive         additional,        periodic        assessments         at

intervals consistent with their mental-health codes, as

the parties propose; that assessments must be adequately

documented;        and    that   they       must    include       a    review    or

examination of the topics that the parties propose.                             It

will also order, as the defendants propose, that the

psychiatrist,            psychologist,             CRNP,     or        counselor

conducting the assessment must consider the need for a

mental-health referral and, if applicable, the priority

of such referral.

       The court orders that ADOC must conduct periodic

mental-health assessments because, as it has previously

found, “periodic out-of-cell assessments are necessary

not    only   to    monitor      for    decompensation            among    those

identified     as        mentally      ill,    but     also       to    identity

prisoners     not    on    the   mental-health             caseload      who    may

develop mental illness while in segregation.”                            Braggs,

257 F. Supp. 3d at 1249.               Although mental-health rounds

fulfill a similar purpose, it is not true, as Dr. Metzner

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suggested during the omnibus remedial hearings, that the

mental-health assessments and mental-health rounds are

duplicitous.      See June 30, 2021 R.D. Trial Tr. at 66.

Rather, as the court explained in the liability opinion,

“while segregation rounds by mental-health staff are

crucial   for   checking     for   signs    of   decompensation       or

crisis,    they     cannot     replace      out-of-cell       clinical

assessments of prisoners’ mental-health status, because

it   is   difficult    to    observe     someone’s      behavior     and

accurately assess the prisoner’s mental health through

cell-front encounters.”         Id. at 1243 n.72.

     Despite this finding, ADOC has persistently failed

to provide periodic assessments.              As explained in the

court’s findings on changed circumstances, Charles Braggs

received only two assessments in the two years prior to

his death, and Gary Campbell went for three years without

receiving any.      And while Dr. Burns testified that some

inmates     reported      receiving        initial      mental-health

assessments within seven days, see June 23, 2021 R.D.

Trial Tr. at 208-09, spot audits in several facilities

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found that inmates continue to go without initial or

follow-up mental-health assessments at alarming rates,

see, e.g., Pls.’ Ex. 3258 (Bullock, 57.41 % compliance

with 30- and 90-day assessments); Pls.’ Ex. 3270 (Kilby,

68.60 % compliance); Pls.’ Ex. 3276 (St. Clair; 66.29 %

compliance);       Pls.’      Ex.     3320        (Ventress,       32.08     %

compliance);        Pls.’     Ex.     3272        (Limestone,          77.19 %

compliance; noting that “[f]ollow-up of the 30/90 day

assessments      and    treatment         plans   for    inmates       on   the

caseload need improvement”).

    The court therefore finds that it must order some

relief,    and     it   credits     Dr.     Burns’      testimony,       which

accords     with    the     recommendations          of    the        American

Correctional Association, that the topics proposed by the

parties must be addressed if the assessments are to

fulfill their intended purpose, and that the initial

7-day     assessments       and     the    periodic       30-    or     90-day

assessments      proposed     by     both     parties      are    necessary

measures to keep inmates safe when they are initially

placed in segregation and when they remain in segregation

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for protracted periods of time.                See June 3, 2021 R.D.

Trial Tr. at 188-91 (testimony of Dr. Burns).

     The court also agrees with both parties that the

mental-health assessments must include a determination

of whether the inmate requires a referral—and, if so, how

urgently—given the evidence that, when inmates do receive

referrals      based     on     the          periodic       mental-health

assessments, mental-health staff often fail to follow up

on   them     appropriately.             A    requirement       that     the

evaluations conclude with clear recommendations will make

it   harder    for    mental-health          staff    to    ignore     their

findings,     and    easier   for    the      EMT    to    monitor   ADOC’s

progress in putting the evaluations to good use.

     The court declines, however, to order that, if ADOC

keeps a prisoner in the [restrictive housing unit] after

the prisoner has received a mental-health assessment, it

must document its clinical rationale for doing so.                       Of

course, if an inmate is found to be contraindicated for

placement in restrictive housing, ADOC must document the

existence of an exceptional circumstance if it is to keep

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him there.      But requiring ADOC to provide a clinical

rationale for keeping inmates without contradictions in

restrictive    housing      is   not   necessary     to   address    the

violations identified in the liability opinion.



               c.    PLRA Findings

    The court finds these provisions necessary given the

evidence that ADOC has largely failed to ensure that

inmates in restrictive housing units receive periodic

mental-health assessments, despite the court’s previous

finding   that      those    assessments       are    essential      for

preventing decompensation and suicide, and that, when

inmates do receive assessments, the results of those

assessments are often ignored.               Moreover, to provide

adequate protection to prisoners with mental-health needs

in restrictive housing, including those who develop said

needs during their time in segregation, these assessments

must address the topics identified by both parties and

occur at least as frequently as the parties propose.



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    These provisions are narrowly tailored and minimally

intrusive       to    ensure    that    mental-health          assessments

adequately address the needs of prisoners in segregation.

Although the court requires that the assessments cover

certain topics and be conducted at certain intervals, it

can order no less.             As Dr. Burns credibly explained,

these topics must be addressed if the assessments are to

fulfill     their     intended     purpose,      and     the     intervals

represent the minimum frequencies with which inmates can

safely go without receiving assessments.



                        5.     Out-Of-Cell Time

                 a.    The Parties’ Proposed Provisions

    With respect to ADOC’s failure to provide inmates in

restrictive housing units with sufficient out-of-cell

time,     the    plaintiffs      propose      that     all     inmates   in

restrictive housing must have the opportunity to exercise

outside of their cells for at least five hours per week,

during which time they may be shackled only if ADOC can

identify    a    specific      threat    to    institutional        safety

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necessitating the shackling.           See Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at §§ 12.7.2-12.7.2.

The   plaintiffs     also   propose     that    this   time    must   be

offered regardless of inclement weather, and that ADOC

must document (1) all days and times that out-of-cell

time is offered, (2) any prisoner’s decision to refuse

out-of-cell     time,    and    (3)    the     specific    threat     to

institutional safety or security necessitating any use

of shackles. See id. The defendants propose no provision

regarding out-of-cell time for inmates in restrictive

housing.



                b.   The Court’s Ordered Relief

      The court will order that all inmates in restrictive

housing must have the opportunity to exercise outside of

their cells for at least five hours per week, and that

ADOC must document all days and times that out-of-cell

time is offered, and any inmate’s decision to refuse

out-of-cell time.       The court will also order that ADOC

may   refrain    from    offering      out-of-cell      time    due   to

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inclement weather, but only if a safe, alternative space

for inmates to exercise is unavailable.

       The    court   orders   ADOC     to    offer   all    inmates    in

restrictive housing at least five hours of out-of-cell

time    per    week     because,   as    experts      for    both   sides

testified, five hours per week is the minimum amount of

out-of-cell time that must be provided to inmates in

restrictive housing to prevent decompensation.                   See June

4, 2021 R.D. Trial Tr. at 179-180 (testimony of Dr.

Burns); June 30, 2021 R.D. Trial Tr. at 175-76 (testimony

of Dr. Metzner).           It is also the minimum amount of

out-of-cell time recommended by the American Correctional

Association and currently required by ADOC regulations.

See June 4, 2021 R.D. Trial Tr. at 179-180.

       Despite    the    importance      of    out-of-cell       time   to

preventing decompensation, the evidence indicates that

inmates in restrictive housing scarcely receive it.                     As

explained previously, in the six months prior to his

death, Charles Braggs was offered out-of-cell time on

only    four     occasions.        This       was   not     an   isolated

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occurrence; Dr. Vail testified that in reviewing the

records for a total of 412 weeks of segregation time, he

found only seven weeks during which an inmate received

five hours of out-of-cell time.           May 27, 2021 R.D. Trial

Tr. at 111-12.      The court must therefore order ADOC to

comply with its own regulation.8

    In order to provide ADOC flexibility in responding

to the weather, the court does not require ADOC to offer

outdoor out-of-cell time when inclement weather makes it

impossible to do so safely.          But to the extent that ADOC

can offer out-of-cell time in alternative, safe spaces—

for instance, in a gymnasium—inclement weather will not

excuse it from doing so.



     8. During the omnibus remedial proceedings, the
defendants’ counsel suggested that the court may not
order ADOC to provide out-of-cell time to all inmates in
segregation, but “only to individuals with mental health
illness.”   June 30, 2021 R.D. Trial Tr. at 176.     The
court rejects this argument, and directs defendants’
counsel to its previous explanation of why it may order
relief intended to prevented inmates who are not
currently mentally-ill from becoming mentally-ill due to
ADOC’s failure to provide adequate care. See Braggs, 367
F. Supp. 3d 1340, 1357-58 (M.D. Ala. 2019) (Thompson,
J.).
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     Finally, because out-of-cell time is so important to

preventing     decompensation,           and   because      ADOC       has

persistently failed to provide it, the court finds that

it must order ADOC to document each time it offers

out-of-cell time, so that the EMT can effectively monitor

its progress.       It is also essential that each inmate’s

treatment team know whether that inmate has not been

offered out-of-cell time or, perhaps more importantly,

refused it.

     The court does not order, as the plaintiffs propose,

that inmates may not be shackled during out-of-cell time,

because there is insufficient evidence that inmates are

currently being shackled.



               c.    PLRA Findings

     The court finds these provisions necessary for the

reasons given above:       it must order ADOC to offer inmates

in   restrictive     housing    a    minimum    of   five      hours    of

out-of-cell time per week because that is the minimum

amount   of    out-of-cell       time      necessary      to    prevent

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decompensation, and it must order ADOC to document its

provision of out-of-cell time so that the EMT can monitor

its progress, and so that treatment teams can effectively

monitor inmates’ mental-health.              The court also finds

these provisions to be narrowly tailored and no more

intrusive than necessary, because they require no more

than the minimum among of out-of-cell time necessary, and

allow ADOC the flexibility to not offer out-of-cell time

when inclement weather makes it impossible to do so.



                       6.    Security Checks

               a.    The Parties’ Proposed Provisions

    With     respect        to   ADOC’s     failure      to     provide

cell-by-cell security checks, the plaintiffs propose the

following provisions:

  • “ADOC must ensure that appropriate ADOC staff conduct
    security checks of every prisoner in restrictive
    housing by direct observation at least twice per
    hour, but no more than 40 minutes apart, on an
    irregular schedule. These security checks must be
    annotated on the duty post log.

  • ADOC must ensure that such security checks                       are
    documented accurately and contemporaneously,                     and
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       that correctional supervisors regularly verify that
       security checks are being conducted as required.

  • The EMT will develop a process for supervisory review
    and confirmation of security checks, including
    documentation of such review and confirmation.”

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at §§ 12.9.1-12.9.4.            The defendants propose simply

that “[a] member of the correctional staff will conduct

a security round in a [restrictive housing unit] at least

every thirty (30) minutes and document such security

round in a duty post log.”                 Defs.’ Proposed Phase 2A

Remedial Order (Doc. 3215) at § 12.3.



                  b.     The Court’s Ordered Relief

       The court orders that the security checks must be

conducted at least twice per hour, but no more than 40

minutes apart, in light of Mr. Vail’s testimony that the

checks    are    most    effective     in   preventing    suicide    and

self-harm when conducted on an irregular schedule.                   See

May 27, 2021 R.D. Trial Tr. at 179.                It does not order

that    the     checks    must   be    completed   on    an   irregular


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schedule, because it credits Vail’s testimony that “doing

them 30 minutes or twice an hour … is close enough to …

a reasonable standard.”         May 27, 2021 R.D. Trial Tr. at

154-155.    But it encourages ADOC to conduct the checks

irregularly, and to that end ADOC will not be found in

violation if it allows inmates in restrictive housing to

go more than 30 minutes (but less than 40) without

receiving a security check.

    The court orders that the checks must be documented

accurately and contemporaneously, and that correctional

supervisors regularly verify that security checks are

conducted as required, in light of the ample evidence

that ADOC is not conducting the checks as required, and

that correctional officers are pre-filling their duty

logs.   ADOC’s own audits reveal that security checks are

scarcely conducted in a troubling number of facilities.

See May 27, 2021 R.D. Trial Tr. at 154-189 (testimony of

plaintiffs’ expert Vail, describing results of audits of

Donaldson, Easterling, Holman, Limestone, and St. Clair);

see also Pls.’ Exs. 2927, 2972, 3010, 3177, 4067.                   More

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worrying still, many of ADOC’s duty logs seem to have

been pre-filled, and may be inaccurate.                  See id. at 178-

79 (testimony of       plaintiffs’ expert Vail).            Thus, to the

extent that ADOC’s audits rely on data from the duty

logs, they may have overestimated the frequency with

which    the   check    are      conducted.       Current       relief    is

therefore necessary, and although the court leaves it to

ADOC to determine the exact means by which it will ensure

that     the   checks        are    documented       accurately          and

contemporaneously,          it   will    trusts   that    the    EMT   will

monitor ADOC’s documentation and raise any concerns with

the court.

       The court does not order the EMT to develop a process

for    supervisory     review      and    confirmation      of   security

checks,    because     it    has   already    tasked      the    EMT   with

devising procedures for monitoring ADOC’s compliance with

the court’s orders.



                c.     PLRA Findings



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    The court finds these provisions to be necessary

because, as explained above, ADOC has failed to ensure

that security checks are conducted at least twice per

hour,    or   that   security      checks      are   accurately      and

contemporaneously documented, thereby jeopardizing the

lives    of   inmates    in    every    unit    that    functions     as

restrictive housing.       They are also narrowly tailored and

minimally intrusive.          The court does not require relief

that goes beyond remedying ADOC’s failure to provide

security checks, and it does not specify the exact means

by which ADOC must ensure that the checks are documented

accurately and contemporaneously.



                7.    Restrictive Housing Cells

               a.    The Parties’ Proposed Provisions

    In addition to the provisions discussed above, the

plaintiffs also propose several provisions regarding the

physical condition of cells in the restrictive housing

units.   These include a provision that would require ADOC

to clean every restrictive housing unit within one month

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of the entrance of the court’s remedial order, to clean

restrictive     housing     cells      before   they     receive     new

occupants, and to provide individuals in restrictive

housing cells with access to cleaning supplies to ensure

that the cells are cleaned at least every two weeks, see

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 12.8.1; a provision requiring the EMT to “evaluate

the condition of the [restrictive housing units] with

respect to the adequacy of natural light, square footage,

… the need for painting … [and] the adequacy of access

to out of cell exercise space during inclement weather,

... [and to] determine what steps should be taken to

correct   any    deficiencies       they    identify,”      id.    at     §

12.8.2.2; and the following provisions regarding suicide

resistance:

  • “Within three months of this Order, ADOC must retain
    a consultant to evaluate whether ADOC’s restrictive
    housing cells qualify as anti ligature and provide
    sufficient visibility for adequate monitoring as
    well as to make recommendations for correcting any
    problems identified, including the existence of tie
    off points, inadequate visibility, and any other
    unreasonably dangerous condition identified in the
    course of the assessment. The consultant’s findings

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      and recommendations must be set forth in a written
      report completed within three months of ADOC’s
      retention of the consultant. ADOC must provide to
      the court and the plaintiffs the consultant’s written
      report,    which    must   include    findings    and
      recommendations regarding the existence of tie off
      points,   inadequate   visibility,   and  any   other
      unreasonably dangerous conditions identified in the
      course of the assessment.” Id. at § 12.8.2.

  • “No later than three months after preparation of the
    consultant’s report as required above, ADOC must
    ensure that there is adequate visibility into
    restrictive housing cells, that all restrictive
    housing cells have anti ligature fixtures, that no
    restrictive housing cell has an open bar door and
    that any unreasonably dangerous condition identified
    in the reports has been corrected.”        Id. at §
    12.8.2.1.


      The defendants propose only one provision regarding

the   physical    condition     of     cells   in   the   restrictive

housing units:        that within one year of the effective

date, it must repair or replace any damaged restrictive

housing unit cell door or window that materially inhibits

the observation of any inmate.            Defs.’ Proposed Omnibus

Remedial Order (Doc. 3215) at § 12.6.



                 b.   The Court’s Ordered Relief


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    The court will order ADOC to clean the cells in the

restrictive housing units within three months of the

effective date, to clean restrictive housing cells before

they receive new occupants, and to provide individuals

in restrictive housing cells with access to cleaning

supplies to ensure that the cells are cleaned at least

every two weeks.       It finds this relief necessary in light

of its finding in the 2017 liability opinion that cells

in the restrictive housing units were “often filled with

the smell of burning paper and urine,” and “extremely

dirty with what appears to be dried excrement on the

walls and floors,” contributing to “a heightened risk of

decompensation      for    mentally       ill    prisoners       and      a

heightened risk of developing serious mental health needs

for those who were initially healthy.”                Braggs, 257 F.

Supp. 3d at 1238.         There is little evidence that ADOC

has improved the cleanliness of the cells since then.

While the parties stipulated prior to the hearings that,

“[a]ccording to Cheryl Price, ADOC’s Assistant Deputy

Commissioner     for    Operations,      ADOC    cleans     or   allows

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inmates to clean [restrictive housing units] units ...

[and] cleans crisis cells between inmate placements,”

Joint Stipulation for the Evidentiary Hearing Regarding

the Phase 2A Remedial Order (Doc. 3288) at ¶ 45, the

plaintiffs refused to stipulate to the accuracy of Ms.

Price’s assertion, see June 14, 2021, R.D. Trial Tr. at

38, and the court heard no sworn testimony from Ms. Price

on this matter.       Moreover, at various points during the

omnibus remedial hearings the court heard testimony from

high   level   ADOC    officials       that     turned    out   not    to

accurately     reflect     conditions      on    the     ground.       It

therefore cannot conclude on the basis of Ms. Price’s

unsupported     assertion       that     there     have     been      any

significant changes to the cleanliness of the restrictive

housing units, and it finds that it must order ADOC to

take steps to ensure that the cells in the restrictive

housing units are clean.         However, if the EMT determines

that ADOC is in compliance with this provision, the court

will not hesitate to remove it.



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     The    court    also   agrees      with   the   plaintiffs      that

something must be done to render cells in the restrictive

housing units suicide resistant, including by ensuring

that there is adequate visibility into the cells.                 As the

court found in the liability opinion, visibility into the

cells in the restrictive housing units is lacking, and

“[m]any segregation cells have grates, sprinkler heads,

and other structures that could be used as tie off points.

Furthermore, during the facility tour, the court saw many

segregation prisoners with ropes hanging across their

cells as clothes lines.”             Braggs, 257 F. Supp. 3d at

1244.      For inmates in restrictive housing, who already

face a heightened risk of decompensation, such conditions

can be deadly, especially because ADOC lacks sufficient

correctional staff to effectively monitor inmates in

segregation.        Of the twelve men who recently committed

suicide in ADOC facilities, eight did so by hanging

themselves in a cell in a restrictive housing unit.                   See

May 27, 2021 R.D. Trial Tr. at 147 149 (testimony of



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Eldon Vail).     At least one of those men had obscured his

cell window with paper before doing so.              Id. at 150 51.

    Rather than ordering ADOC to retain a consultant,

however, the court will order that within six months of

the effective date, ADOC must ensure that all cells in

the restrictive housing units comply with the conditions

set forth in the checklist developed by Lindsay M. Hayes

(Doc.   3206   5).      This    checklist,        which    the    parties

previously agreed to the use to ensure that cells are

suicide resistant, provides for the elimination of tie

off points and other structural elements that facilitate

suicide attempts, as well as the maintenance of adequate

visibility     into   the    cell    to   allow    monitoring.         See

Suicide   Prevention        Stipulations     (Doc.    2606       1)   at    6

(providing     that    “[s]uicide         watch    cells     shall         be

considered      suicide      resistant       if     they     meet      the

requirements set forth in section III(B) of the ADA

Report”); ADA Transition Plan for Programs and Services

Provided to Inmates (Doc. 2635 1) at 41 (“All crisis

cells ... are to comply with the checklist developed by

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Lindsay M. Hayes.”).          The court finds the checklist to

provide a sufficient set of criteria for determining

whether a cell is suicide resistant, and it finds it

necessary to order ADOC to comply with the checklist in

light    of    the    heightened        risk   of    suicide     in    the

restrictive housing units. While monitoring and security

checks   can    reduce   the     risk    of    suicide,   they     cannot

eliminate it, and additional measures must be taken to

ensure that inmates do not kill themselves when observed.

    The court declines, however, to order the EMT to

“evaluate      the   condition    of     the   [restrictive      housing

units] with respect to the adequacy of natural light,

square footage, … the need for painting ... [and] the

adequacy of access to out of cell exercise space during

inclement weather, ... [and to] determine what steps

should   be     taken    to    correct     any      deficiencies      they

identify.” Pls.’ Updated Proposed Omnibus Remedial Order

(Doc. 3342) at § 12.8.2.2.         While fresh paint, additional

natural light, square footage, and access to exercise

space may be desirable, the plaintiffs have failed to

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demonstrate that such measures are necessary to correct

the constitutional violations identified in the liability

opinion.    Moreover, requiring such relief would be highly

intrusive      indeed, it is unclear whether ADOC could

provide    additional     natural      light      and   space     in   its

restrictive housing units without substantial, highly

costly modifications to its facilities.



               c.    PLRA Findings

     The court finds these provisions necessary for the

reasons given above:        ADOC has failed to make the cells

in its restrictive housing units suicide resistant, and

it   has   failed    to   demonstrate       any    change    in    their

cleanliness.     As a result, inmates face an unacceptably

high risk of suicide.       These provisions are also narrowly

tailored and minimally intrusive.              ADOC has previously

agreed to use the Hayes checklist              which indicates that

the checklist is not unduly onerous             and while the court

orders ADOC to clean restrictive housing unit cells, it

will not hesitate to rescind this requirement should the

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EMT conclude that ADOC is, in fact, regularly cleaning

the cells.



        8.     Other Provisions Regarding Segreation

      The    plaintiffs    also     propose     various     provisions

designed to ensure that inmates who live in units that

function as segregation, but are not designated as such,

receive the same care that ADOC is required to provide

to inmates living in restrictive housing units.                    While

the   court    acknowledges       the   plaintiffs’       concern,     it

declines to order this relief.            Elsewhere in its order,

the court requires that inmates in the SU, RTU, and SLU

receive 10 hours of structured, therapeutic out-of-cell

time and 10 hours of unstructured out-of-cell time per

week,   unless    clinically      contraindicated.          The    court

therefore     expects    that   very    few   inmates     outside     the

restrictive housing units will be in housed in conditions

that are functionally equivalent to segregation.                  Should

the its expectation prove wrong, the court trusts that



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the EMT will say so, and it will take appropriate action

at that time.



                             D.       Intake

     Like   its   progress     with         respect    to   mental-health

staffing, ADOC’s progress in reforming its intake system

is   both   commendable      and       incomplete.          As   described

previously, ADOC has put great effort into ensuring that

every   inmate     receives       a    mental-health        screening   at

intake, and, as indicated this section, the court has

declined to adopt a significant number of the plaintiffs’

proposals for relief.             Still, there are three issues

remaining that require current relief.                  First, ADOC has

persisted    in    using    LPNs       to    conduct    intake    without

supervision, despite the court’s finding that LPNs are

not qualified to conduct intake and have consistently

failed to detect mental illnesses in inmates.                      Second,

ADOC has failed to ensure that records of inmates’ intake

screenings are made available to mental-health providers

within its facilities.            And, third, ADOC has failed to

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ensure that records relating to inmates’ prior mental-

health   treatment      are   received     and    assessed     by   ADOC

mental-health staff in a timely fashion, if at all.



              1.     Use of LPNs to Conduct Intake

                a.    The Parties’ Proposed Provisions

    With respect to ADOC’s continued use of LPNs to

conduct intake, the plaintiffs propose that “an RN with

mental health training must conduct the screening in

accordance with the [National Commission on Correctional

Healthcare (NCCHC)] standard M-E-02.”                  Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 3.1.5;

see also Pls.’ Post-Trial Br. (Doc. 3370-1) at 88.                    The

defendants propose the same, except that it would allow

any qualified mental-health professional, and not just

an RN, to perform the intake screening.                    See Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at §§ 3.1.1,

3.1.2; see also Defs.’ Post-Trial Br. (Doc. 3367) at 65.




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                b.    The Court’s Ordered Relief

     The court will order that all intake screening be

conducted    by      qualified    mental-health        professionals,

including RNs with mental-health training, but excluding

LPNs.   As the experts agreed, intake is a key component

of a functioning mental-health care system; “[i]t starts

everything,” and it is vital that it be done and done

well. (Dr. Burns testimony on 6/2, pg. 207-08 of the

rough draft).        Intake is also a function that, at least

at ADOC, LPNS have proven unable to perform.                    Because

ADOC has persisted in using LPNs to conduct intake, the

court finds that it must forbid ADOC from doing so in

order to correct the violations found in its liability

opinion.

     The court will not order, however, that only RNs may

conduct intake screening, as the plaintiffs suggest.                  The

current NCCHC standards allow screening to be conducted

by   any    qualified      mental-health       professional.           In

deference to the NCCHC’s judgment, and so as to provide

ADOC maximum flexibility in staffing intake, the court

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will    allow   any    qualified       mental-health     professional

besides an LPN to conduct intake.               The court also will

not require that intake be conducted according to NCCHC

standard M-E-02, or any other standard.                In the absence

of any evidence indicating that ADOC is not complying

with NCCHC standards or is otherwise conducting intake

in an inadequate fashion (besides, that is, for its

continued use of LPNs), and in light of testimony from

Dr. Metzner that NCCHC standards are regularly updated,

the court finds that any requirement that ADOC conduct

intake    according     to    a    particular   standard      would     be

unnecessary and, in all likelihood, quickly outdated.



                c.    PLRA Findings

       The court finds this provision necessary for the

reasons    given     above:       because   intake   screening     is      a

critical step in the provision of mental-health care,

because LPNs have proven unable to identify inmates with

mental illnesses, and because ADOC has proven unable to

ensure that LPNs conducting screening are adequately

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supervised, the court must forbid ADOC from using LPNs

to conduct intake screening.               The provision is also

narrowly tailored and minimally intrusive because it

excludes only LPNs from conducting intake, but no other

mental-health professionals, and imposes no additional

procedural requirements.



           2.    Documentation of Intake Screening

                a.     The Parties’ Proposed Provisions

     With respect to ADOC’s failure to ensure that records

of   inmates’   intake     screenings      are   made    available     to

mental-health        providers    within     its    facilities,       the

plaintiffs propose that an ADOC Form MH-011 indicating

the results of each inmate’s intake screening be filed

in   the   inmate’s     medical    record.       See    Pls.’   Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 3.1.5.1.

The defendants propose that the results of the intake

screening be documented on the same form, but would not

explicitly require that the form be filed in the inmate’s



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medical record.        See Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at § 3.1.2.



                b.     The Court’s Ordered Relief

     The court will substantially adopt both parties’

proposed provisions, and order that documentation of each

inmate's intake screening--including an interpretation

of the results of any psychological assessment--be filed

in   the    inmate's      medical       record.          Without     such

documentation,         mental-health       providers       who     later

encounter the inmate cannot utilize the results of the

intake screening to provide treatment.              The inability of

mental-health providers to access the results of intake

screenings,          including       interpretations          of      any

psychological        tests,   can     have    fatal      consequences.

Indeed,    Wexford      itself      identified     the     failure     to

incorporate properly the results of intake screenings in

inmates’ treatment as a central concern in the autopsies

it conducted after the suicides of Laramie Avery and

Charles Braggs.

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                c.    PLRA Findings

    The court finds this provision necessary for the

reasons   given      above:      without       documentation      of   an

inmate's intake screening, mental-health providers who

later encounter the inmate cannot effectively provide

treatment.      The provision is also narrowly drawn and

minimally      intrusive      because     it     does    not    require

mental-health providers to use the results of intake

screenings in any particular way, but merely that the

results   of   intake    screenings      be    documented      and   made

available for future use.



                3.    Inmates’ Previous Records

                a.    The Parties’ Proposed Provisions

    With respect to ADOC’s failure to ensure that records

relating to inmates’ prior mental-health treatment are

received and assessed by ADOC mental-health staff in a

timely fashion, the plaintiffs propose the following

provision:

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    “If the inmate reports receiving mental health
    services, and can correctly report the prior mental
    health provider, a records request from the prior
    provider must be made within three working days of
    the intake screening.       If the inmate reports
    receiving mental health services and cannot remember
    or correctly identify the prior mental health
    provider, the mental health staff must reasonably
    attempt to locate their prior records.”

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 3.1.12.      The plaintiffs also propose that all health

records     from      each     inmate’s      prior        facility     of

incarceration be requested within 72 hours if they are

not presented at intake.           See id. at § 3.1.13.               The

defendants       propose   essentially      the    same    provisions,

except they do not propose that mental-health staff be

required    to    reasonably     attempt     to   locate     the   prior

records of inmates receiving mental-health services who

cannot remember or correctly identify their prior mental-

health provider.       See Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at § 3.1.9.



                 b.   The Court’s Ordered Relief



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       The court will adopt the plaintiffs’ first proposed

provision      with     the   added     requirement        that    a    records

request or reasonable effort to obtain records must be

made    if,    either    during        or    after    intake,     the    inmate

reports        having     previously           received      mental-health

services.        If     the   inmate        reports    having     previously

received mental-health services after intake, and can

correctly report the prior provider, the records request

must be made within three working days of the time the

intake reported having previously received mental-health

services.        The court will also adopt the plaintiffs’

second proposed provision--that all health records from

each     inmate’s       prior        facility    of     incarceration        be

requested within three working days if they are not

presented at intake.

       The    court   adopts     the        plaintiffs’    first       proposed

provision because the evidence demonstrates that ADOC is

failing to obtain the records of all inmates who have

received prior mental-health treatment, and that this

failure       contributes       to    the     violations    found       in   the

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liability opinion in two ways.           First, it has caused ADOC

to fail to identify a substantial number of inmates with

mental     illnesses,     including      several     who    ultimately

committed suicide.        See June 2, 2021, R.D. Trial Tr. at

204 (testimony of Dr. Burns).            Second, it has prevented

ADOC from effectively treating those inmates that it has

correctly identified as having mental illnesses, because,

as Dr. Burns testified, “mental health diagnoses [and]

conditions change over time, and you need to look at the

longitudinal course of a person's illness to arrive at

the correct diagnosis and then subsequently treatment.”

Id. at 218.

     The evidence also demonstrates that inmates do not

always report their prior treatment at intake.                      See,

e.g., May 24, 2021, R.D. Trial Tr. at 56–57 (testimony

of   Dr.   Burns,    noting     that    Marquell     Underwood,       who

eventually committed suicide, reported prior treatment

for bipolar disorder during a referral after intake).

Therefore, the court finds it necessary to require ADOC

to request records of an inmate’s prior treatment, or to

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make a reasonable effort to obtain such records, if the

inmate     reports    having    received     such    treatment      after

intake has already been completed.

      The court adopts the plaintiffs’ second proposed

provision for essentially the same reasons that it adopts

the first.       Wexford’s own evaluation indicates that it

does not consistently ensure that inmates’ health records

from the prior facility of incarceration are received and

assessed at intake, despite the fact that those records

often contain information about inmates’ mental illnesses

and mental-health treatment.                See Marquell Underwood

Psychological        Autopsy,     P-3316,    at     15    (recommending

“[i]mproved continuity of care ... between county jail

and ADOC for any mental health patients or inmates who

may   have   presented     with    suicidal    ideations       or   self-

harming prior to transport”); June 2, 2021, R.D. Trial

Tr.   at   220   (testimony     of   Dr.    Burns,       explaining   the

importance of receiving an inmate’s records from the

prior facility of incarceration).                 To the extent that

such records indicate inmates’ mental illnesses and the

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“longitudinal course” of inmates’ treatment, June 2,

2021, R.D. Trial Tr. at 218 (testimony of Dr. Burns),

they are essential for identifying and treating inmates’

mental illnesses, and ADOC must obtain them in a timely

fashion in order to remedy the violations identified in

the liability opinion.



                c.    PLRA Findings

    The     court     finds     that     the     plaintiffs’       first

provision--with the added requirement that ADOC request

records of an inmate’s prior treatment if the inmate

reports having received such treatment after intake has

already been completed--is necessary for the reasons

given above:      records of prior treatment, which ADOC is

currently     failing      to    obtain,       are    essential       for

identifying and treating inmates’ mental illnesses.                   The

provision is also narrowly drawn and minimally intrusive

because it merely requires ADOC to seek the outside

treatment records where possible. While the three-day

time frame is specific, the court finds that it meets the

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need-narrowness-intrusiveness test because, given ADOC's

continued    failure     to   obtain       these   records      within     a

reasonable time, setting a clear time frame is necessary

to ensure compliance. It is also the time frame suggested

by   the   defendants--a       strong       indication    that    it     is

reasonable and not overly intrusive.

     The    court   finds     the   plaintiffs’        second   proposed

provision to be necessary, given ADOC’s failure to obtain

health records from prior facilities of incarceration,

despite the fact that those records often pertain to

mental-health       treatment.            Like   the   first    proposed

provision, the plaintiffs’ second proposed provision is

narrowly tailored and minimally intrusive because it

merely requires ADOC to request records.                     And again,

although the three-day time frame is specific, it is

necessary, narrowly tailored, and minimally intrusive in

light of ADOC’s continued failure to obtain these records

within a reasonable timeframe.               Also, as before, it is

the time frame suggested by the defendants.



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           4.    Other Provisions Regarding Intake

    The parties propose additional provisions unrelated,

or indirectly related, to the three issues identified

above.    These include the following proposals by the

plaintiffs:

  • Each inmate entering or returning to ADOC custody
    must receive a mental-health screening no later than
    12 hours after his or her arrival, see Pls.’ Updated
    Proposed Omnibus Remedial Order (Doc. 3342) at
    § 3.1.1;

  • Each inmate must receive a mental-health screening
    before being placed in a housing area that does not
    provide constant correctional officer observation,
    see id. at § 3.1.2;

  • Mental-health staff conducting intake must review an
    inmate’s transfer documentation before performing
    any screening evaluation, see id. at § 3.1.3;

  • Intake evaluations must cover certain topics, see
    id. at §§ 3.2.2, 3.2.4;

  • Mental-health screenings must be conducted in areas
    permitting inmate confidentiality and encouraging
    self-reporting, see id. at § 3.1.4;

  • Intake must include a suicide risk screening, see
    id. at § 3.1.6;

  • ADOC must take certain steps to ensure that inmates
    who are identified at intake as having mental-health
    needs are referred for treatment and appropriately

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       placed within ADOC institutions, see id. at §§ 3.1.8,
       3.1.14, 3.2.2, 3.2.3, 3.2.7, 3.3.1;

  • Mental-health staff must report suspected abuse of
    inmates, see id. at § 3.1.9;

  • Inmates arriving with trauma must be referred for
    appropriate treatment, see id. at § 3.1.10;

  • ADOC must take certain steps to ensure that inmates
    prescribed mental-health medication prior to their
    arrival at ADOC facilities continue to receive such
    medication, see id. at § 3.1.11;

  • Inmates must be provided at intake with certain
    information   regarding    mental-health   services
    available in ADOC, see id. at §§ 3.3.2; 3.4.3; and

  • Inmates must not be transferred to another facility
    before receiving a full intake screening or else must
    receive a full screening upon transfer, see id. at §
    3.4.1, 3.4.2.

       The court declines to adopt these provisions because

the record does not show them to be necessary at this

time.     In fact, the record demonstrates that ADOC has

made marked progress in preventing certain problems that

these provisions are designed to remedy.                For instance,

Dr. Burns testified that intake staff were performing

more    comprehensive      assessments      of   incoming      inmates’

suicide risk than she believed necessary.                 See June 7,

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2021, R.D. Trial Tr. at 106-07.                   And, while there are

obvious    problems,       as    discussed       previously,      with   the

process    of      referring         inmates      for    more       thorough

evaluations after intake, there is no evidence that those

problems    stem    from        failures     by    the    staff     members

conducting intake to make referrals where necessary.

Indeed, Dr. Burns indicated that she had seen evidence

that inmates were being referred upon the identification

of potential mental-health needs. See id. at 108.

    In declining to adopt these provisions, however, the

court   assumes     that    ADOC      is   prepared      to   sustain    its

progress   as   COVID-19        wanes      and   thousands     of    inmates

currently housed in city jails enter its facilities.

Should that assumption prove unfounded, the court expects

the EMT to raise the matter with the court.                         At that

point, the court may consider additional relief.



                                E.    Coding

    While ADOC has put great effort into redesigning its

coding system in the time since the liability opinion,

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two problems remain with how that system is used to track

inmates.     First, the evidence demonstrates that inmates

are   not   always      assigned         mental-health         codes   and   SMI

indicators according to their needs.                     Second, even when

inmates     are    coded        appropriately,           their     codes     are

inconsistently         and    sometimes         erroneously       documented,

making it difficult for providers who encounter inmates

to discern accurately their mental-health needs.



                       1.    Assignment of Codes

                  a.    The Parties’ Proposed Provisions

      To address the problem of inmates not being assigned

mental-health codes and SMI indicators according to their

needs, the plaintiffs propose that all inmates on the

mental-health caseload must be coded and, if appropriate,

assigned     SMI       flags,       as     required      by      the   Revised

Mental-Health Coding System.                   See Pls.’ Updated Proposed

Omnibus     Remedial        Order    (Doc.       3342)    at    § 4.1.       The

defendants propose two similar provisions.                        First, they

propose that ADOC or its mental-health vendor must assess

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all   inmates    through     intake     and/or     through     clinical

encounters such as counseling sessions and treatment-team

meetings and, to the extent clinically indicated, assign

them SMI designations.           See Defs.’ Proposed Phase 2A

Remedial Order (Doc. 3215) at § 4.1. Second, they propose

that all inmates entering the system must be assigned

mental-health codes.         See id. at        § 4.2.       Under this

proposal, a code of MH-A may be assigned by a qualified

mental-health professional; a code of MH-B or above must

be assigned by a psychiatrist, psychologist, or CRNP.

See id.



                b.    The Court’s Ordered Relief

      The   court,    in   substantial       agreement      with    both

parties, will order that all inmates be assigned mental-

health codes and, if necessary, an SMI flag that is

appropriate to address their mental-health needs, as

determined by clinical judgment.             The court adopts this

provision because it is uncontroverted that the coding

system must accurately reflect inmates needs if it is to

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function    as     an    effective        way    to   track   mentally    ill

inmates and facilitate care.               Yet, as the court found in

the   liability         opinion,    ADOC        “fails   to   classify    the

severity of mental illnesses accurately.”                         Braggs v.

Dunn,   257    F.    Supp.     3d   1171,        1204    (M.D.   Ala.   2017)

(Thompson, J.).           This failure manifests in two forms.

First, some inmates simply do not receive codes at all.

Second, some inmates receive codes that do not reflect

clinical judgment.           Indeed, Dr. Burns testified that she

had seen instances of providers assigning inmates codes

based on what the inmate requested or on the inmate's

desire to seek employment, rather than on appropriate

clinical factors.          See May 23, 2021, R.D. Trial Tr. at

19;   id.     at    74–75.         This    provision       addresses     both

failures:      it ensures that inmates receive codes, and

that codes reflect clinical judgment.

      The court will not, however, attempt to prescribe

the manner in which mental-health providers exercise

their judgment when assigning codes.                    Nor will it dictate

which mental-health providers may assign which codes, as

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the   defendants       propose,     because    the   record   does    not

suggest that ADOC’s failure to code inmates appropriately

is related to the professional qualifications of those

individuals tasked with assigning codes (except, that is,

to the extent that LPNs continue to conduct intake).



                 c.     PLRA findings

      The court finds this provision necessary because, as

explained above, ADOC has persistently failed to assign

inmates    codes       and    to   do   so   according   to    clinical

judgment.       The provision is narrowly drawn and no more

intrusive than necessary because it simply directs ADOC

to ensure that providers are drawing on their clinical

judgment to code each inmate appropriately, while leaving

it to ADOC to determine how it achieves that result.



                   2.        Documentation of Codes

                 a.     The Parties’ Proposed Provisions

      To address the problem of inmates’ mental-health

codes     and    SMI    designations         being   incorrectly      and

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inconsistently documented, the plaintiffs propose that

each inmate’s mental-health code must be documented in

the inmate’s medical record.              See Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 3.2.6.                         The

plaintiffs also propose that each inmate be given an SMI

designation separate from his or her mental-health code,

and that that designation be indicated by a flag, warning

signal,    or   some     other      type    of   signal     within     the

electronic system.           See id.      The defendants propose no

provisions addressing the manner in which it documents

inmates’ mental-health codes and SMI indicators.



                b.     The Court’s Ordered Relief

    Much as the plaintiffs suggest, the court will order

that each inmate's mental-health code and SMI designation

must be accurately and consistently indicated throughout

all documents related to his or her care.                    The court

orders this relief in light of the evidence that inmates’

mental-health        codes    and   SMI    designations      are     often

undocumented or inaccurately documented.                  That failure,

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in turn, undermines ADOC’s entire system of treatment

planning        and    provision;      if     treatment    teams      and

mental-health providers are to perform their intended

functions, they must be aware of inmates’ mental-health

statuses.        Inmates with serious mental illnesses must

also be easily identifiable as such, particularly when

they     are     transferred      between     facilities,      so   that

appropriate precautions may be taken to avoid self-harm

or suicide.



                  c.     PLRA Findings

       The court finds this provision necessary for the

reasons given above:             inmates’ mental-health codes and

SMI designations must be accurately documented for ADOC’s

system of treatment planning and provision to function,

and inmates with serious mental illnesses must be easily

identifiable as such so that staff will be alert to their

needs.         Because    ADOC   has   failed   to    ensure   accurate

documentation,         the   court     must   order   relief.       This

provision is also narrowly drawn and no more intrusive

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than necessary because it simply directs ADOC to ensure

that documentation is done correctly, without mandating

a specific process for doing so.



                            F.    Referral

       As stated earlier, ADOC has made notable progress

implementing a system by which both inmates and staff are

equipped to refer inmates for mental-health services.

ADOC    has    made   similarly     important      progress     in    its

development and implementation of a triage process to

identify the urgency of requests for care.                 In light of

ADOC’s progress with respect to the making and triage of

referrals, there are several areas in which the parties

propose remedial provisions but the court will order no

relief at this time.

       At a high level, ADOC’s referral process is a chain

that begins with the identification of an inmate’s need

for    mental-health       services     and   should    result       in    a

clinical      assessment    or   intervention      by   mental-health

staff.     Each referral is classified as either emergent,

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urgent, or routine, depending on the urgency of the

inmate’s need for responsive care.               An “emergent” need

means that there is “an imminent risk of injury to the

inmate or others” or that mental-health services are

“otherwise immediately necessary.” Defs.’ Proposed Phase

2A Remedial Order (Doc. 3215) at § 1.10; see also Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 1.8.    An “urgent” need “means mental-health services

should    be   provided      in    the    near    future,      but    not

immediately.”      Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 1.39; see also Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 1.33.                     And a

“routine” need “means that mental-health services should

be provided in the ordinary course of business.”                 Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at § 1.31;

see also Pls.’ Updated Proposed Omnibus Remedial Order

(Doc. 3342) at § 1.27.

    Despite ADOC’s progress, persistent failures in this

process     deny     many     inmates      access      to    necessary

mental-health       care     within      acceptable         timeframes.

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Sometimes a failure is attributable to errors or delays

by the staff member making the referral.                  Most often,

though, a referral is made, its urgency is identified,

and then follow-up care is delayed far beyond what is

acceptable—indeed, what is required by court order and

ADOC’s own policy—if it even happens at all.                 Because a

failure at one link in the chain denies inmates access

to   timely—and    in    some    cases,    any—mental-health        care

irrespective of ADOC’s improvements at other stages of

the referral process, the court must order relief.



                    1.    Making of Referrals

     Both parties propose provisions for inmates to have

the ability to complete self-referrals for mental-health

services verbally or in writing.                 See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 5.1.1;

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§ 5.2.2.       While     there    is    extensive      evidence     that

self-referrals are an essential component of the referral

system, see, e.g., June 3, 2021, R.D. Trial Tr. at 18-19

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(testimony of Dr. Burns); May 26, 2021, R.D. Trial Tr.

at 175-77 (testimony of Mr. Vail); June 29, 2021, R.D.

Trial Tr. at 82-83 (testimony of Dr. Metzner), ADOC has

already implemented a system for self-referrals, see June

23, 2021, R.D. Trial Tr. at 66-67 (testimony of Dr.

Burns).       Although Dr. Burns highlighted the troubling

report that, in the two weeks prior to Charles Braggs’s

death, he requested mental-health services without a

referral occurring, see May 24, 2021, R.D. Trial Tr. at

119-20, the mental-health records presented to this court

reflect that inmates generally have been able to take

this initial step toward receiving mental-health care.

      This    is    also   the     case    with     respect     to    the

staff-referral system.           Both parties propose provisions

for    non-mental-health         staff    to      refer   inmates      to

mental-health staff for an assessment or intervention

when a prisoner has informed the non-mental-health staff

of    a      need   for    mental-health          services     or     the

non-mental-health staff has recognized such a need.                   See

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

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at   §§ 5.2.1,       5.2.2,   5.2.3;    Defs.’     Proposed   Phase    2A

Remedial Order (Doc. 3215) at §§ 5.2.1, 5.2.3.                  As with

self-referrals, ADOC has implemented a staff-referral

system, and evidence at the omnibus remedial hearings

suggested that it is being successfully used.                 Dr. Burns

noted multiple instances in which ADOC staff referred an

inmate for mental-health services.                 See, e.g., May 25,

2021, R.D. Trial Tr. at 177 (testimony of Dr. Burns,

noting several recorded staff-referrals of inmate W.S.);

June 8, 2021, R.D. Trial Tr. at 56-57 (testimony of Dr.

Burns,    noting      that    a   warden     and    a    classification

specialist had referred Gary Campbell); June 10, 2021,

R.D. Trial Tr. at 15-16 (testimony of Dr. Burns, noting

that an ADOC employee had referred inmate K.W. for an

evaluation).         In light of these referrals, the evidence

does not presently indicate that ADOC has failed to

inform staff of their ability, and indeed responsibility,

to   refer    inmates    in   need     of   mental-health     services.

Whether      staff    consistently      notice     and    appropriately

recognize mental-health needs is a critical but distinct

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issue, which is not addressed by the parties’ proposed

provisions regarding the referral process and may be

incapable of being addressed completely until ADOC’s

understaffing is corrected.            As Mr. Vail testified at the

omnibus remedial hearings, reaffirming his testimony at

the liability trial, without “enough staff to properly

supervise the inmates,” correctional staff will “miss a

lot of behavior, including behavior related to mental

illness.”     See May 26, 2021, R.D. Trial Tr. at 180-81.

Presently, the court will not order relief with respect

to the staff-referral system.

    With respect to written referrals by both inmates

and staff, both parties propose provisions requiring

blank mental-health referral forms to be available in the

healthcare unit, the mental-health unit, and designated

shift   offices     within     each     ADOC   major    facility      and

designating      locations       for     completed      mental-health

referral    forms    to   be   submitted.        See   Pls.’    Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 5.2.4;

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

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§ 5.4.       Dr.   Burns   testified      that    making    the    forms

available in these enumerated locations is necessary “so

that people know where to get them” and “can access them

when    necessary,”     and    that     the   plaintiffs’      proposed

drop-off location, the box for medical referrals, would

“simplif[y] the process ... so there’s not different

types of mailboxes all over the institution.”                   June 3,

2021, R.D. Trial Tr. at 22.             But Dr. Burns acknowledged

that placing the forms in any central location would be

“helpful” as long as “inmates have access to that central

location,” June 23, 2021, R.D. Trial Tr. at 69, and there

is no evidence that ADOC’s current locations for these

forms are inadequate.         The court finds that there is no

need to order the proposed relief at this time.

       The   plaintiffs    also    propose     multiple     provisions

specifying the information that must be included in these

referral forms, including identifying information for the

inmate, the referring individual, and the triage staff,

the date and time that the referral form was completed

and triaged, and the triage staff’s determination as to

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whether the referral is emergent, urgent, or routine.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342)    at    §§ 5.2.5,        5.2.6.          However,    Dr.     Burns

acknowledged         that     this         information     is     already

incorporated in the referral form currently used by ADOC.

See June 23, 2021, R.D. Trial Tr. at 70.                   Although Dr.

Burns noted “multiple episodes in which the referral

forms weren’t completed,” May 26, 2021, R.D. Trial Tr.

at 17, most of the referral forms admitted in evidence

did contain the information required by the plaintiffs’

proposed provisions.            Should the incomplete referral

forms highlighted by Dr. Burns turn out to be, or become,

a systemic problem, the court expects that the EMT will

be able to flag the issue for the court.                   But at this

point, the court is confident that ADOC will continue to

encourage its staff to engage in thorough documentation

and ensure that these forms are fully completed.



                     2.     Response to Referrals

                a.     The Parties’ Proposed Provisions

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       With respect to all referrals, the defendants propose

generally, “[a]n emergent, urgent, or routine referral

will    result    in    a    timely    clinical     assessment   and/or

intervention by a psychiatrist, psychologist, CRNP, or

counselor.”       Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 5.1.

       With respect to emergent referrals, the plaintiffs

propose that an assessment by a qualified mental-health

professional “must occur as soon as possible but no more

than 3 hours from the triage staff’s determination that

the    referral    is       emergent.”      Pls.’    Updated   Proposed

Omnibus Remedial Order (Doc. 3342) at § 5.3.5.1.                       In

their definition of “emergent,” the defendants propose

that mental-health services will be provided “typically[]

within    four    (4)       hours.”      Defs.’   Proposed     Phase   2A

Remedial Order (Doc. 3215) at § 1.10.

       The plaintiffs propose that “[u]rgent referrals must

result in a clinical assessment and/or intervention by a

[qualified mental-health professional] within 24 hours

of referral.”          Pls.’ Updated Proposed Omnibus Remedial

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Order     (Doc.    3342)        at    § 5.3.5.2.           Likewise,    the

defendants’ proposed definition of “urgent” states that

mental-health services should be provided “typically[]

within twenty-four (24) hours.”                  Defs.’ Proposed Phase

2A Remedial Order (Doc. 3215) at § 1.39.

    The    plaintiffs         propose     that    “[r]outine     referrals

must result in a clinical assessment and/or intervention

by a [qualified mental-health professional] within 14

calendar    days       of    referral.”      Pls.’     Updated    Proposed

Omnibus     Remedial          Order     (Doc.      3342)    at   § 5.3.6.

Similarly,     the          defendants’     proposed       definition   of

“routine” states that mental-health services “should be

provided in the ordinary course of business—typically,

within fourteen (14) days.”                 Defs.’ Proposed Phase 2A

Remedial Order (Doc. 3215) at § 1.31.



                  b.    The Court’s Ordered Relief

    In light of the parties’ proposals, the court will

adopt the following provisions:                  A referral must result

in a timely clinical assessment and/or intervention by a

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psychiatrist, psychologist, CRNP, or counselor. Emergent

referrals must result in a clinical assessment and/or

intervention as soon as possible but no more than four

hours    from       the   determination    that    the   referral      is

emergent.       Urgent referrals must result in a clinical

assessment and/or intervention within 24 hours of the

time the referral was made.               Routine referrals must

result   in     a    clinical   assessment     and/or    intervention

within 14 calendar days of the time the referral was

made.

    The court is concerned with the ongoing pattern of

missed or unanswered referrals at all levels of urgency,

which delay care and leave inmates to deteriorate without

the treatment they need.          ADOC’s failures have affected

inmates waiting on all levels of referrals.                 See, e.g.,

May 25, 2021, R.D. Trial Tr. at 118-20 (inmate R.J. was

not seen in response to an emergent referral for three

days due to lack of staff to bring him out for an

assessment); id. at 52 (inmate T.M. was not seen by a

CRNP until three weeks after he set himself on fire and

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received an urgent referral); id. at 27 (inmate A.J. was

not seen until May 2020 for a routine referral that was

made in February 2020).           These failures have persisted

since the time of the liability trial in spite of a court

order to which the defendants stipulated, see Phase 2A

Order and Injunction on Mental-Health Identification and

Classification      Remedy    (Referral),       Attachment     A   (Doc.

1821-2) at §§ 2.1-2.3, and ADOC’s own regulations and

policies.    While ADOC’s implementation of a triage system

is admirable, it clearly is not sufficient to address the

problem if the identified level of urgency does not

correspond with the actual time in which responsive care

is provided.       The court finds it necessary to require

that mental-health staff respond to referrals in a timely

manner.   Moreover, given ADOC’s inability to improve even

in the face of the liability finding, and in light of the

unreasonable     delays     in   care    that   have    persisted      in

violation of a court order and ADOC’s policy, it is

necessary for the court to impose specific and concrete



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timeframes     for     mental-health         staff    to   respond     to

referrals.9

    With respect to the time to respond to emergent

referrals,     the     court    adopts       the     language   of    the

plaintiffs’ provision but incorporates the defendants’

proposed timeframe.            Dr. Burns and Dr. Metzner gave

conflicting testimony as to whether a three- or four-hour

timeframe     for    responding    to   an    emergent     referral    is

necessary and reflective of the accepted standard of

care.   See May 25, 2021, R.D. Trial Tr. at 54 (testimony

of Dr. Burns); June 3, 2021, R.D. Trial Tr. at 25, 33

(same); June 29, 2021, R.D. Trial Tr. at 83, 151, 204-05

(testimony of Dr. Metzner).             In light of the distinct

requirement that mental-health staff still must respond



    9. The court discusses these timeframes that it will
impose in its order against the backdrop of the court’s
general discussion of timeframes in Section II.E of Part
II of the Phase 2A Omnibus Remedial Opinion.       ADOC’s
history of noncompliance with these timeframes even after
the defendants stipulated to be enjoined to comply with
them, together with the testimony of experts for both
sides, discussed below, strongly supports the necessity,
narrowness, and minimal intrusiveness of these particular
timeframes.
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to an emergent referral “as soon as possible,” the court

will defer to the defendants’ expert, Dr. Metzner, and

adopt the four-hour timeframe.

       With respect to urgent and routine referrals, Dr.

Burns     and      Dr.   Metzner     agreed       on     the    appropriate

timeframes for mental-health staff to respond:                      24 hours

for urgent referrals and 14 days for routine referrals.

See May 25, 2021, R.D. Trial Tr. at 54 (testimony of Dr.

Burns); June 3, 2021, R.D. Trial Tr. at 26, 33 (same);

June    29,     2021,    R.D.    Trial     Tr.    at    83,    151,    204-05

(testimony of Dr. Metzner).                ADOC’s continued failures

and     delays     in    providing       mental-health         services      in

response      to    these    referrals,          as    well    as   emergent

referrals,         necessitate     specific           timeframes      for    an

assessment or intervention following a referral.                            The

court adopts the timeframes agreed upon by Dr. Burns and

Dr. Metzner.



                   c.    PLRA Findings



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    This     relief    is   necessary     to   correct     a   referral

process     that      remains     “riddled       with     delays      and

inadequacies.”        Braggs, 257 F. Supp. 3d at 1203.              ADOC

still is not providing care to inmates in an acceptable

timeframe after they have been referred, and the result

is that the department’s referral process, a cornerstone

of its system for providing mental-health care, remains

deficient.     In light of ADOC’s failure to correct this

deficiency on its own, specific timeframes are necessary,

narrowly tailored, and minimally intrusive to ensure

ADOC’s compliance and prevent further harms.

    ADOC’s longstanding violation in this area and the

timeframes that the court finds necessary to correct this

problem inform the court’s consideration of the parties’

other proposed provisions.           Although failures to follow

up on mental-health referrals appear to be the critical

defect in ADOC’s referral process, the evidence makes

clear that problems earlier in the referral process have

the same harmful effect of delaying necessary care, and

additional relief is required.

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   3.    Communication of Emergent or Urgent Referrals

                 a.     The Parties’ Proposed Provisions

    To ensure that emergent or urgent referrals are

communicated to mental-health providers with appropriate

speed, the defendants propose that “[a]n emergent or

urgent referral must be communicated verbally, in person

or by telephone, to the mental-health staff as soon as

possible, but in no case longer than (1) hour absent

unusual circumstances which detain staff for an extended

period of time such as a medical emergency or an incident

involving      safety    or   security    of   staff    or    inmates.”

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§ 5.1.       During a conference call following the omnibus

remedial hearings, defense counsel clarified that this

provision would apply to a referring staff member who

makes    a    preliminary     determination      that    an    inmate’s

mental-health need is emergent or urgent.               At that time,

the referring staff would have one hour, absent unusual



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circumstances,       to   communicate         the   referral      directly

(verbally or in person) to the triage staff.

     The    plaintiffs      propose     the     following        provision

regarding     the    communication       of     emergent     or     urgent

referrals by triage staff:

     “If the triage staff is an RN and they determine
     that the referral is emergent or urgent, they
     must initiate contact with the on-call MHP or
     psychologist within one (1) hour of receipt of
     the referral.     If the triage staff is a
     [qualified mental-health professional] and is
     not the on-call MHP or psychologist, they must
     initiate contact with the on-call MHP or
     psychologist within one (1) hour of receipt of
     the referral. The on-call MHP or psychologist
     must determine whether further referral to the
     psychiatrist is warranted or whether a change in
     the status of the referral is warranted.”

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 5.3.5.



                b.    The Court’s Ordered Relief

     The    court    will    adopt      the    defendants’        proposed

provision and order that an emergent or urgent referral

must be communicated verbally, in person or by telephone,

to   the   appropriate      mental-health           staff   as    soon   as

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possible, but in no case longer than one hour from the

time the referral is first identified as emergent or

urgent, absent unusual circumstances which detain staff

for an extended period of time such as a medical emergency

or an incident involving safety or security of staff or

inmates.

      The court concludes that it must order compliance

with this one-hour timeframe to ensure that emergent or

urgent referrals lead to assessments or interventions

within     the   timeframes    that     it   has   found    necessary.

Despite the urgency of these categories of referrals,

they are not consistently received, much less responded

to,   in    a    timely   manner,     especially     when    they     are

initiated via written referral forms, rather than direct,

verbal contact with mental-health staff.                For instance,

on the day before Jaquel Alexander committed suicide, a

medical staff member made a written referral for him

after he “[r]equested to be placed in a crisis cell.”

Pls.’ Ex. 3297 at ADOC518191.           The form was not received

by the triage nurse for over 12 hours.             See id.     Although

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Alexander,    due    to     a    previous       referral,      met    with   a

mental-health provider that morning, the 12-hour delay

before triage staff even received a referral that was

ultimately     identified        as     urgent    and   that     requested

placement on suicide watch is a troubling sign that

relief is necessary.

    However, while emergent or urgent referrals must be

communicated to mental-health staff with urgency, the

court finds that it is appropriate for this provision to

account    for      unusual       circumstances         that     may     make

compliance with a strict one-hour requirement impossible.

The court expects that the EMT, in monitoring ADOC’s

compliance with this provision, will evaluate whether

ADOC applies this exception overbroadly.

    The    court     will       not     order    compliance      with     the

plaintiffs’       proposed       provision       at   this   time.        The

evidence    presented       at    the    omnibus      remedial       hearings

reflected that, after triage staff received emergent or

urgent referrals from the referring staff, they generally

triaged     the     referrals           and     notified       appropriate

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mental-health          staff      within      the    plaintiffs’        proposed

timeframe.



                  c.       PLRA Findings

       The provision that the court orders is necessary to

ensure that mental-health staff are notified promptly

about    the    most       time-sensitive          referrals     in    order   to

provide    urgent         or    emergent      care     to   inmates      without

inappropriate          delay.          The    evidence      at   the    omnibus

remedial hearings made clear that Alexander’s referral

was not unique in the delay before it was received and

triaged.       Subjecting emergent or urgent referrals to this

delay     prior       to       triage      risks      leaving     inmates      in

potentially       acute         distress      as     they   await      necessary

treatment       or        intervention         for     hours      or    longer.

Requiring       that       such       referrals       be    communicated       to

mental-health staff directly and with appropriate urgency

is narrowly tailored to protect mentally ill inmates from

this    substantial            risk   of     harm.      And,     by    affording

flexibility          to     staff       in     the     event      of    unusual

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circumstances, this relief is the least intrusive means

that will address the violation.



             4.   Communication of Routine Referrals

                  a.   The Parties’ Proposed Provisions

       The   plaintiffs   propose     that     “[r]outine    referrals

must be communicated to the mental health staff on the

next business day by leaving the referral form in a

designated location.”          Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 5.3.6.               The defendants’

proposed provision is substantially the same, except that

it uses permissive language.             See Defs.’ Proposed Phase

2A Remedial Order (Doc. 3215) at § 5.1.



                  b.   The Court’s Ordered Relief

       The court will adopt the parties’ proposed provisions

with    a    slight    modification      and   order    that     routine

referrals must be communicated to the mental-health staff

by the next shift by leaving the referral form in a

designated        location.      As     with   emergent     or   urgent

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referrals, the court finds that relief is necessary with

respect to routine referrals in light of the unreasonable

delays in response times.            These delays are exacerbated

by the fact that referrals are frequently lost or delayed

before they are ever communicated to mental-health staff,

as Dr. Burns described with respect to the seven-day

delay before a referral for Marquell Underwood was even

received by mental-health staff.            See June 2, 2021, R.D.

Trial Tr. at 100.       This provision is designed to address

the problem by ensuring that referrals are communicated

in a timely and reliable fashion.



                c.    PLRA Findings

    As with the court’s ordered relief regarding emergent

and urgent referrals, this provision is necessary to

address    another     facet    of    ADOC’s    deficient      referral

process.     Inmates are not currently receiving responses

to their routine referrals in a timely manner, and delays

in communicating the referrals to mental-health staff

contribute     to    that    deficiency.          Although      routine

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mental-health     needs        generally       do    not    pose    the    same

immediate risks of injury as emergent or urgent needs,

the    failure     to        address     them—especially            over    the

protracted delays that currently infect ADOC’s process

for   handling    routine       referrals—subjects            inmates      with

mental-health needs to the risk of worsened symptoms or

decompensation. Delays in handling routine referrals are

particularly     concerning        in        light    of    the    risk    that

emergent or urgent needs may initially be misclassified

as routine needs, leaving inmates with such needs to

suffer   without        an    intervention          far    longer    than    is

acceptable.      Indeed, failures in ADOC’s provision of

routine care have contributed to the inadequacy of care

received by numerous inmates who committed suicide since

the court’s suicide prevention opinion.

      A specific timeframe in which staff must communicate

routine referrals is necessary to address the violation,

given that ADOC has failed to self-correct in this area.

And the timeframe specified provides ADOC with ample time

to fulfill the requirement.                  This provision is narrowly

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tailored to address only the underlying issue causing the

violation.       And it is no more intrusive than is necessary

to ensure that delays are sufficiently short to ensure

timely    treatment            of   emergent    or    urgent     needs       that

initially       may       be   understood     as    routine    needs.         The

provision preserves ADOC’s flexibility to manage the

means by which it will comply with this requirement,

including       its        discretion    to        decide    where      routine

referrals should be submitted and who should review them.



                          5.    Triage of Referrals

                     a.    The Parties’ Proposed Provisions

       Both parties propose a number of provisions relating

to the process to triage referrals.                          The plaintiffs

propose     a    provision          requiring       that     triage    not     be

completed       by    correctional       staff.        See    Pls.’     Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 5.3.1.

They    further       propose       additional       provisions       regarding

triage responsibility:



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  • Each ADOC major facility must designate one triage
    staff per shift, see Pls.’ Updated Proposed Omnibus
    Remedial Order (Doc. 3342) at § 5.3.2;

  • The triage staff must regularly monitor the
    designated area for completed mental-health referral
    forms and check the box for such forms at least once
    per shift, see id. at § 5.3.3; and

  • The triage staff must determine whether each
    mental-health referral is emergent, urgent, or
    routine, see id. at § 5.3.4.
    The defendants propose similar provisions, with the

key distinctions being that their proposal would allow

for multiple designated triage staff on a given shift and

would   require      triage    staff    to   check     for   completed

referral forms at least once per business day rather than

once per shift.       See Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at §§ 5.4, 5.5.1, 5.5.2, 5.5.3.



                b.    The Court’s Ordered Relief

    The court will not order that correctional staff

cannot triage mental-health referrals, nor will it order

that each ADOC major facility must designate one triage

staff per shift.      There is no evidence that, since ADOC’s


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current     triage   system    was   developed,      any    triage    was

performed     by   correctional      staff,    so    this   relief     is

unnecessary.         And   while     Dr.    Burns    testified       that

assigning triage responsibility to one person on a shift

would avoid the confusion of “having multiple people

trying to sort” the referrals, June 3, 2021, R.D. Trial

Tr. at 23, the evidence at the omnibus remedial hearings

did   not    reflect    that    ADOC’s     current     allocation      of

responsibility for triage has caused such problems.

      Similarly,     although     the    parties’     proposals      that

triage staff must determine whether each mental-health

referral is emergent, urgent, or routine undoubtedly

reflect a necessary and foundational component of the

referral process, see, e.g., June 29, 2021, R.D. Trial

Tr. at 152 (testimony of Dr. Metzner, observing that “all

referrals need to be triaged to determine whether they’re

urgent, emergent, or routine”); June 3, 2021, R.D. Trial

Tr. at 33 (testimony of Dr. Burns, explaining that “[i]t

is the standard of care that there be a triage person,

that there be these referral levels”), the mental-health

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records admitted in evidence at the omnibus remedial

hearings    tended      to   show    that,     when    referrals       were

received, they generally were assigned an urgency level

by the triage staff in a timely manner. The more systemic

problems were that referrals were not timely communicated

and received prior to triage and did not lead to timely

follow-up afterward.          The court will not order this

proposed relief.        Even without this provision, the court

fully   expects      that    the    EMT     will    review    triage     of

referrals extensively and bring persistent issues to the

court’s attention if further relief is necessary.

    However,      the    court      will    adopt     the    plaintiffs’

proposed provision requiring the triage staff to monitor

regularly the designated area for completed mental-health

referral forms, at a minimum frequency of once per shift.

The court credits Dr. Burns’s testimony that that this

frequency of monitoring for completed referral forms is

necessary to ensure that written referrals, particularly

those   that   may    actually      be     emergent   or     urgent,    are

received, classified, and acted upon with appropriate

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speed.    See June 3, 2021, R.D. Trial Tr. at 28.              Although

Dr. Metzner testified that triaging referrals once per

day is sufficient if staff are properly trained that

emergent or urgent referrals “ought to be done by phone

to alert people,” June 29, 2021, R.D. Trial Tr. at 221;

see also id. at 151 (testimony of Dr. Metzner, explaining

that he would “require that emergent and urgent referrals

be transmitted verbally as well as in writing,” so that

“you are not waiting for someone to pick up the referral

slip”), the court finds that ADOC has not yet reached the

point at which Dr. Metzner’s reasoning is applicable.

Because ADOC staff do not yet recognize inmates’ emergent

or urgent needs with the consistency to ensure that such

referrals are transmitted directly to triage staff, the

protection that the plaintiffs propose is necessary to

avoid    subjecting     inmates       in    need   of   “immediate”    or

“urgent care center type” needs, see June 3, 2021, R.D.

Trial Tr. at 25-26 (testimony of Dr. Burns), to long

delays—longer than the court finds are permissible to go

without    an   assessment       or        intervention—before     their

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referrals are even picked up by a mental-health staff

member.



                 c.    PLRA Findings

      Requiring that triage staff monitor the designated

area for completed referral forms at least once per shift

is necessary to protect inmates whose emergent or urgent

needs     may   be    initially    misidentified          by    referring

non-mental-health staff members prior to triage.                      While

the   court’s     ordered     provision     requiring          the   verbal

communication of emergent or urgent referrals, combined

with ongoing mental-health training of ADOC staff, may

offer partial protection to these inmates, it is not yet

sufficient to keep inmates with pressing mental-health

needs from falling through the cracks long enough to

suffer decompensation, self-injury, or worse. Especially

while   severe       understaffing      continues    to    present     the

danger that correctional staff will miss or misidentify

behavior    related      to   mental    illness,    this       additional

safeguard is necessary to ensure that inmates receive

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timely treatment relative to their mental-health needs.

Even   this    provision         may   not   offer    entirely   adequate

protection for inmates who could require intervention in

as little as four hours.               For comparison, ADOC’s stated

policy since 2018 requires triage staff to check for

completed forms “a minimum of every hour and at the end

of each triage nurse’s shift.”                  MH E-05.5 (D-3646) at

ADOC475712.         In    light        of    ADOC’s   progress   in   the

development and implementation of its triage process,

however,      the   court    will      order   this    less   restrictive

provision, with the expectation that improvements to

staffing, training, and the remainder of ADOC’s referral

process    will     all     be    necessary      to   provide    adequate

protection to inmates who experience emergent or urgent

needs for mental-health services.               The provision that the

court orders is narrowly tailored and minimally intrusive

to ensure that these inmates receive adequate protection

and access to treatment.




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 6.    Observation in Response to Emergent Referrals and

                  Referrals for Suicide Watch

                a.     The Parties’ Proposed Provisions

      The    plaintiffs      propose     that,      “[f]ollowing       an

emergent referral, including referrals for suicide watch,

custody or mental health staff must maintain constant,

line of sight, observation of the prisoner until assessed

by a [qualified mental-health professional].”                      Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 5.3.5.1.      In the context of intake, the defendants

propose the similar provision that, “[i]f a psychiatrist

or CRNP is not available to evaluate an inmate with an

emergent need, then the inmate will be placed on constant

observation or close watch (as appropriate) until the

inmate may be evaluated.”               Defs.’ Proposed Phase 2A

Remedial Order (Doc. 3215) at § 3.1.12.

      With   respect    to   referrals     for     suicide    watch    in

particular,     the     plaintiffs       propose     the     additional

provision that, “[w]hen referring prisoners for suicide

watch placement, the referring person must ensure that

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staff maintain constant, line-of-sight observation of the

prisoner who is being referred until they are either

transferred     to    appropriate     correctional,       medical,     or

mental health staff who takes over the responsibility to

ensure an assessment by a triage nurse occurs or the

prisoner is assessed by a triage nurse on an emergent

referral.” Pls.’ Updated Proposed Omnibus Remedial Order

(Doc. 3342) at § 5.2.2.1.



                 b.    The Court’s Ordered Relief

       The court will adopt the plaintiffs’ first proposed

provision.      As discussed in the previous sections, ADOC

has    continued      to   perform   inadequately       in    providing

responsive care to inmates within acceptable timeframes

following      mental-health     referrals.        This      failure   is

particularly unacceptable, and particularly dangerous,

when the inmate has been identified as having an emergent

need     for    mental-health        care,      including      possible

suicidality.          To   reiterate,      an    emergent      referral

indicates that an inmate is at serious and imminent risk

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of injury or other harm.           See June 3, 2021, R.D. Trial

Tr. at 25.     However, even though the generally accepted

standard in these cases is to provide care within three

or four hours, there is evidence that these inmates must

wait days to be seen—and that some are never seen at all.

In at least one case that Dr. Burns identified, the inmate

was not put on watch or given any additional support

while waiting to be seen.          See May 25, 2021, R.D. Trial

Tr. at 118-20 (discussing the failure to place inmate

R.J. on watch while he waited three days for an assessment

following an emergent referral).           Leaving inmates in such

acute distress without taking any steps to ensure their

safety is plainly inadequate.               When this failure is

combined with delays in responding to the referral, as

was the case for Casey Murphree, the result can be deadly.

See May 24, 2021, R.D. Trial Tr. at 76-77.                   The court

finds that this provision is necessary to address this

grave danger and ensure that inmates remain safe while

waiting to receive the basic care that they need.



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       However, the court will not adopt the plaintiffs’

second proposed provision, which would place initial

responsibility       for     ensuring          this    observation     on    the

referring individual until the appropriate correctional,

medical,     or     mental-health              staff    can    assume       that

responsibility.        While it is possible that this is an

important     practice        in    order        to     maintain     constant

supervision of inmates who have been referred for a

suicide watch assessment, Dr. Metzner testified that this

provision      could         have        the      effect       of    imposing

responsibility       for     maintaining          constant     watch    on    an

individual         without      the         authority,         ability,       or

qualifications to monitor the inmate properly.                       See June

29, 2021, R.D. Trial Tr. at 220-21.                      And there was no

evidence presented at the omnibus remedial hearings that

this    requirement     would       be    effective       or   necessary      to

protect inmates beyond the relief that the court does

order,     which     still     requires          constant      line-of-sight

observation while preserving ADOC’s discretion as to how

to comply with this requirement.

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                   c.       PLRA Findings

       The provision that the court adopts is necessary to

address          the    dangers          to      inmates      with     emergent

mental-health           needs      that       are    neglected,      and   indeed

aggravated, as a result of the unconstitutional delays

in ADOC’s referral process.                     It is narrowly tailored to

the dangers that ADOC’s violations cause; it only imposes

a      requirement           for      constant          observation         until

mental-health           staff      can     initiate      an    assessment      or

intervention           to   determine          the    next    steps   that   are

appropriate.           While the defendants              And it is the least

intrusive means to protect the safety of inmates while

they are awaiting necessary mental-health services.



            7.     Other Provisions Regarding Referrals

       Finally, both parties propose provisions requiring

the maintenance of a log of all mental-health referrals

at each ADOC major facility.                    See Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at §§ 5.4.1, 5.4.2;

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Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§ 5.3.     The    plaintiffs’      proposal     further      prescribes

information that must be included in these mental-health

referral      logs.    See    Pls.’     Updated    Proposed     Omnibus

Remedial Order (Doc. 3342) at § 5.4.2.1.                 However, Dr.

Burns testified that ADOC is already keeping referral

logs, and, because she did not review the most recent

logs, she was unable to provide evidence as to whether

these logs are deficient.          See June 23, 2021, R.D. Trial

Tr. at 75.      Therefore, the court sees no reason to order

relief   at    this   time.      However,     given    Dr.    Metzner’s

testimony that these logs would be important to the EMT

in fulfilling its monitoring responsibilities, see June

29, 2021, R.D. Trial Tr. at 224; July 1, 2021, R.D. Trial

Tr. at 12-13, the court anticipates that the EMT may flag

for the court any defects or other concerns regarding how

these logs are being maintained should any deficiencies

inhibit monitoring or impede the quality or continuity

of mental-health care.



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                         G.        Confidentiality

       As    described      previously,         and     as    its   own    audit

recognized, ADOC continues to struggle to provide inmates

with the confidential treatment that is an “absolutely

necessary      condition”          for    the     adequate      provision    of

mental-health care.           June 3, 2021, R.D. Trial Tr. at 14

(testimony of Dr. Burns).                While the evidence shows that

some prisoners do receive confidential treatment, too

many    do    not.       Out-of-cell           spaces     for    confidential

treatment      are    not   always        used,    even      when   available.

Inmates who refuse to leave their cells are simply not

provided confidential treatment, and a lack of staff

prevents inmates who do wish to leave their cells from

being escorted to confidential-treatment spaces.



                 a.    The Parties’ Proposed Provisions

       To remedy ADOC’s failure to provide confidential

treatment,            the           plaintiffs               propose       that

“[c]onfidentiality            in     mental       health       treatment    and

assessment must be a priority,” Pls.’ Updated Proposed

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Omnibus Remedial Order (Doc. 3342) at § 6.1, and that

“[i]ndividual counseling sessions, medication management

encounters, periodic assessments related to placement in

an [restrictive housing unit], suicide risk assessments,

and therapeutic groups must take place out-of-cell in a

setting that provides for confidentiality, unless that

is   not   possible    due   to    safety      concerns,    based    upon

clinical determinations,” id. at § 6.2.                The plaintiffs

further    propose     that,      “[i]f   confidentiality       is       not

possible, then that fact, the reason, and the actions

taken to maximize confidentiality must be documented in

the progress note,” and that all correctional staff will

undergo certain training on confidentiality.                 Id.

     The   defendants      offer     similar     provisions.         They

propose    that   “assessments,       evaluations,      examinations,

individual    counseling       sessions,       medication   management

encounters, therapeutic groups, and other mental-health

services provided in this Phase 2A Remedial Order will

take place out-of-cell in a setting that provides for

confidentiality,      unless      that    is   not   possible      due    to

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safety       concerns     or    otherwise          not     appropriate          (for

example, psychoeducational groups may not necessarily

need to be confidential and mental-health rounds in the

[restrictive housing unit] may be appropriately conducted

“cell-front”),          based       upon     clinical          determinations.”

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at §

6.1.     And, like the plaintiffs, the defendants propose

that    if    confidentiality          is    not    possible,           “then    the

[qualified      mental-health          professional]             will    document

that fact, the reason, and the actions taken to maximize

confidentiality in a progress note for that individual

counseling session, medication management encounter, or

therapeutic group.”             Id.; see also id. at 8.2.3 (“If a

significant clinical encounter is at a cell-front, then

the progress note should so indicate.”).

       Both    parties    also       propose       provisions        concerning

training      on   confidentiality.                The     plaintiffs       would

require all correctional staff members to be trained on

confidentiality          in     a    manner       consistent        with        ADOC

Administrative          Regulation         604.          See    Pls.’     Updated

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Proposed Omnibus Remedial Order (Doc. 3342) at § 6.2.

The defendants, too, would require correctional staff to

be trained in a manner consistent with Regulation 604,

but would limit the requirement to correctional staff

members assigned to medical or mental-health units or

treatment    teams,      or    who        regularly    receive          protected

health    information.              See    Defs.’     Proposed          Phase    2A

Remedial Order (Doc. 3215) at § 6.2.                          The defendants

would     also   require           correctional       staff        to    sign     a

confidentiality       agreement           at   the    conclusion          of    the

training    in   order        to    be     assigned      to   a    medical       or

mental-health     unit    or        treatment     team,       or   to     receive

protected health information.                  See id.



                 b.   The Court’s Ordered Relief

       In substantial agreement with both parties, the court

will     order    that        individual         counseling             sessions,

medication-management encounters, periodic assessments

related to placement in restrictive housing, suicide-risk

assessments, and therapeutic groups must take place in a

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setting that provides for confidentiality and that, if

applicable,     is    out-of-cell.              These       services     may    be

provided      in          a        non-confidential            location         if

confidentiality is not possible due to safety concerns

or is otherwise not appropriate. The question whether

confidentiality is not appropriate for reasons other than

safety concerns must be made answered according clinical

determinations. If confidentiality is not possible, then

that fact, the reason for it, and the actions taken to

maximize    confidentiality              must       be    documented     in    the

progress note.

       The court orders that mental-health treatment be

conducted in confidential settings because, as it found

in the liability opinion, such treatment is generally

ineffective unless confidential.                     The court recognizes,

however,    that     it       is   not    always         possible   to   provide

mental-health services in a confidential setting.                              It

will    therefore     allow         ADOC       to   provide     mental-health

services in a non-confidential setting, but only when it

is necessary to do so because of safety needs or other

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considerations.       Such other considerations might arise,

for instance, when an inmate refuses to come out of his

or her cell, or when the need for mental-health care is

urgent and confidentiality cannot be achieved rapidly.

Because     determinations         about       the     necessity       of

non-confidential treatment under such circumstances will

necessarily       involve      some      analysis       of     inmates’

mental-health needs, such determinations must be made

according    to   clinical     judgment.       Finally,      the   court

orders    that    providers      document      instances     in    which

confidentiality is impossible, and the reason(s) that it

is,   because     such   information      is   highly     relevant     to

inmates’ care, and must be made available to treatment

teams if they are to effectively monitor the course of

each inmate’s treatment.

      The court declines, however, to adopt either of the

parties’ proposals concerning training.                  The evidence

simply does not show that ADOC’s failure to provide

confidential treatment is caused by a lack of training,

and so the court cannot find such relief necessary.

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Moreover, it assumes that ADOC and its mental-health

vendor    will   inform    their    staff       of   their   obligations

regarding confidentiality, and that the EMT will notify

it if they do not.



                 c.    PLRA findings

       The court finds this provision necessary because, as

explained above, confidentiality is essential for the

effective provision of mental-health services, and yet

at no ADOC facility is treatment consistently provided

in confidential settings.                The court also finds this

provision to be narrowly tailored and no more intrusive

than     necessary     because     it     focuses     specifically      on

remedying    the      violation    of     confidentiality      that   was

described in the liability opinion and continues today,

and    because   it    allows     ADOC    the   flexibility     to    hold

sessions in nonconfidential settings when necessary or

appropriate.



                 H.    Treatment Teams and Plans

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       Since the court’s liability findings, ADOC has made

much    progress     in   ensuring      that    every   inmate    has      a

treatment      team.      However,      as     discussed   previously,

treatment teams often do not meet frequently enough, and

when they do meet, they lack pertinent information and

do not meet for long enough to substantively discuss

inmates’ needs and progress.            As a result, the treatment

plans that those teams are tasked with curating are often

nonexistent or so vague as to be insufficient to address

inmates’ individual needs. Moreover, treatment plans are

often not amended to address changes in inmates’ needs

and circumstances, a shortcoming that is exacerbated by

the haphazard and poorly documented nature of ADOC’s

transfer process.



          1.    Frequency of Treatment-Team Meetings

                a.     The Parties’ Proposed Provisions

       With respect to the infrequency with which treatment

teams meet, the plaintiffs propose that “treatment teams

must    meet   at    regular   intervals        as   mandated    by   the

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patient’s assigned mental-health code and appropriate

level of psychotherapy in order to formulate/revise the

patient’s treatment plan, review progress notes, discuss

the condition of the patient, and address the patient’s

progress.” Pls.’ Updated Proposed Omnibus Remedial Order

(Doc.   3342)    at    §     7.2.1.         The   defendants     propose,

similarly, that “treatment team meetings will occur at

regular or clinically indicated intervals or after a

major clinical event to prepare or to revise the inmate’s

treatment plan.”       Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 7.2.             Both parties also propose that

treatment teams meet according to prescribed timeframes.

See id.; Pls.’ Updated Proposed Omnibus Remedial Order

(Doc. 3342) at App’x A, Table 2.



                b.     The Court’s Ordered Relief

    The    court      will      adopt   a    hybrid   of   the   parties’

proposals, and order that treatment teams meet at regular

intervals, to be determined based on the team chair's

clinical    judgment       of    what   is    appropriate    given    the

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inmate’s assigned mental-health code, housing unit, and

level of psychotherapy.             As the court found in the

liability opinion, treatment planning is essential to the

provision of mental-health care, especially in the prison

context, and it cannot occur absent regular meetings by

treatment teams. See Braggs, 257 F. Supp. 3d at 1206.

Because ADOC has failed to ensure that treatment teams

meet regularly, the court must do so now to ensure that

inmates receive the minimal level of care required by the

Constitution.

    The    court    omits    from    its    order     the   plaintiffs’

language    regarding       the   substance      of     treatment-team

meetings because there is no evidence that meetings fail

to address necessary issues when they do occur and last

long enough to be productive.

    The    court    also    declines       to   adopt    the   parties’

proposed timeframes for treatment-team meetings. At this

point, such a provision does not appear necessary.                  ADOC

should have the opportunity to comply with the court’s

order for regular meetings before the court imposes such

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a granular scheduling requirement.               The court is also

confident that the EMT will monitor the frequency of

treatment-team       meetings    and    will   alert    the   court    if

meetings continue to occur so infrequently as to prevent

effective care.



                c.    PLRA Findings

    The court finds this provision necessary for the

reasons given above:        treatment planning is vital to the

provision of mental-health care, and it cannot occur

absent regular meetings.         The court also finds that this

provision is narrowly tailored and no more intrusive than

necessary because it leaves the decision of what to

discuss during treatment-team meetings, and the decision

of exactly how frequently to hold meetings, up to the

chair of the team, thereby ensuring that ADOC maintains

maximum flexibility to structure its operations.



           2.    Length of Treatment-Team Meetings



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                 a.     The Parties’ Proposed Provisions

       With    respect    to    ADOC’s       failure     to   ensure    that

treatment-team meetings last long enough to be effective,

the plaintiffs propose that the length of any given

treatment-team meeting must be “based on whether there

have    been    any     significant         clinical     changes   in   the

patient’s      condition       since        the   last    treatment     team

meeting.” Pls.’ Updated Proposed Omnibus Remedial Order

(Doc. 3342) at § 7.2.4.                 The defendants propose no

provision       regarding       the     length      of     treatment-team

meetings.



                 b.     The Court’s Ordered Relief

       The court will order simply that each treatment team

meeting must last for an adequate period of time, based

on the chair’s clinical judgment.                 The court orders this

relief    in    light    of    the    evidence     that    treatment-team

meetings for some inmates are lasting between one and six

minutes, despite the fact that, as Dr. Burns testified,

a normal follow-up treatment-team meeting, when “there

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are no changes and things are going just fine,” should

last at least 15 to 20 minutes.           May 25, 2021, R.D. Trial

Tr. at 135.     Because the evidence also demonstrates that

the appropriate length of treatment-team meetings will

vary depending on inmates’ needs, however, the court does

not prescribe any particular length for treatment-team

meetings.



                c.    PLRA Findings

    The court finds this provision necessary because, as

explained above, treatment teams are currently meeting

for less time than is required to ensure that each

inmates’ treatment plan and progress are meaningfully

analyzed.      It is also narrowly tailored and no more

intrusive than necessary because it leaves the decision

of exactly how long each meeting should last to the team

chair, provided that the decision is based on clinical

judgment.



              3.     Lack of Pertinent Information

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                a.    The Parties’ Proposed Provisions

      With respect to treatment teams’ frequent lack of

pertinent information, the plaintiffs propose that “[a]ll

members [of the treatment team] must have access to

clinically relevant documents.”             Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 7.2.6.                        The

plaintiffs     define    “clinically      relevant      documents”     as

“documents     related    to   the    current     condition     of    the

patient,” including the “most recent treatment plan, any

treatment plan less than thirty (30) days old, [a] list

of    currently      prescribed       medication,       documentation

showing medication compliance within the last thirty (30)

days, progress notes from the last thirty (30) days, and

any    other    clinically      relevant      document      determined

necessary by the reviewing individual to inform clinical

judgment.”      Id. at § 1.5.           The defendants propose no

provision      regarding       treatment       teams’      access      to

information.



                b.    The Court’s Ordered Relief

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       The    court     will    order     that     all    members        of   the

treatment team must have access to clinically relevant

documents       related        to   the     inmate,      with    “clinically

relevant documents” defined as all documents related to

the current and past condition of the inmate--including

documents       related        to   the     inmate’s      housing      status,

disciplinary          history,      and     interactions        with      other

inmates--that are necessary to inform clinical judgment.

The court orders this relief in light of the evidence

that pertinent information about inmates’ statuses has

been    consistently        omitted       from     the    files     to    which

treatment       teams      have     access,      including       information

regarding violent interactions with other inmates and

attempts at self-harm that could have alerted treatment

teams    to     the     suicidality         of    several       inmates       who

eventually killed themselves.                    For treatment teams to

function adequately and prepare comprehensive treatment

plans,       they   must   remain     informed      of     their    patients’

conditions and life circumstances.                       This provision is



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therefore needed to ensure that inmates receive adequate

care.

     To provide ADOC maximum flexibility, however, the

court will not enumerate various types of clinically

relevant documents, as the plaintiffs propose.                 Instead,

the court will leave it to ADOC’s mental-health providers

to   determine    what     documents    are   necessary      to   inform

clinical judgment.         The court trusts that the EMT will

monitor treatment teams’ access to documents, and that

the EMT will alert the court if it becomes apparent that

treatment teams are deprived of pertinent information.



                 c.   PLRA Findings

     The court finds this provision necessary for the

reasons given above:          treatment teams cannot function

effectively      without    access     to   information     concerning

inmates’ past and current conditions, and yet ADOC has

failed to ensure that treatment teams have access to such

information.      Accordingly, the court must order relief.

The provision is also narrowly tailored and minimally

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intrusive because it simply directs ADOC to ensure that

treatment      teams    have   access    to     clinically      relevant

documents, while allowing ADOC’s mental-health providers

the flexibility to determine which particular documents

are needed.



          4.    Nonexistent or Vague Treatment Plans

                 a.    The Parties’ Proposed Provisions

      With respect to the nonexistence of treatment plans

and the lack of detail and individualization in treatment

plans that do exist, the plaintiffs propose that “[e]ach

patient    on    the    mental-health      caseload      must    have      a

treatment plan created within the appropriate timeframe

following his or her addition to the caseload, or more

frequently      if    clinically   appropriate,”        Pls.’   Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 7.3.1;

see also id. at § 7.7.1, and that “each treatment plan

must be individualized to each patient,”                id. at § 7.3.2.

The    plaintiffs       also   propose      a    list     of    specific



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information to be included in each treatment plan.                     See

id. at § 7.3.3–7.3.3.5.

      The     defendants      propose        substantially      similar

provisions.      They would require that each inmate have a

finalized treatment plan within a prescribed timeframe,

see Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215)

at § 7.4.1, and that treatment plans be “individualized

for   each    inmate,”      id.   at    §   7.4.2.    And,     like    the

plaintiffs,     they     propose       specific   information     to   be

included in each treatment plan.               See id.; see also id.

at    §     7.4.2.1–4     (proposing        various   categories        of

information that treatment plans “may” include).



                b.      The Court’s Ordered Relief

      The    court   will    order      that   each   inmate    on     the

mental-health caseload must have a treatment plan that

is adequately detailed and individualized to address his

mental-health needs, based on clinical judgment.                       The

court orders this relief in light of ADOC’s ongoing

failure to provide treatment plans that are sufficiently

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detailed and individualized to facilitate treatment. See

May 26, 2021, R.D. Trial Tr. at 17–18 (testimony of Dr.

Burns, describing letter from ADOC to Wexford indicating

that treatment plans available for inspection “were often

of   poor   quality,    were    left    incomplete,     or   otherwise

lacked necessary documentation”); id. at 155 (reporting

that a recent audit of Fountain Correctional Facility

found that there were only treatment plans for about half

of the charts reviewed).            This was a major violation

identified in the liability opinion, and the court is

seriously concerned that it continues today.

     Just as it will not attempt to enumerate various

types of clinically relevant documents, however, the

court will not attempt to dictate the specific contents

of treatment plans.        Rather, it will leave it to ADOC’s

mental-health providers to determine the information to

be included in each treatment plan.             Individual inmates’

treatment plans may differ in their contents, for, as Dr.

Metzner testified, “the nature of the individualized

treatment plan [and its] comprehensiveness ...                 is going

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to significantly vary [based] on the level of care . . .

assigned.”       June      29,   2021,      R.D.     Trial    Tr.   at   158.

Regardless     of    the     level     of     care     assigned     to    any

particular     inmate,       however,       ADOC      must    ensure     that

treatment     plans        are    thorough         enough      to   provide

comprehensive portraits of inmates’ mental-health needs,

treatment history, and treatment goals.                    The court trusts

that the EMT will monitor the contents of treatment

plans, and that the EMT will alert the court if it appears

that treatment plans continue to lack sufficient detail

to fulfill their intended purpose.

      Similarly, the court does not order, as the parties

propose, that treatment plans be created within certain

timeframes.         The     evidence        does     not     indicate    that

treatment plans are not created promptly when they are

created; rather, it indicates that too often, plans are

not created at all.          The court trusts that in following

its   order   that      each     inmate      have     an     individualized

treatment plan, that ADOC will ensure that treatment

plans are created within a reasonable timeframe, and that

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the EMT will bring the issue to the court’s attention if

it fails to do so.



                 c.     PLRA Findings

    The court finds this provision necessary given ADOC’s

ongoing    failure      to   ensure    that      treatment     plans     are

sufficiently       individualized         and    detailed     so   as     to

facilitate the provision of an informed and consistent

course of treatment.            It is also narrowly tailored and

minimally    intrusive       because      it    does   not   mandate     the

specific contents of treatment plans, nor the timeframe

in which treatment plans must be completed.



            5.    Failure to Update Treatment Plans

                 a.     The Parties’ Proposed Provisions

    With respect to ADOC’s failure to update treatment

plans     when    needed,     the     plaintiffs        propose    several

provisions       that   would    require        ADOC    to   ensure     that

treatment plans are regularly amended to reflect changes

in inmates’ needs and circumstances.                   See Pls.’ Updated

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Proposed Omnibus Remedial Order (Doc. 3342) at § 7.3.1

(proposing that each treatment plan must be “amended and

updated as necessary until the patient is either removed

from the mental health caseload or leaves ADOC custody”);

id. at § 7.3.2 (proposing that “[t]reatment plans must

reflect changes in goals, plans to achieve goals, changes

in mental health status/symptoms, and amended timeframes

to   reach   goals”);       id.     at    §    7.4.2      (proposing       that

“treatment     plans    must      be     reviewed        and    amended,     if

necessary,     contemporaneously              with   a     change     in    the

patient’s mental health code”); id. at § 7.4.3 (proposing

that “treatment plans must be amended contemporaneously

with the treatment team’s decision to pursue involuntary

medication, [the] need for emergency administration of

psychotropic       medications,           or     [the]         decision      to

discontinue all mental health medication”).

     The defendants propose that treatment plans must

reflect   “changes     in    treatment         goals,     ...    changes     in

mental-health      status      or      symptoms,         and    any   revised

timeframes for reaching treatment goals,” Defs.’ Proposed

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Phase 2A Remedial Order (Doc. 3215) at § 7.4.2, and that

treatment plans may include information regarding “any

effect    of   recent     housing       changes       on    the    inmate’s

mental-health      needs,”    id.    at    §   7.4.2.4.           They    also

propose that treatment teams review and revise inmates’

mental-health codes as clinically appropriate.                      See id.

at § 4.3.



                b.    The Court’s Ordered Relief

       In substantial agreement with both parties, the court

will order that treatment teams must review and revise

each     inmate’s      mental-health           code        as     clinically

appropriate, and must review and amend, if necessary,

each    inmate’s     treatment      plan   after       changes       in   the

inmate’s mental-health code, transfer to a new housing

unit, or any other circumstance resulting from or likely

to affect an inmate's mental health in a significant way.

The court orders this relief in light of ADOC’s internal

audits of its own facilities, which reveal that treatment

plans were rarely updated after major events, see Bullock

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RTU and SU Audit Results (P-3260) at 9 (showing 11.39 %

compliance on major event movements); Bullock Outpatient

Audit Results (P-3263) at 10-11 (2.92 % compliance); St.

Clair Audit Results (P-3277) at 7 (7.14 % compliance),

and by Dr. Burns’s testimony to the same effect, see May

26, 2021, R.D. Trial Tr. at 18 (explaining that according

to her review of inmate records, there were “not always

[] treatment plan changes when there’s a significant

event, like removal or placement off watch or discharge

into outpatient from a residential treatment unit”).                   In

the liability opinion, the court noted that it is vital

that treatment plans be regularly updated to address new

developments in an inmate's conditions and circumstances.

A treatment plan is ineffective if it does not address

an inmate's current needs, and "rote repetition" of goals

without acknowledgement of changes that have occurred

presents    a   real   "hazard[]      to   prisoners      with   mental

illness."    Braggs, 257 F. Supp. 3d at 1207.             Because ADOC

has   failed     to    ensure      that     treatment      plans      are

appropriately updated the court must order that it do so.

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                  c.   PLRA Findings

    The court finds this provision necessary for the

reasons given above:         treatment teams continue to produce

plans that do not reflect relevant changes in inmates’

individual circumstances, and therefore cannot fulfill

their intended purpose.         This provision is also narrowly

tailored and minimally intrusive because, for the most

part,   it   leaves     it    entirely    to    treatment     teams    to

determine the circumstances under which treatment plans

must be updated.        While it does require that treatment

plans        be        reviewed         under       two        specific

circumstances--changes in housing and changes in mental-

health codes--it imposes that requirement only because

the evidence demonstrates that treatment planning must

address changes in housing and mental-health codes to be

effective.



        6.   Coordination of Transfers and Treatment



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                a.    The Parties’ Proposed Provisions

    With respect to ADOC’s failure to coordinate the

transfer of prisoners among facilities with prisoners’

treatment planning, the plaintiffs propose the following

provisions:

  • “In order to ensure continuity of care, the patient’s
    mental health code and condition must be considered
    in making determinations concerning transfer.” Pls.’
    Updated Proposed Omnibus Remedial Order (Doc. 3342)
    at § 7.5.1.

  • “Decisions regarding transfer of outpatient patients
    (MH Code B and C) will not occur without consultation
    with the treatment team.     The treatment team must
    weigh the reason for the transfer against concerns
    about continuity of care. Patients with an SMI flag
    my only be transferred upon approval of the patient’s
    treatment team. The transfer of patients in the RTU
    or SU will be permitted to accommodate a patient’s
    change in level of care occasioned by an improvement
    or deterioration in mental health condition.” Id.
    at § 7.5.2.

  • “In the event of a transfer of a patient on the
    mental health caseload, there must be a transfer note
    written by the patient’s MHP at the transferring
    facility to the patient’s new MHP at the receiving
    facility.    This transfer note will include a
    discussion   of    the   patient’s   mental    health
    background, current needs, and the next steps for
    treatment the transferring facility would have taken
    if not for the transfer.      The transfer not for
    patients coded MH-D must be sent to the receiving
    facility prior to the patient’s transfer.         The
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      transfer note for patients coded MH-B or MH-C must
      occur within five (5) business days of the patient’s
      transfer.” Id. at § 7.5.3.

  • “The transfer note must be on the Mental Health
    Transfer Form.     The purpose of the Mental Health
    Transfer Form is to eliminate, as much as possible,
    disruption in the patient’s care. The Mental Health
    Transfer Form must include, at a minimum, the
    following   information:    (1)   Any   individualized
    treatment or compliance strategies that have been
    successful;    (2)    Individualized    treatment    or
    compliance strategies that have been unsuccessful;
    (3) Clinically relevant information about the
    patient’s background, such as prior history of abuse,
    family history, or difficulties in the course of
    treatment   or   compliance;    and   (4)   Any   other
    information which may assist a new mental health
    provider in gaining insight and rapport with the
    patient.” Id. at § 7.5.3.1.

  • This transfer note requirement does not apply to
    patients being moved within the same ADOC facility
    or from one ADOC facility’s holding cell to another
    ADOC facility’s crisis cell. However, if a patient
    is transferred while on suicide watch, then
    mental-health staff at the sending facility must
    communicate   with   mental-health  staff   at   the
    receiving facility consistent with the transfer note
    requirements. Id. at § 7.5.3.2.

The    defendants       propose         no   provision       regarding

coordination     of    prisoners’       transfers    with    treatment

planning.




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                    b.    The Court’s Ordered Relief

       The court will order, as the plaintiffs propose, that

ADOC    must    consider      inmates’    mental-health            codes   and

symptoms in making decisions concerning transfer between

facilities.         The court orders this provision in light of

the evidence that transfer between facilities can be

particularly destabilizing for inmates on the caseload,

see Braggs, 257 F. Supp. 3d at 1241 n.67, and that such

transfers are excessively frequent and disorganized, see

May 25, 2021, R.D. Trial Tr. at 36, 39–40, 53 (testimony

of   Dr.   Burns,        describing     frequent      transfers      for    no

apparent       or    documented    reason).           While    the     court

recognizes that transfers are vital to the functioning

of a prison system--and in some cases even mandated by

other provisions of this remedial order--ADOC's current

approach demonstrates insufficient consideration of the

effect     transfers       may   have    on    mentally      ill    inmates.

Accordingly,        the    court   must       order   ADOC    to    consider

inmates’ mental-health codes and conditions when making

determinations concerning transfers, so as to ensure that

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mental-health treatment is effective and not needlessly

disrupted.

    The court will also largely adopt the plaintiffs’

third proposed provision, and order that in the event of

a transfer of an inmate on the mental-health caseload,

the staff member in charge of the inmate’s care at the

transferring facility must send a transfer note to the

staff member in charge of the inmate’s care at the

receiving facility within a reasonable time after the

transfer is initiated.10        The court orders this provision

in light of the evidence that mentally ill inmates are

frequently transferred between facilities with no notice,


    10. Because the court orders that transfer notes must
be written and sent only in the event that an inmate is
transferred from one facility to another, it finds the
plaintiffs’ proposal that the “transfer note requirement
does not apply to patients being moved within the same
ADOC facility” to be unnecessary.     The court does not
limit its order, however, to exclude transfers from one
ADOC facility’s holding cell to another ADOC facility’s
crisis cell, as the plaintiffs suggest. For the reasons
given above, it is essential that pertinent information
regarding an inmate’s mental health follow him or her
from facility to facility, regardless of what type of
cell he or she is in. The staff in charge of the inmate
must be aware of the inmate’s needs and vulnerabilities,
particularly if the inmate is suicidal.
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or insufficient notice, given to the receiving facilities

about the inmates’ diagnoses and treatment.                As a result,

these inmates do not receive continuous care and they

decompensate,     sometimes       to    disastrous    effect.       When

Jaquel Alexander was transferred between facilities, for

instance, his transfer form incorrectly indicated that

he had no SMI designation, and the staff member who

completed Alexander’s risk assessment after his transfer,

who indicated no familiarity with his prior risk factors,

identified him as a “low” risk of harm to self. Alexander

Psychological Autopsy, (P-3298) at 6.                 Days later, he

killed himself.       Id.    Similarly, when inmate TM was sent

to the RTU after setting himself on fire and threatening

to do so again, there was “no transfer note indicating

why” or explaining what kind of treatment he needed.                  May

25, 2021, R.D. Trial Tr. at 52–53.               Thus, while it may

be true, as Dr. Metzner testified, that the providers at

the receiving facility are supposed to review an inmate's

file   upon    his   or     her   transfer     and   ask    clarifying

questions of his or her previous providers, see June 30,

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2021, R.D. Trial Tr. at 23–24, that procedure has proven

either inadequate or unfollowed.              Because ADOC has failed

to ensure that pertinent information about mentally ill

inmates follows them from facility to facility, the court

must order that transfer notes be written and sent.

       The court will not order, as the plaintiffs propose,

that the treatment team be involved in all discussions

concerning transfers or that it have veto power over

transfers.        Such    a   provision        has    not   yet   proven

necessary; so long as ADOC follows the court’s order and

ensures that inmates’ mental-health codes and conditions

are factored into decisions about transfers, the court

sees no reason to require that any particular entity make

those decisions.         However, the court notes that such

additional relief may be necessary if the EMT determines

that ADOC is continuing to transfer inmates in ways that

harm their mental health.

       The court also declines to order that transfer notes

include any particular information. Rather, the court

will    leave   the   decision     as    to    what    information     to

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include,    which    will   no   doubt     vary    according     to   the

individual needs of each inmate, to the clinical judgment

of ADOC’s mental-health providers.                 Nor will it order

that transfer notes be written on Mental Health Transfer

Forms.     The evidence does not demonstrate that such

relief is necessary at this time, and the court trusts

that ADOC will be able to determine itself the manner in

which transfer notes must be prepared.                 Again, however,

if the EMT finds, after a period of monitoring, that

transfer     notes     continue       to    contain       insufficient

information, the court may choose to revisit the issue

and order additional relief.



                c.    PLRA Findings

    The      court      finds      that      its       first     ordered

provision--that         ADOC       must       consider         inmates’

mental-health codes and symptoms in making decisions

concerning    transfers      between      facilities--is       necessary

for the reasons given above:                inmates are currently

transferred     between      facilities      in    a    frequent      and

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haphazard fashion, despite the court’s previous finding

that such transfers can be detrimental to mental-health

treatment.     This provision is also narrowly tailored and

minimally intrusive because it merely mandates that ADOC

consider certain factors, but does not control ADOC’s

ultimate decisions regarding transfers.

    The      court        finds     that    its         second     ordered

provision--that in the event of a transfer of an inmate

on the mental-health caseload, the staff member in charge

of the inmate’s care at the transferring facility must

send a transfer note to the staff member in charge of the

inmate’s     care    at    the     receiving    facility         within    a

reasonable    time    after       the   transfer    is     initiated--is

necessary because, as described above, ADOC has failed

to ensure that pertinent information about mentally-ill

inmates follows them from facility to facility, resulting

in decompensation and death.               This provision, too, is

narrowly tailored and minimally intrusive because it asks

no more of ADOC than what is necessary to ensure that

inmates    receive    continuous        care.      It    does    not,     for

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instance, require ADOC to prepare and send the transfer

notes within any particular timeframe, so long as it does

so    within      a    reasonable        time   after    the   decision    to

transfer the inmate. And it does not require the transfer

notes to include any particular information.



     7.    Other Provisions Regarding Treatment Teams and

                                     Planning

       Besides        for    the    provisions    discussed     above,    the

plaintiffs propose several other provisions that the

court      does   not       adopt    because     there    is   insufficient

evidence that they are currently necessary.

       The first is elemental: the plaintiffs propose a

provision requiring each inmate on the mental-health

caseload to have a designated treatment team.                     See Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 7.1.1.       Neither party’s experts, however, identified

any inmates on the caseload without a treatment team.

       Second, the plaintiffs propose that the makeup of

each      treatment         team    be   determined      according   to   the

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inmate’s    assigned       mental-health        code    and   appropriate

level of psychotherapy, see id. at § 7.1.2, and that,

“[w]henever possible, all members of the treatment team

must attend each team meeting, either in person or via

videoconferencing,” id. at § 7.1.2.               The record does not

indicate,    however,       that   relevant       personnel        are   not

assigned    to   treatment     teams,      or    that    treatment-team

members fail to attend meetings.                To the contrary, ADOC

has created new forms for treatment-team meetings that

reinforce    its    policies       on    who    should     attend    those

meetings and appear to have been largely successful in

ensuring that relevant staff are included.                     Also, Dr.

Burns's review of treatment-team records indicated that

most meetings are attended by all relevant staff members.

    The     court     is     concerned,         however,      by    ADOC’s

contention, at oral argument, that it may be appropriate

for the treatment-team coordinator to speak with team

members separately instead of convening a meeting. See

July 7, 2021, R.D. Trial Tr. at 261.                   While conditions

may sometimes prevent the team from meeting or require a

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decision before a full meeting can be assembled, this

should not be common practice. Indeed, as the court found

in   the    liability      opinion,      failing      to     have      full

treatment-team meetings “creates a risk of different

providers having an inconsistent approach or course of

treatment    for   the    same   patient     because       some   of    the

treatment team are unaware that a new treatment plan has

been put into effect.” Braggs, 257 F. Supp. 3d at 1207.

Once again, the court is confident that the EMT will

carefully monitor the performance of treatment teams and

will alert the court if further action appears necessary.

     Third, the plaintiffs propose that inmates must be

allowed to attend treatment-team meetings barring certain

exceptions.     See Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 7.2.5.                 The record does not

indicate,    however,     that    inmates     are   currently       being

excluded       from      their       treatment-team           meetings,

particularly if they want to attend.

     Fourth, the plaintiffs propose that “in the event

the psychiatrist or CRNP (if applicable), the patient’s

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MHP, or the patient is unable to attend a treatment team

meeting, the meeting must be postponed and rescheduled

for the next business day on which the prescriber, the

patient’s MHP, and the patient are available.”                 Id. at §

7.2.7.    As explained above, however, the record does not

show that either inmates or staff members are absent from

meetings.

    Fifth, the plaintiffs propose that “[e]ach treatment

team must be organized and chaired by the patient’s

assigned MHP or psychiatrist.”             Id. at § 7.1.3.         While

the court remains concerned about ensuring that treatment

plans are individualized and carefully compiled, there

is no evidence that the identity of the chair of the

meeting   has    any   bearing     on   whether    that    outcome     is

achieved.

    Sixth, the plaintiffs propose that “[r]ecords of each

treatment team meeting must be kept in the respective

patient’s mental-health record and must consist of the

following: (1) The date of the treatment team meeting;

(2) The attendees of the treatment team meeting; (3)

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Notes about each treatment team meeting; and (4) Any

changes to the patient’s treatment plan as a result of

the treatment team meeting.”                  Id. at § 7.2.8.              There is

insufficient          evidence,         however,        that        ADOC    is     not

currently       keeping      adequate      records        of    treatment-team

meetings.

       Seventh, the plaintiffs propose that, “[i]f a member

of a patient’s treatment team, other than correctional

staff, provides or is provided fourteen (14) days or more

notice        of     voluntary          resignation            or     involuntary

termination,         then    the    employee        must,       to    the    extent

possible,          prepare    transfer        notes       on    Mental       Health

Transfer Form for any patients under their care.” Id. at

§    7.6.1.         While    it    is    true      that   the       departure       of

mental-health staff can be just as disruptive to an

inmate’s      mental-health         care      as    a   transfer,          there    is

insufficient evidence to suggest that staff departures

are currently disrupting care.                     Also, as the defendants

note, progress notes should already be written after

every encounter, and in the event of a staff member’s

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departure they should equip the replacement provider with

enough information to continue the inmate’s treatment

without unnecessary disruption.

       Eighth, and finally, the plaintiffs propose that

“[v]acancies       in   treatment    team    members    due   to   staff

turnover, must be filled on the earlier of: a) thirty

(30) days, or b) at least 24 hours before the date and

time    of   the    next   regularly      scheduled    treatment    team

meeting for that patient.” Id. at § 7.6.2.                    Without a

doubt, ADOC should make every effort to fill vacant

positions      as       soon   as    possible.        However,     while

mental-health understaffing in general has an impact on

the provision of care, there is no evidence that suggests

that vacancies on treatment teams are persisting for

excessive lengths of time or interrupting care.

       Although it declines to adopt the above provisions,

the court trusts that the EMT will be cognizant of the

problems that they are meant to address, and will monitor

ADOC’s performance accordingly.



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               I.     Psychiatric and Therapeutic Care

       The provision of psychiatric and therapeutic care is

one of the areas of liability in which ADOC has made the

least progress since the court’s 2017 liability opinion.

As described previously, ADOC’s provision of such care

is deficient in at least four respects.                 First, inmates

have insufficient access to treatment.               They often do not

receive the treatment they are prescribed, and even when

they     do    receive     some   treatment,        group    therapeutic

sessions are not sufficiently accessible and individual

therapeutic sessions are not held frequently enough, or

long enough, to be effective.           Second, inmates housed in

ADOC’s inpatient units receive insufficient out-of-cell

time.    Confined to their cells for extended periods, they

decompensate and their social skills atrophy, thereby

undermining the efficacy of any treatment they receive.

Third, inmates not on the mental-health caseload who

report    or    display     symptoms    are   not    given    access   to

treatment.          Fourth, progress notes are often incomplete,

inconsistent, or nonexistent, making it more difficult

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for treatment teams to monitor inmates’ progress, and

preventing counselors from building on progress made in

previous sessions.



                      1.     Access to Treatment

                a.     The Parties’ Proposed Provisions

    With respect to ADOC’s general failure to provide

inmates   with       psychiatric      and   therapeutic     care,     the

plaintiffs propose minimum frequencies with which each

inmate must meet with psychiatrists, CRNPs, counselors,

and mental-health nurses.              See Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 8.1.3.

    In    addition      to    these    minimum   requirements,        the

plaintiffs propose that each inmate, including inmates

in restrictive housing, must have access to the treatment

prescribed by his or her treatment team.                   See id. at

§§ 8.1.2, 8.1.5.           To that end, the plaintiffs propose

that each outpatient mental-health facility must offer

psychoeducational          groups,     individual    therapy,      group

psychotherapy, and pharmacotherapy, see id. at § 8.1.9.1;

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that each SU, RTU, and SLU must offer those types of

treatment in addition to activity therapy, see id. at §

8.1.9.2; and that “group psychotherapy must be offered

on   topics    such    as   medication        management,    cognitive

retraining, stress management, social skills, and anger

management in sufficient quantity to accommodate the

treatment services prescribed for the population of each

facility,” id. at § 8.1.9.3.          The plaintiffs also propose

that, “[i]f an intervention or program that is set forth

in the treatment plan is not offered in the facility in

which the patient is housed, either the patient will be

moved   to    allow   the    patient     to    participate     in   that

intervention, or the intervention will be offered in the

facility where the patient is housed,” provided that “no

patient in need of residential care may be moved to a

facility     not   offering    residential       care.”      Id.    at     §

8.1.10.

     The defendants contend that, in general, no relief

is warranted with respect to the provision of psychiatric

and therapeutic care.         In support of this position, they

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point to the fact that ADOC has hired more mental-health

staff since the court’s liability opinion, see Defs.’

Post-Trial Br (Doc. 3367) at 93; that it has hired

qualified staff, see id. at 94; and that Dr. Burns, “in

reviewing records and instances of care in advance of the

PLR hearing, observed instances of ‘good’ mental-health

care,” id. at 94-95, and evidence of inmates routinely

receiving counseling sessions, see id. at 94.

       Alternatively, the defendants propose that the court

“approve[] [a] mental-health treatment guidance--a term

of art in the medial and mental-health communities for a

document aimed at guiding decisions and strategies in a

particular       practice   area--[]      for    the    provision      of

mental-health treatment to inmates in ADOC custody.”

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at §

8.1.      ADOC   includes    a   model    mental-health      treatment

guidance in its proposed order that suggests certain

types and quantities of care for inmates depending on

whether they are housed in an SU, RTU, SLU, or whether

they are outpatients.        See id. at § 8.4.         It emphasizes,

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however, that “[t]he type, time, frequency, and location

of any admission, appointment, assessment, discharge,

evaluation,       length     of    stay,     and     psychotherapy        or

treatment for an inmate by a qualified mental-health

professional or treatment team should be determined by

clinical judgment based on the needs of the inmate.” See

id. at § 8.3.2.



                  b.     The Court’s Ordered Relief

      The court will order that each inmate must receive a

certain minimal level of treatment according to his or

her   treatment        category    (e.g.,     SU,     RTU,      etc.)    and

mental-health code.          To that end, the court will adopt

the    defendants’         proposed       mental-health          treatment

guidance, set forth in Appendix A, establishing minimum

frequencies       with    which    inmates    must       meet    with   RNs,

psychologists, counselors, psychiatrists, and CRNPs. The

court will also order that treatment sessions must last

for   an   adequate       period    of    time,     to    be    determined

according    to    the     clinical      judgment    of    the    inmate’s

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mental-health provider; that, in addition to the minimal

levels       of      treatment         described       above,       each

inmate--including         those   in    restrictive     housing--must

receive any additional care prescribed by his or her

treatment team; and that each housing unit must offer

appropriate types and numbers of treatment groups.                     To

the    requirement     that    each     inmate   must    receive      any

additional care prescribed by his or her treatment team,

the court will add one caveat: while ADOC must provide

inmates in restrictive housing with any medication or

individual therapy prescribed by their treatment team,

it need not provide inmates in segregation with other

forms of care if they cannot be provided safely in the

restrictive housing environment.

      The court rejects the defendants’ proposal to do

nothing because, while ADOC has made encouraging progress

in    its   hiring   of    mental-health      staff,    the    evidence

demonstrates that it is still failing to ensure that

inmates have access to the care they need.               Although Dr.

Burns testified that, in her review of ADOC’s records,

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she observed at least one instance of good mental-health

care, see June 7, 2021, R.D. Trial Tr. at 105, she did

not testify, as the defendants suggest, that most--or

even a substantial number--of inmates who were identified

as needing counseling routinely received it.               Rather, she

testified    that     “there     were    progress      notes    labeled

counseling sessions” in some inmates’ records, but that

“some of them were really very brief interactions, a

matter of moments,” id. at 109, and that many inmates who

were prescribed psychotherapy did not receive it at all,

see May 25, 2021, R.D. Trial Tr. at 82, 87, 90, 192.

ADOC itself has also recognized its inadequate provision

of treatment; in a February 2020 letter to Wexford, it

reported that its own audit of its mental heal units

“indicate[d] a pattern of failure of Mental Health staff

to meet with their patients at required intervals and to

conduct group therapies on a routine bases.” P-3322 at 2.

    The court orders that each inmate must receive a

certain minimal level of treatment, according to the

guidance proposed by the defendants, because the evidence

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indicates that across ADOC facilities inmates are, in the

words of Dr. Burns, “falling through the cracks.”                   June

3, 2021, R.D. Trial Tr. at 106–107 (testimony of Dr.

Burns).      This provision ensures that even if an inmate

does not have a treatment plan (perhaps because the

inmate has only recently been placed on the mental-health

caseload), or has a treatment plan that does not specify

the exact frequency with which the inmate must receive

counseling, he will receive enough care to protect him

from bodily injury or death.            It also ensures that ADOC

is able to provide care in a predictable and consistent

fashion, thereby further reducing the risk that inmates

are inadvertently deprived of life-saving treatment.                   As

Dr. Metzner explained, “guardrails”--i.e., set treatment

frequencies--are necessary to provide the mental-health

staff   in    each   unit    “a   clear    expectation      of   what’s

required of them … [and] how to prioritize their time,”

and to allow ADOC to effectively create staffing plans.

June 2, 2021, R.D. Trial Tr. at 173-174; see also June

23, 2021 R.D. Trial Tr. at 130-31.                At the same time,

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this provision does not deprive treatment teams of their

discretion to set the level of care that each inmate

receives.      Should a treatment team determine that an

inmate needs less care than what his or her treatment

category requires under the guidance, the treatment team

need only adjust the inmate’s mental-health code, or

recommend     that   the   inmate        be   moved     to      a    different

treatment category, to reduce his or her level of care.

      The court orders that treatment sessions must last

for   an    adequate     period    of     time,    to      be       determined

according     to   the   clinical       judgment      of     the      inmate’s

mental-health          provider,         because        the           evidence

demonstrates that, when inmates do receive counseling

sessions, many of them are extremely short, lasting only

a few minutes.       Experts for both sides agreed that such

truncated meetings prevent the effective provision of

care.      See May 25, 2021, R.D. Trial Tr. at 135-36; July

1, 2021, R.D. Trial Tr. at 168.                Because this pattern

persisted throughout the sessions reviewed in the omnibus

remedial hearing, and because ADOC shows no signs of

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being able or willing to correct it, the court must order

this relief to ensure that sessions last long enough to

provide substantive treatment.

    Finally, the court orders that each inmate must

receive any additional care prescribed by his or her

treatment team in light of the evidence that numerous

inmates,     including        several      who      eventually    killed

themselves, were not receiving some or all of the care

ordered     by    their   treatment        teams.       The    court     is

particularly concerned by evidence that, across different

facilities and units, inmates continue to be deprived of

access to group therapeutic treatment.                  Accordingly, it

specifies       that   ADOC   must    ensure     that   it    offers    the

different types of treatment groups that the treatment

teams    deem    necessary,     and    that    it    offers    them    with

sufficient frequency so that all inmates who need them

can attend.

    It     is     especially     important          that     inmates     in

restrictive housing receive the care prescribed by their

treatment teams because, as Dr. Metzner testified, the

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effects   of    isolation      make     the    need   for    continuous

therapeutic treatment all the more urgent.                  See July 2,

2021 R.D. Trial Tr. at 10.            At the same time, however,

the court credits Dr. Metzner’s testimony that it may be

impossible to provide inmates in restrictive housing with

certain kinds of care, like group therapy or extended

periods of exercise time.             See id. at 12-13; June 30,

2021 R.D. Trial Tr. at 18.              The court will therefore

order   that   ADOC    must   provide     inmates     in    restrictive

housing    with      any   medication     or    individual      therapy

prescribed by their treatment team, but that it need not

provide other forms of care prescribed by an inmate’s

treatment team if those kinds of care cannot be provided

safely in the restrictive housing environment.                  That is

not to imply, however, that ADOC may reflexively deny

care to inmates in restrictive housing; rather, ADOC must

provide the care prescribed by each inmate’s treatment

team to the fullest extent possible.



                c.    PLRA Findings

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       The court finds this provision necessary given ADOC’s

failure to provide psychiatric and therapeutic care in a

timely manner (or, in some cases, at all); to provide

counseling that last long enough to be effective; and to

provide group therapeutic sessions.               The court also finds

this provision to be narrowly tailored and minimally

intrusive.         While the court requires ADOC to provide

inmates with certain minimal levels of care, it does not

infringe      on    the   discretion         of   treatment   teams    to

prescribe treatment--if an inmate’s treatment team wishes

to decrease his or her level of care, it can do so by

altering the inmate’s mental-health code or recommending

that    the   inmate      be   moved    to    a   different   treatment

location.          And,   while   the    court     requires   treatment

sessions to last for an adequate amount of time, it leaves

the question of exactly how long each session should last

to the inmate’s mental-health provider.                 Finally, while

the court orders that ADOC must provide inmates with the

care prescribed by their treatment team, it does not

dictate the manner in which ADOC does so, and it orders

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no more care than what each inmate’s treatment team

determines to be necessary.



               2.     Insufficient Out-Of-Cell Time

                 a.     The Parties’ Proposed Provisions

    To remedy ADOC’s failure to ensure that inmates

housed    in     its    inpatient        units    receive      sufficient

out-of-cell time, the plaintiffs propose that inmates in

the SU, SLU, and RTU Level One and Two must receive 10

hours of structured, therapeutic out-of-cell time and 10

hours of unstructured out-of-cell time per week, unless

clinically contraindicated; and that inmates in the RTU

Level    Three      must    receive      10    hours   of     structured,

therapeutic out-of-cell time and 10 hours of unstructured

out-of-cell      time      per   week,    or     the   same    amount   of

unstructured out-of-cell time as other inmates of the

same security level who are not mentally ill, whichever

is greater.      See Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at §§ 8.3.1, 8.3.2.                   The plaintiffs

would make an exception to this requirement for inmates

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in the RTU Level Three who are housed in open dormitories

rather than cells, and therefore cannot receive in-cell

treatment.       See   id.     at    § 8.3.2.      Those    inmates,   the

plaintiffs propose, must receive the same amount of time

outside their dormitory as inmates of the same security

level who are not mentally ill.                 See id.    The plaintiffs

would also require that, for inmates arriving in the SLU,

the provision of unstructured out-of-cell time must begin

immediately. See id. at § 8.3.1.

    The    defendants        propose       no     required    amount    of

out-of-cell     time    of     any     type,      but     their   proposed

mental-health treatment guidance suggests that inmates

in the SU and inmates in the RTU and SLU who are confined

to a celled environment for more than 22.5 hours per day

should receive 10 hours of structured and 10 hours of

unstructured out-of-cell time per week, unless clinically

contraindicated.       See Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at § 8.4.

    Both     sides     agree    that       an    inmate’s     out-of-cell

appointments with his or her treatment team, psychiatric

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provider, counselor, or a therapeutic group will count

towards       the          applicable         structured,       therapeutic

out-of-cell         time.       See    id.;    Pls.’    Updated    Proposed

Omnibus Remedial Order (Doc. 3342) at § 8.3.3.



                    b.     The Court’s Ordered Relief

       The court will order that inmates in the RTU, SU,

and SLU must have 10 hours of structured, therapeutic

out-of-cell time and 10 hours of unstructured out-of-cell

time    per     week,         unless    clinically      contraindicated.

Inmates in the RTU Level Three who are housed in open

dormitories rather than cells, however, need not receive

10    hours   of     unstructured       out-of-cell      time     per   week.

Also, as both sides agree, an inmate’s appointments with

his    or     her        treatment     team,     psychiatric      provider,

counselor,      or        a   therapeutic       group    will     count    as

structured, therapeutic out-of-cell time.

       The court orders this provision in light of ADOC’s

continued failure to provide inmates in the RTU, SU, and

SLU with either structured or unstructured out-of-cell

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time.    As Dr. Burns testified, and as the court has

previously recognized, inmates in the RTU, SU, and SLU

must receive both kinds of out-of-cell time if those

units are to fulfill their intended therapeutic purposes.

Structured     out-of-cell        time     provides     inmates      with

necessary    support      in   managing    their    symptoms,      and     a

respite from idleness.          See Braggs, 257 F. Supp. 3d at

1214-15;     May    25,   2021,     R.D.    Trial     Tr.    at    84-85.

Unstructured       out-of-cell     time    alleviates       the   intense

pressure and stress that a highly regimented, celled

environment can impose on mentally-ill inmates.                   See id.

And both provide inmates the opportunity to practice

socializing.        See id.       Without sufficient amounts of

either type of time, inmates in the RTU, SU, and SLU are

warehoused rather than treated, and face an unacceptable

risk of decompensation.           See Braggs, 257 F. Supp. 3d at

1214.   The court therefore finds that it must order some

relief, and it is convinced by Dr. Burns’s testimony that

10 hours of each type of out-of-cell time is the minimum

amount necessary--a recommendation bolstered by ADOC’s

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mental-health treatment guidance, as well as the evidence

presented     at     the     liability      hearing       (by    ADOC’s

mental-health expert, Dr. Patterson) that 10 hours of

each type of out-of-cell time is standard practice in

prisons throughout the country, see Braggs, 257 F. Supp.

3d at 1215.

    The court recognizes that Dr. Metzner did not agree

with the recommendations of Dr. Burns, Dr. Patterson, and

ADOC’s mental-health treatment guidance.                 He testified

that inmates in the SLU should not be required to receive

10 hours of structured out-of-cell time because the SLU

is an outpatient, rather than inpatient, facility, see

June 30, 2021, R.D. Trial Tr. at 48, and that inmates in

the SU should not be required to receive 10 hours of

structured out-of-cell time because they are seldom in

the SU long enough to benefit significantly from such

treatment, and because they are often experiencing acute

mental-health crises, and therefore may be unable to

participate safely in structured group activities, see



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June 29, 2021, R.D. Trial Tr. at 163; June 30, 2021, R.D.

Trial Tr. at 60-61.

       While the court takes these concerns seriously, it

does not find them convincing.           As to Dr. Metzner’s first

concern, while the SLU is not an inpatient unit, the

court finds that it should nevertheless be included in

this provision. If inmates in the SLU were to receive

only    minimal    out-of-cell       time,    there     would    be    no

practical distinction between the SLU and restrictive

housing, despite the fact that the SLU is designed to be

a diversionary space for the treatment of inmates with

mental-illnesses.        As to Dr. Metzner’s second concern,

the court agrees that 10 hours of structured out-of-cell

time may be inappropriate for some inmates in the SU.                  In

light of the other experts’ testimony that 10 hours is

generally the minimum amount of structured out-of-cell

time necessary for the effective treatment of inmates in

the SU, however, it finds that the best way to address

the problem by allowing ADOC to provide less than 10



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hours of structured out-of-cell time if 10 hours is

clinically contraindicated.

    The court does not order that inmates arriving in

the SLU must be provided with unstructured out-of-cell

time immediately, as the plaintiffs propose, because

there is no evidence that, when ADOC does provide inmates

with unstructured out-of-cell time, it provides it too

late. Nor does it order that inmates in the RTU Level

Three   must     receive   the     same   amount      of   unstructured

out-of-cell time as other inmates of the same security

level who are not mentally ill, if that amount is greater

than 10 hours; or that inmates in the RTU Level Three who

are housed in open dormitories must receive the same

amount of time outside their dormitory as other inmates

of the same security level who are not mentally ill.                  The

evidence       indicates    that    10    hours     of     unstructured

out-of-cell time is necessary for effective treatment,

but not more, and there is no evidence that inmates must

receive    a    particular     amount     of   time      outside   their



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dormitories.      The court therefore cannot conclude that

such relief is warranted.



                c.    PLRA Findings

    The court finds this provision necessary for the

reasons given above:         despite its finding that "ADOC's

mental-health units often fail to serve their therapeutic

purpose due to insufficient out-of-cell time and scarce

programming for their patients," see Braggs, 257 F. Supp.

3d at 1213-14, ADOC has done nothing to ensure that

inmates in the RTU, SU, and SLU receive the out-of-cell

time they need.        In light of this failure, the court

finds that it must order ADOC to provide inmates with

some amount of structured and unstructured out-of-cell

time, and it defers to the view of the majority of the

experts that 10 hours of structured out-of-cell time and

10 hours of unstructured out-of-cell time is the minimum

amount necessary to protect inmates from decompensation,

self-harm, and suicide.         This provision is also narrowly

tailored and minimally intrusive, because although it

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makes 10 hours of structured out-of-cell time and 10

hours      of    unstructured       out-of-cell      time    the     default

requirement, it allows ADOC to provide less out-of-cell

time      to    inmates    on   a    case-by-case     basis,       based   on

clinical        judgement.      Also,       ADOC’s   own    Mental    Health

guidance proposes that inmates in the RTU, SU, and SLU

receive 10 hours of structured out-of-cell time and 10

hours      of     unstructured        out-of-cell        time--a      strong

indication that the provision is not overly intrusive.



     3.    Monitoring of Inmates Not on the Mental-Health

                                    Caseload

                   a.     The Parties’ Proposed Provisions

       With respect to ADOC’s failure to provide treatment

to inmates not on the mental-health caseload who report

or     display     symptoms,        the     plaintiffs      propose    that

“[p]atients who are not on the mental health caseload

must be seen by mental health staff (either ADOC staff

or vendor staff) in the event of a mental health crisis,

after receipt of a mental health referral, or for follow

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up, as clinically indicated.”              Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 8.1.1.                        The

defendants propose no corresponding provision.



                 b.   The Court’s Ordered Relief

     The court will order, as the plaintiffs propose, that

inmates who are not on the mental-health caseload must

be   seen   by   mental-health       staff    in    the     event    of    a

mental-health crisis or after receipt of a mental-health

referral, as clinically indicated.            The court orders this

relief in light of Dr. Burns’s testimony that ADOC has

persistently      failed      to    respond        to     requests    for

mental-health care by inmates in the general population,

see May 25, 2021, R.D. Trial Tr., and the evidence that

several of the recent suicides in ADOC facilities were

by inmates in the general population who had exhibited

warning     signs      but     received      no         attention    from

mental-health staff.




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                c.     PLRA Findings

    The court finds this provision necessary because

deterioration is a risk for all inmates, and because

there   are     undoubtedly       inmates      in    ADOC’s      general

population who should be on the mental-health caseload

but were missed at intake.            ADOC must therefore ensure

that inmates in the general population have access to

care when they need it.         This provision is also narrowly

tailored and minimally intrusive.            It simply orders ADOC

to respond to inmates’ demonstrated mental-health needs,

but does not require it to follow any particular process

or provide any particular care.



                4.     Inadequate Progress Notes

                a.     The Parties’ Proposed Provisions

    With respect to ADOC’s failure to provide adequate

progress      notes,     the    parties      propose      that     after

“significant clinical encounters,” progress notes must

be created and placed in inmates’ mental-health record.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

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3342)    at    §§     8.4.1,   8.4.2;     Defs.’    Proposed     Phase    2A

Remedial Order (Doc. 3215) at § 8.2.1.

     The      parties      agree   that   a    clinical    encounter      is

significant, and therefore requires a progress note, if

it   consists         of   a   “communication       or    interaction      …

involving        an    exchange    of     information     used    in     the

treatment of the inmate, excluding any causal exchanges,

administrative communications, or other communications

which do not relate to the patient’s mental condition or

the ongoing mental health treatment.”                 See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 1.29;

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at §

1.33.

     They disagree, however, as to whether the encounter

must be between an inmate and a qualified mental-health

professional--i.e., a mental-health professional who is

qualified to provide therapy, counseling, or psychiatric

services--to count as significant.                 The plaintiffs would

define     the      term   “significant       clinical    encounter”      to

include encounters between inmates and any mental-health

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staff, qualified mental-health professional or not. See

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 1.29.     In their view, if a nurse interacts with an

inmate   while    conducting      routine     charting     duties     and

receives information implicating the inmate’s treatment,

that information should be recorded.                 The defendants,

wary that the plaintiffs’ approach would result in a

deluge of unnecessary progress notes and disrupt the

provision of care, would define the term to include only

encounters between inmates and mental-health staff who

are qualified mental-health professionals.                  See Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at § 1.33.

    Both sides also propose that the progress note must

be written in one of two specified formats, and that it

include several specific pieces of information, including

the name and signature of its author.              See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at §§ 8.4.3,

8.4.4; Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215) at § 8.2.2.       The plaintiffs propose, additionally,

that “[t]he note must be sufficiently detailed so that a

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treating mental health provider would be able to continue

treatment using the information provided in the note,”

see Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at § 8.4.5, and that it address one or more problems

identified in the inmate’s treatment plan, see id. at §

8.5.



                b.    The Court’s Ordered Relief

       The court will adopt the defendants’ definition of

significant clinical encounter, and will order, as the

defendants propose, that for each significant clinical

encounter between an inmate and a qualified mental-health

professional, a progress note must be created and placed

in the inmate’s mental-health record.             It will also order

that the note must be sufficiently detailed to facilitate

treatment and ensure continuity of care.

       The court orders ADOC to create progress notes and

file them in inmates’ medical records because ADOC has

persistently failed to do so, despite the fact that

documentation of inmates’ care and symptoms is essential

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for treatment planning, which, in turn, is essential for

the   effective     provision       of    care.      It    adopts     the

defendants’ definition of significant clinical encounter

because it anticipates that progress notes documenting

interactions between inmates and qualified mental-health

professionals, who both treat inmates and monitor their

symptoms, will provide a sufficient bases for treatment

planning.     Although inmates might occasionally provide

information about their symptoms to mental-health staff

members      who     are      not        qualified        mental-health

professionals, the plaintiffs have presented no evidence

that they do so frequently, or that, when they do so, the

information is not relayed to a qualified mental-health

professional.       (Should the EMT discover such evidence,

the court trusts that it will bring it to its attention.)

      The court declines to order that progress notes be

written in a particular format or contain particular

information.       Such a provision has not yet been proven

necessary; so long as ADOC ensures that progress notes

are sufficiently detailed so as to fulfill their intended

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purpose,      the      court    need    not    dictate       their    precise

contents.     The court trusts that the EMT will monitor the

contents of progress notes, and that the EMT will alert

the court if ADOC continues to pre-write progress notes,

or to produce progress notes that are so inaccurate and

incomplete as to stymie the effective provision of care.



                  c.     PLRA Findings

       The court finds these provisions necessary for the

reasons given above:            thorough documentation of inmates’

care    and    symptoms         is   essential       for     the    effective

provision of care, and yet ADOC has failed to provide it.

To remedy that failure, the court must order that ADOC

create progress notes that document inmates’ care and

symptoms, that the notes contain a minimal level of

detail,     and     that       the   notes    be     filed     in    inmates’

mental-health       records,         where    they   can     be     found   and

utilized.      These provisions are also narrowly tailored

and minimally intrusive.               They do not require ADOC to

document encounters between inmates and all mental-health

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staff, but only encounters between inmates and qualified

mental-health      professionals,         and    they     allow     ADOC

flexibility to determine the exact information contained

in each progress note.



     5.    Other Provisions Regarding Psychiatric and

                         Therapeutic Care

    The plaintiffs also propose additional provisions

that the court declines to adopt.                 These include the

following:

  • The relative timing of appointments with the
    psychiatric provider and the counselor must be
    determined by clinical judgment based on the needs
    of the inmate, see Pls.’ Updated Proposed Omnibus
    Remedial Order (Doc. 3342) at § 8.1.4;

  • Placement in a restrictive housing unit must not be
    a basis for denying or delaying the inmate’s access
    to the interventions prescribed in his or her
    treatment plan or for deferring prescription of such
    interventions until after the inmate is released from
    the restrictive housing unit, see id. at § 8.1.5;

  • Mental-health treatment services must be tailored to
    adequately meet the clinical needs of each inmate
    considering the functional level, readiness for
    treatment,   insight  into   mental   illness,   and
    motivation for treatment, see id. at § 8.1.6;


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  • Treatment for inmates on suicide watch must consider
    and factor in the dynamic risk factors identified in
    the suicide risk assessment, along with any other
    relevant clinical factors, see id. at § 8.1.7;

  • A psychiatric provider treating an inmate via
    telepsychiatry must be provided clinically relevant
    documents, as defined in this document, in advance
    of the telepsychiatry session, see id. at § 8.1.8;

  • Placement of any inmate in the RTU or SU must be
    based on clinical judgment.     Inmates assigned to
    restrictive housing who are not in need of RTU or SU
    level care are prohibited from being placed in the
    RTU or SU, see id. at § 8.2.1;

  • Determinations regarding admissions to the RTU, SU,
    and SLU, lengths of stay, and discharge must accord
    with certain restrictions, see id. at §§ 8.2.2,
    12.4.1; and

  • Initial mental-health assessments must be conducted
    according to certain timeframes, see id. at § 8.2.3.

    The court declines to adopt the provisions regarding

the provision of treatment to inmates in restrictive

housing    units   (§    8.1.5),    tailoring      of     mental-health

services (§ 8.1.6), and treatment for inmates on suicide

watch     (§   8.1.7),    because        the   problems    that    these

provisions are meant to address are dealt with in the

sections of the court’s omnibus remedial order concerning


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treatment planning, psychiatric and therapeutic care, and

suicide prevention.

     The court declines to adopt the remaining provisions

because the evidence does not show them to be necessary.

There is no indication that counselors and psychiatrists

are not coordinating their care (§ 8.1.4); that providers

of   telepsychiatry       are    not    currently      provided      with

clinically relevant documents (§ 8.1.8); that inmates are

currently    being    placed    in     the   RTU,   SU,   or   SLU    for

disciplinary, rather than clinical, reasons11 (§§ 8.2.1,

12.4.1),      or     otherwise         admitted      inappropriately

(§§ 8.2.2, 12.4.1); that ADOC is failing to promptly

assess inmates upon their arrival in treatment unit (§

8.2.3); or that inmates are being kept in the RTU or SU




    11. In its liability opinion, the court found that
ADOC routinely placed inmates without mental-health needs
in its residential treatment units instead of placing
them in restrictive housing. See Braggs, 257 F. Supp.
3d at 1212-13. According to Dr. Burns, ADOC has ceased
this practice. See June 23, 2021, R.D. Trial Tr. at 170.
The court commends it for doing so.

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for   inappropriate       periods   of   time,    or    discharged      to

inappropriate locations (§ 8.2.2).12



                     J.    Suicide Prevention

      Suicide prevention is one of the areas in which

failures to provide constitutionally adequate care and

protection inflict the most drastic and visible harm on

inmates with serious mental-health needs.                     Under the

court’s order requiring compliance with the parties’

interim suicide prevention agreement (Doc. 2560-1), ADOC

has made important progress in this area.                    ADOC’s more

consistent use of constant observation and close watch

represents    a   critical     improvement       in    its   system    for

immediate     suicide       prevention.           Likewise,       ADOC’s

development       and     implementation         of     suicide       risk

assessments is an important step to identify inmates

whose risk of self-harm requires intervention.




    12. Under the relief ordered today, inmates with
serious mental illnesses may not be discharged from the
RTU or SU into a restrictive housing unit absent an
exceptional circumstance.
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       Where ADOC’s system remains grievously inadequate is

in the provision of care outside the relatively narrow

windows of constant observation or close watch.                Inmates’

serious mental-health needs do not materialize and vanish

with their placement on suicide watch and subsequent

discharge.        Neither should their mental-health care.

Suicide    risk    assessments,     discharge      evaluations,       and

follow-up examinations are vital steps to ensure that

inmates who have been placed on suicide watch are not

then haphazardly (or worse, as a matter of course) thrown

into     circumstances       that      neglect     their     continued

mental-health issues.          And, when clinically indicated,

referrals to higher levels of care and placements on the

mental-health      caseload      are    necessary      to   facilitate

treatment that is commensurate with the seriousness of

inmates’ needs.        ADOC’s deficiencies in each of these

processes inflict needless suffering on inmates with

serious mental-health needs and effectively gamble that

those who have demonstrated risk factors for suicidal

behavior will not decompensate or attempt suicide or

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other   self-injurious        behavior      during      gaps    between

episodes of crisis treatment.



        1.   Immediate Response to Suicide Attempts

                a.     The Parties’ Proposed Provisions

    Both parties propose similar provisions that, if

staff observe an inmate who is attempting suicide or who

is unresponsive after apparently attempting or completing

suicide,     the      staff    must      “immediately       call      for

assistance.”         Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 9.1.1; Defs.’ Proposed Phase 2A

Remedial Order (Doc. 3215) at §§ 9.6.2.1, 9.6.2.2.                   They

additionally       propose    that      staff    must    “immediately

respond” to an observed suicide threat or attempt “with

efforts to interrupt the behavior or attempt.”                 Id.    The

plaintiffs clarify these provisions with the proposed

requirement that “[i]mmediate life-saving measures” must

begin “as soon as there are two (2) correctional officers

present and must continue until either paramedics arrive

and assume care, or a physician declares such measures

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are no longer necessary.”                 Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 9.1.2.                       The defendants’

proposal sets the same endpoint for the performance of

life-saving measures but would leave discretion for staff

to start performing these measures “as soon as it is

deemed safe by correctional staff to do so (typically,

when    at        least     two     (2)     correctional      officers     are

present).”         Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215) at § 9.6.2.3.

       To    facilitate          immediate       responses    to    attempted

hangings, the most commonly attempted suicide method in

the evidence before the court, see June 7, 2021, R.D.

Trial       Tr.    at     143,     both    parties    propose      provisions

requiring         the     maintenance       of   cut-down     tools,   bladed

instruments         that     can    cut     down   individuals      who   have

attempted to hang themselves and that are designed to be

“safe but effective” in correctional facilities.                       May 28,

R.D. Trial Tr. at 121 (testimony of Mr. Vail).                             The

plaintiffs propose the requirement that a cut-down tool

be maintained in each housing unit of each ADOC major

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facility, see Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 9.1.3, whereas the defendants

would limit this requirement to each restrictive housing

unit, stabilization unit, residential treatment unit,

structured living unit, and crisis unit of each ADOC

major facility, see Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at § 9.6.2.4.

    The     plaintiffs       also     propose      that,     “[u]nless

medically contraindicated, and when ADOC staff may safely

proceed, after intervention during a suicide attempt, the

prisoner must be moved to the medical or healthcare unit

at the ADOC major facility for access to appropriate

medical equipment and privacy.”             Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 9.1.4.                      They

further propose that, “[i]f a prisoner dies as [a] result

of a suicide, his or her body must be moved to a private

area outside of any occupied housing unit and outside the

view of other prisoners as soon as possible.”                    Id. at

§ 9.1.5.



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                  b.    The Court’s Ordered Relief

       In   substantial      agreement       with     both       parties’

proposals, the court will order that, if staff observe

an     inmate     who   is   attempting      suicide        or   who     is

unresponsive after apparently attempting or completing

suicide, the staff must immediately call for assistance,

and, if staff observe a suicide threat or attempt, the

staff must immediately respond with efforts to interrupt

the behavior or attempt.              The most recent suicides at

ADOC    facilities      reflect   systemwide      failures       to    take

necessary steps in the first minutes after discovering

suicide attempts—minutes that are crucial to life-saving

efforts.        When Laramie Avery was discovered hanging in

his cell, there was a 12-minute delay before CPR was

initiated.       See Incident Report (P-3299) at ADOC0504208.

When a nurse and a correctional officer discovered Jamal

Jackson     hanging     during    a   pill   call,    the    nurse      was

dismissed from the scene before being called back three

minutes later, contributing to a 12-minute delay before

Jackson was even cut down.            See Pls.’ Ex. 3274.         In both

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instances, correctional staff delayed cutting down the

individual in order to take pictures.               See May 24, 2021,

R.D. Trial Tr. at 49; Pls.’ Ex. 3274.                    And when ADOC

staff cut down Gary Campbell, nursing staff subsequently

arrived to find that the officers had not removed the

ligature from his neck or initiated CPR.                      See Gary

Campbell Psychological Autopsy (P-3292) at ADOC0546324.

ADOC’s failures in this regard are too widespread and

longstanding to be dismissed as failures by individual

staff,    rather   than     a   systemic     problem.       See,   e.g.,

Braggs,    383   F.    Supp.    3d    at   1231    (in   January   2019,

correctional officers waited minutes for medical staff

to arrive before removing the noose from around Daniel

Gentry’s neck and initiating CPR); id. at 1233-34 (in

January    2019,      11   minutes    passed      between   when   staff

discovered Roderick Abrams hanging in his cell and when

staff cut him down); id. at 1238 (in March 2018, ADOC

staff waited more than 30 minutes to cut down Robert

Martinez after he was found hanging).



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    With respect to the initiation and performance of

life-saving measures, the court will order compliance

with the defendants’ proposed provision with a minor

alteration.        While      every        moment    of     delay     carries

monumental     significance        in      responding       to   a    suicide

attempt, the court recognizes that it cannot predict all

immediate safety risks that could require delay even

after two correctional officers are present.                         With the

understanding     that     the    EMT      will     intently     scrutinize

ADOC’s   responses       to    any      suicide      attempts        and     its

justifications for any delays due to immediate safety

risks,   the     court     will      adopt     ADOC’s       language        that

life-saving measures must begin as soon as possible,

typically, rather than always, once two correctional

officers are present.            With respect to the duration of

life-saving measures, Mr. Vail observed that specifically

requiring      “paramedics”       to    assume       care    may      not     be

appropriate in all instances.               May 28, 2021, R.D. Trial

Tr. at 118.     With that in mind, the court substitutes the

less restrictive term “paramedics or other appropriate

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medical personnel” in its adoption of the defendants’

proposed provision.

       The   court    will    also    order    that     each   ADOC   major

facility must maintain an appropriate cut-down tool in

each    restrictive      housing       unit,      stabilization       unit,

residential treatment unit, structured living unit, and

crisis unit.     Because the risk of suicide is most serious

for inmates in these units, the court will limit relief

to these units.        Although the evidence does not indicate

whether facilities currently lack cut-down tools, Dr.

Burns and Mr. Vail both testified that maintenance of

these tools is vital to saving the lives of inmates who

attempt suicide by hanging.            May 28, 2021, R.D. Trial Tr.

at 121-22; June 4, 2021, R.D. Trial Tr. at 68-69.                       Due

to the special importance of this issue and the fact that

ADOC    is    still     struggling         with   the     procedure     for

interrupting suicides in progress, it is necessary to

require ADOC to maintain these tools.                    That said, the

evidence     suggests        that    ADOC’s    compliance      with    this

provision should be a straightforward process.                  The court

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expects that monitoring this will be a minimal burden if

ADOC maintains these tools where they are needed.

       The   court   will    adopt      a    modified     version     of    the

plaintiffs’ proposal regarding the movement of inmates

after suicide attempts.            The court will order that, when

continued medical care is necessary, an inmate who has

attempted     suicide       must   be       moved   to    the     medical    or

healthcare unit for continued medical care as soon as

ADOC    staff   may     safely     move       them,      unless    medically

contraindicated.           Dr. Burns testified that inmates in

need of continued care should be moved to the infirmary,

where there is greater access to medical equipment.                         See

June 4, 2021, R.D. Trial Tr. at 69.                 However, Dr. Metzner

noted that not all suicide attempts may require medical

interventions.       See June 30, 2021, R.D. Trial Tr. at 151.

In   light    of     his    testimony,        the   court       narrows     the

plaintiffs’ proposed provision to tailor relief to the

circumstances in which this measure is needed, when an

inmate requires such care.



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     The   court     will      adopt    the   plaintiffs’      proposed

provision that, if an inmate dies as a result of a

suicide, his or her body must be moved to a private area

outside of any occupied housing unit and outside the view

of other inmates as soon as possible.              Tommy McConathy’s

body remained in his cell within the stabilization unit

for nearly five hours after he was pronounced dead.                   See

May 24, 2021, R.D. Trial Tr. at 169; Incident Report

(P-3308) at ADOC546330.          This was “long enough that the

rest of the institution knew that he was there, dead in

his cell, and that he was being taken out by the coroner’s

office.”    June 22, 2021, R.D. Trial Tr. at 79 (testimony

of   Dr.   Burns).       Dr.    Burns    credibly     testified     that

allowing a deceased inmate’s body to remain longer than

necessary in the same unit with inmates who may have

known that individual risks “traumatizing” those other

inmates.    June 4, 2021, R.D. Trial Tr. at 70.              Requiring

the body to be moved to a more private area as soon as

possible is necessary to mitigate this risk of inflicting



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needless psychological harm and potentially prompting

other suicidal behavior.



                c.    PLRA Findings

    In     addition    to     constant   and   close    watch,     quick

intervention in suicide attempts is one of the most

critically needed procedures to prevent suicides. Relief

is necessary to correct ADOC’s unjustifiable delays in

performing      potentially        life-saving         actions      with

appropriate     urgency.        Although    Dr.    Burns    identified

several      attempted         interventions        that       appeared

appropriate based on the available documentation, see

June 7, 2021, R.D. Trial Tr. at 188-89; June 8, 2021,

R.D. Trial Tr. at 159, this is not something that ADOC

can afford to get right only some of the time, let alone

with ADOC’s current level of inconsistency.

    The relief that the court orders is necessary and

narrowly    tailored     to    correct    persistent       problems    in

ADOC’s immediate responses to suicide attempts.                       The

ordered provisions narrowly address procedures in which

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the evidence reflects persistent delays: cutting down

prisoners     who        have   attempted        suicide    by     hanging,

initiating life-saving measures such as CPR, and moving

prisoners     or        their   bodies     to    locations       that   will

facilitate medical care as needed and greater privacy.

These provisions are the least intrusive means that can

protect the life and safety of prisoners with serious

mental-health needs when they or prisoners around them

attempt suicide or other serious self-injurious behavior.



                    2.     Suicide Watch Placement



                   a.    The Parties’ Proposed Provisions

    In order to evaluate the needs of inmates who are

placed   on   suicide       watch,    both      parties    propose      that,

following     an    inmate’s      initial       placement    on    constant

observation, the inmate must be evaluated using a suicide

risk assessment to determine whether the individual is

acutely suicidal, nonacutely suicidal, or not suicidal.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

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3342) at § 9.2.3; Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 9.1.3.2.            The plaintiffs further propose

the requirement that inmates admitted to suicide watch

must be considered for placement on the mental-health

caseload and that, if they are not placed on the caseload,

their medical chart must document the clinical rationale

for     that   determination.          See    Pls.’   Updated       Proposed

Omnibus Remedial Order (Doc. 3342) at § 9.2.1.

       With respect to the procedure for placing inmates on

suicide watch, both parties propose the restriction that

a    suicidal     inmate     must   not      (or   should    not,    in   the

defendants’ proposed provision) be handcuffed before such

placement, unless the inmate’s security level requires

it or the inmate is engaged in “serious disruptive and

dangerous activity” that requires the use of mechanical

restraints.          Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 9.2.4; Defs.’ Proposed Phase 2A

Remedial Order (Doc. 3215) at § 9.1.3.1.                    The plaintiffs

propose the additional requirement that, “[b]efore a

prisoner is placed on suicide watch, a nurse must examine

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the prisoner and complete a body chart.”                Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 9.2.2.



                b.     The Court’s Ordered Relief

       In agreement with the parties’ proposals, the court

will order that after each inmate’s initial placement on

constant observation, he or she must be evaluated using

a suicide risk assessment.              These assessments are a

critical component of a functional system for suicide

prevention.     As Dr. Burns explained, they are necessary

to place an inmate on a level of watch corresponding to

his or her level of risk.          See June 3, 2021, R.D. Trial

Tr. at 201.          Dr. Metzner emphasized that it is “too

dangerous”     not    to   complete     these   assessments       or   to

conduct them poorly.          July 1, 2021, R.D. Trial Tr. at

158.

       Yet   ADOC’s    completion       of    these     suicide     risk

assessments is inconsistent, even in the face of a court

order    requiring     compliance.        Completed     suicide     risk

assessments were not found in the mental-health records

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of Jaquel Alexander for all 11 of his placements on

suicide watch. See May 24, 2021, R.D. Trial Tr. at 69-71;

Jaquel     Alexander    Psychological        Autopsy        (P-3298)   at

ADOC0539039.      Travis Jackson was not placed on suicide

watch and did not receive a suicide risk assessment after

he set his cell on fire.            See May 24, 2021, R.D. Trial

Tr. at 137; Travis Jackson Mental-Health Records (P-3314)

at   ADOC0547155;      Travis    Jackson    Psychological        Autopsy

(P-3315) at ADOC0547208.            The same was true for inmate

T.M. after he set himself on fire.                See May 25, 2021,

R.D. Trial Tr. at 52, 54.            Coupled with the failure to

place inmates on constant observation prior to completion

of   the    assessment,       the     problem     of    inconsistent,

incomplete, or delayed suicide risk assessments permits

inmates     to   be     placed      and    remain      in     clinically

inappropriate environments.           In the absence of a suicide

risk assessment after he set his cell on fire, Jackson

was placed in segregation several days later, where he

committed suicide the next month.            See May 24, 2021, R.D.

Trial Tr. at 144-46.             And when Alexander verbalized

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suicidal ideation and mental-health staff decided to

assess him the following morning, he was returned to his

cell without any precautions, and he committed suicide

hours later.       See id. at 65-67.         In light of the expert

testimony and the harms that have resulted from delays

and   failures     in    this     process,      the   court      finds   it

necessary    to    order      the    completion       of   suicide     risk

assessments       to    address     ADOC’s      failures    to    provide

adequate protection to inmates with serious mental-health

needs.

      The court will also adopt the plaintiffs’ proposed

provision requiring that inmates admitted to suicide

watch    must     be     considered       for     placement       on     the

mental-health caseload and that, if he or she is not

placed on the caseload, the clinical rationale must be

documented in his or her medical chart.                     Just as the

court    found    in    the   suicide     prevention       opinion,      see

Braggs, 383 F. Supp. 3d at 1281, ADOC persists in its

failure to consider suicidal inmates for placement on the

mental-health caseload.             Dr. Burns highlighted multiple

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inmates      who    were    not     placed    on    the    caseload,   even

temporarily, after multiple placements on suicide watch.

Marquell Underwood was placed on acute suicide watch

twice   in    the    6     months    before    he    committed   suicide,

without      any    indication       that     he    was   considered   for

placement on the mental-health caseload.                      See May 24,

2021, R.D. Trial Tr. at 57.                  Travis Jackson was never

placed on the caseload despite multiple suicide watch

placements and the attempt to set fire to his cell.                     See

June 2, 2021, R.D. Trial Tr. at 126-27.                   Jaquel Alexander

was not added to the caseload until his fifth or sixth

placement on suicide watch.             See May 24, 2021, R.D. Trial

Tr. at 68.         Dr. Burns credibly testified that requiring

the documented consideration of suicidal inmates for

placement on the mental-health caseload is necessary to

minimize the risk that inmates’ serious mental-health

needs will be neglected, despite potentially repeated

mental-health crises.             See June 3, 2021, R.D. Trial Tr.

at 197-98.



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       The court will order compliance with the plaintiffs’

proposal that, before an inmate is placed on suicide

watch, a nurse must examine the inmate and complete a

body chart.       This examination is necessary to identify

and address the immediate medical needs, as well as the

mental-health      needs,    of   an     inmate    who   is   placed    on

suicide watch.          As Dr. Burns testified, inmates placed

on suicide watch may be experiencing a number of medical

issues    that    require     attention,        including      overdose,

substance use, or injuries from self-harm.                    See id. at

199.     Completion of a body chart is necessary both to

treat    any     such    issues    and     to     identify     them    for

consideration in the inmate’s mental-health care. Absent

a body chart, the evidence reflects that these issues

sometimes go undocumented for prisoners placed on suicide

watch.     For instance, Dr. Burns testified that a body

chart completed the day after Danny Tucker was released

from nonacute suicide watch identified a wrist laceration

that had required 10 staples, which was not reflected in

any prior mental-health records.            See May 24, 2021, R.D.

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Trial Tr. at 193-94.                 Because it is dangerous not to

complete these body charts consistently, the court finds

that relief is necessary.

       The court will not order compliance with the parties’

proposed provisions limiting the handcuffing of inmates

prior    to    placement        on    suicide      watch.        While     it    is

important to avoid punishing mentally ill inmates for

accurately       reporting           their    suicidality,         which        may

discourage       them        from    seeking       appropriate      care        and

protection, see June 3, 2021, R.D. Trial Tr. at 202

(testimony of Dr. Burns), the evidence presented to the

court does not indicate what ADOC’s current practice is

or   whether     it     is    harming      inmates       with    mental-health

needs.



                  c.        PLRA Findings

       The    ordered       relief    is     necessary      to    ensure    that

inmates       expressing       suicidality         are    safely    placed       on

suicide watch, that the level of monitoring and treatment

they    receive        is    sufficient       to    meet    their     risk       of

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self-harm, and that they are considered for more regular

mental-health      care      to   address   the   risk    of    recurrent

self-harmful behaviors. This relief is narrowly tailored

and minimally intrusive to correct ADOC’s failures to

address adequately inmates’ immediate suicidality and

underlying mental-health needs.



                       3.    Suicide Watch Cells

                  a.   The Parties’ Proposed Provisions

       With respect to the physical condition of suicide

watch cells, the plaintiffs propose the requirement that

ADOC must make all suicide watch cells suicide-resistant.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at § 9.7.1.           They propose the same requirement for

cells in stabilization units.             See id. at § 10.4.        Under

their proposal, the EMT would have the discretion to

determine whether cells are suicide-resistant, but cells

that    satisfy    the      conditions    specified      in    Lindsay   M.

Hayes’s Checklist for the “Suicide-Resistant” Design of

Correctional Facilities (Doc. 3206-5) would necessarily

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meet this requirement.        See id. at § 9.7.1.         They further

propose that ADOC must physically inspect all suicide

watch cells on a quarterly basis to ensure that they

remain suicide-resistant, see id. at § 9.7.3, and that,

between inmate admissions, ADOC must clean and inspect

these cells to eliminate biohazards and confirm that no

contraband     is   present,      see    id.    at   § 9.7.5.         The

defendants propose no provisions regarding the condition

and maintenance of suicide watch cells.

       To ensure the availability of a sufficient number of

suicide watch cells, the plaintiffs propose that ADOC

must       determine       the       appropriate         number        of

suicide-resistant cells for each ADOC major facility and

submit its numbers to the EMT for approval.                 See id. at

§ 9.7.2.    To accommodate the possibility that more cells

will be needed than are available, the plaintiffs propose

that “ADOC may designate areas or cells where a prisoner

could be temporarily placed when a suicide watch cell is

unavailable, provided that the prisoner is on ‘constant

observation,’ regardless of level of watch.”                     Id. at

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§ 9.7.4.      The defendants similarly propose that ADOC may

designate areas or cells for this temporary placement

when a suicide watch cell is unavailable, except that

constant observation would only be required for acutely

suicidal inmates and close watch would be required for

non-acutely suicidal inmates.             See Defs.’ Proposed Phase

2A Remedial Order (Doc. 3215) at § 9.1.2.



                b.     The Court’s Ordered Relief

     The court will order that all suicide watch and

stabilization unit cells must be suicide-resistant.                    As

explained in the court’s discussion of ADOC’s chronic

understaffing,        this     will      require    that    ADOC     must

physically inspect these cells for suicide-resistance

prior    to   each    use    and   conduct   a     more   comprehensive

inspection every three months to ensure that the cells

remain     suicide-resistant.             Cells     shall   be     deemed

suicide-resistant if they meet the requirements set forth

in   Lindsay     M.    Hayes’s     Checklist       for    the    “Suicide



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Resistant”     Design     of    Correctional         Facilities      (Doc.

3206-5).

      It is effectively axiomatic that suicide watch and

stabilization      unit    cells      must    be     suicide-resistant.

Suicide watch cells house individuals who are acutely or

non-acutely suicidal.          Stabilization units are designed

to    house    “patients       who    are     suffering      from     acute

mental-health problems,” including “conditions causing

an acute risk of self-harm,” and who “have not been

stabilized through other interventions.”                 Braggs, 257 F.

Supp. 3d at 1183.       The failure to ensure that these cells

are suicide-resistant poses a grave danger to individuals

who   are     experiencing      suicidality        or   other       serious

mental-health issues.

      In the absence of any proposal by ADOC to define what

it means for cells to be suicide-resistant, the court

finds that compliance with the conditions contained in

the checklist developed by Lindsay M. Hayes (Doc. 3206-5)

is    sufficient        for     a      cell     to      be    considered

suicide-resistant.            This   checklist       provides   for    the

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elimination      of    tie-off     points   and    other    structural

elements that facilitate suicide attempts, as well as the

maintenance of adequate visibility into the cell to allow

monitoring.      The parties previously agreed to the use of

this    set    of     conditions    to   ensure     that    cells     are

suicide-resistant.         See Suicide Prevention Stipulations

(Doc. 2606-1) at 6 (providing that “[s]uicide watch cells

shall be considered suicide resistant if they meet the

requirements set forth in section III(B) of the ADA

Report”); ADA Transition Plan for Programs and Services

Provided to Inmates (Doc. 2635-1) at 41 (“All crisis

cells ... are to comply with the checklist developed by

Lindsay M. Hayes.”).

       The    death   of   Tommy    McConathy     makes    clear    that

suicide-resistance is not a one-time task.              Roughly seven

months after ADOC certified that it had “effectively

retrofitted all [stabilization unit] cells to ensure

suicide resistance,” Resp. to Phase 2A Order on Inpatient

Treatment (Doc. 2880) at 4, McConathy hanged himself from

the ventilation grate above the sink in his stabilization

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unit cell, see May 24, 2021, R.D. Trial Tr. at 153-54.

Although Dr. Metzner testified, based on information

reported to him by an ADOC official, that the grate had

been suicide-resistant but for the fact that it was

broken, creating a tie-off point, he could not say how

long the grate was broken prior to McConathy’s death.

See July 1, 2021, R.D. Trial Tr. at 2-4.                       Even if

McConathy broke the grate himself, it is deeply troubling

that ADOC could place him in a cell that was required to

be   suicide-resistant       without    affirmative      confirmation

that there were no existing tie-off points.                  Moreover,

even if prior inspection of the cell might not have

prevented his death, it could have provided ADOC with

crucial information about what happened and helped it to

take remedial measures that would appropriately address

the problem in the future.

     With this evidence in mind, the court credits Dr.

Burns’s    testimony       that     quarterly      inspections        are

necessary to ensure that suicide watch and stabilization

unit cells remain suicide-resistant over time and that

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changes    that     jeopardize      the    safety    of   the    cell    are

addressed.       See June 4, 2021, R.D. Trial Tr. at 78-79.

But the court also agrees with Mr. Vail:                  “[E]very time”

an occupant is changed out, an inspection prior to the

next placement is the only way “to make sure that the

last    person    didn’t     somehow      compromise      that   cell”    by

creating a tie-off point or introducing another potential

hazard.       May     28,    2021,     R.D.    Trial      Tr.    at     131.

Independently,       neither     inspection         is    sufficient      to

correct the systemic problem that ADOC and this court

must confront:       At least with ADOC’s continued severity

of     understaffing,        preplacement         inspections         cannot

feasibly    occur     with    the    necessary      completeness,        and

quarterly inspections inherently do not occur with the

necessary frequency.

       Due to the nature of these inspections, the court

will order that the quarterly inspections, but not the

preplacement         inspections,          must      be      documented.

Documentation of quarterly inspections, beyond verifying

that the inspections occur, will enable ADOC and the EMT

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to track the hazards that are detected—hazards which, the

court expects, may be less readily apparent than those

that can be identified immediately prior to a placement.

    With respect to preplacement inspections, the court

will further order that, before placing an inmate in a

stabilization unit or suicide watch cell, ADOC must clean

the cell and remove any contraband.              During the omnibus

remedial proceedings, the court heard evidence of inmates

in suicide watch cells who had access to contraband with

which they could harm themselves.            After cutting his arm

and receiving sutures for the laceration, inmate M.H. was

able to use a razor blade to reopen the wound while on

acute suicide watch.         See May 25, 2021, R.D. Trial Tr.

at 43-44.      Similarly, inmate M.W. cut himself with a

razor blade that he brought into his crisis cell when he

was placed on nonacute suicide watch.              See May 25, 2021,

R.D. Trial Tr. at 38.           Dr. Burns also testified that

multiple inmates informed her that they had been placed

in crisis cells that contained the bodily fluids of

previous inhabitants.        See June 22, 2021, R.D. Trial Tr.

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at 90.     This evidence reflects the need for ADOC to

ensure that suicide watch and stabilization unit cells

do not contain contraband with which an individual could

engage in self-injurious behavior or unclean conditions

that    are   dangerous    or   could      otherwise   cause    adverse

clinical consequences for an occupant’s mental health.

       The court will not order relief with respect to the

quantity of suicide-resistant cells in each ADOC major

facility.      While it is necessary for suicide-resistant

cells to be available at every ADOC major facility, see

June 4, 2021, R.D. Trial Tr. at 77-78 (testimony of Dr.

Burns), current evidence does not reflect the “chronic

shortage of crisis cells” that the court found in the

liability opinion, Braggs, 257 F. Supp. 3d at 1222.                    As

with the issue of inspections, the court is open to

revisiting     this    area     if     ADOC   stops    having    enough

suicide-resistant cells to accommodate the need for them

or if the monitoring team finds that prisoners are not

being placed in safe suicide watch cells when they need



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to be.      But the evidence before the court does not

necessitate relief at this time.

     The    court    will    adopt      the   plaintiffs’      proposal

allowing ADOC to designate areas or cells where an inmate

could be temporarily placed when a suicide watch cell is

unavailable, provided that the inmate remains on constant

observation during this time.             For the most part, this

provision     is     permissive      rather    than     constraining.

Consistent with both parties’ proposals, the provision

preserves ADOC’s discretion in the temporary placement

of   an     inmate      awaiting      the     availability        of       a

suicide-resistant cell.           Where the parties disagree is

whether inmates who are not acutely suicidal may be left

in these areas on only close watch, rather than constant

observation.       For many of the same reasons that constant

observation is necessary to protect inmates awaiting

responses to emergent referrals, the court agrees with

the plaintiffs that constant observation is necessary

here as well.       Even the temporary placement of a suicidal

inmate in an environment that is not suicide-resistant

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is “quite dangerous.”         Braggs, 257 F. Supp. 2d at 1225.

Until    the   inmate   can    be    placed   in    a   cell   that    is

suicide-resistant, constant observation is essential to

protect the inmate’s safety in the event that he or she

decompensates or his or her mental-health needs prove

more serious than initially assessed.               See June 4, 2021,

R.D. Trial Tr. at 79-80 (testimony of Dr. Burns).



                c.    PLRA Findings

       Suicide watch cells and stabilization unit cells

house inmates when they are particularly vulnerable and

in need of heightened protection.                The relief that the

court orders is necessary to protect the safety of these

inmates when they are suicidal or otherwise at a serious

risk of self-harm.          Before an inmate is placed in a

suicide watch or stabilization unit cell, ADOC must be

able to state confidently that the cell is, and remains,

safe    and    suicide-resistant.          The     court   finds    that

comprehensive quarterly inspections, coupled with visual

preplacement inspections, are necessary to ensure that

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suicide      watch     and     stabilization        unit     cells           are

suicide-resistant when they need to be.                    And, because

potential hazards to an inmate’s safety and mental health

extend beyond the physical features of the cell itself

to    also   its      contents,       including     the    presence           of

contraband      or     unsanitary          conditions,     preplacement

cleaning and removal of contraband is necessary as well.

The   provisions       that    the    court    adopts      are    narrowly

tailored to correct ADOC’s failures to protect inmates

against this range of dangers, from decompensation and

self-harm through suicide attempts and death.                           These

provisions     are     the    least    intrusive     means       that    will

sufficiently address these dire needs.

      When    an     inmate     is     awaiting     placement           in     a

suicide-resistant            cell,     constant      observation              is

necessary     to     protect    against      the   same    dangers       that

suicide-resistant cells are meant to protect against.

Requiring constant observation is narrowly tailored to

protect the inmate’s safety until structural safeguards

may permit a lower degree of monitoring as appropriate.

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This requirement is the least intrusive means that will

suffice to keep inmates who may be experiencing varying

levels of suicidality safe in a space that has not been

specifically designed to be suicide-resistant.



                            4.    Observation

                a.     The Parties’ Proposed Provisions

     Both parties propose that any inmate determined to

be acutely suicidal must be monitored through a “constant

observation”     procedure,        see    Pls.’     Updated     Proposed

Omnibus Remedial Order (Doc. 3342) at § 1.3 (defining

“acutely suicidal”); Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at § 9.1.4.1, and that any inmate

determined to be nonacutely suicidal must be monitored

through a “close watch” procedure that ensures monitoring

at staggered intervals not to exceed 15 minutes, see

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at   § 1.20     (defining        “nonacutely      suicidal”);     Defs.’

Proposed      Phase    2A    Remedial     Order     (Doc.     3215)    at

§ 9.1.4.2.        In    addition     to    these     provisions,      the

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defendants specify that mental-health observation “will

not be used as an alternate placement for inmates who

should be placed on suicide watch.”                  Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at § 9.1.1.

    Both parties propose that constant observation and

close   watch    must    be   contemporaneously        documented      at

staggered intervals not to exceed 15 minutes and that,

upon an inmate’s discharge from suicide watch, these

observation records must be included in the inmate’s

medical    record.      See    Pls.’    Updated    Proposed     Omnibus

Remedial Order (Doc. 3342) at § 9.3.1; Defs.’ Proposed

Phase     2A    Remedial      Order     (Doc.     3215)    at    § 9.2.

Additionally, the defendants’ proposal provides for the

creation of a “post-suicide watch summary” based on these

records.       See Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 9.2.

    Both parties also propose that the mental-health

staff must ensure the routine oversight of observers.

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at § 9.3.2; Defs.’ Proposed Phase 2A Remedial Order

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(Doc.    3215)   at   § 9.1.4.3.         The    plaintiffs’    proposal

further      specifies     that   the    mental-health     staff    must

evaluate the equipment that is available to observers to

ensure that appropriate observation can occur.                See Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 9.3.2.



                 b.   The Court’s Ordered Relief

       The court will order that acutely suicidal inmates

must    be    monitored     through      constant   observation       and

non-acutely suicidal inmates must be monitored through

close watch at staggered intervals not to exceed 15

minutes.       Observation is the last line of defense to

protect inmates in crisis from attempting suicide or

serious self-harm.         Unequivocally, failure at this stage

can be a matter of life or death.               Consequently, as Dr.

Metzner       testified,     it   is     “too    risky”     for    these

observation procedures not to happen “100 percent of the

time.”       June 29, 2021, R.D. Trial Tr. at 142; see also

July 2, 2021, R.D. Trial Tr. at 134-35.

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       Evidence presented at the omnibus remedial hearings

reflects    that     ADOC        has    made    improvements         to   the

consistency     of    its       observation     practices.        Internal

audits of multiple facilities reflected positive changes

in the area of “suicide watch monitoring,” and the court

received     numerous       observation         logs     that    reflected

observations on close watch at appropriately staggered

intervals, see June 8, 2021, R.D. Trial Tr. at 90-92

(testimony of Dr. Burns).              Even so, it remains necessary

for the court to order compliance with these provisions

to address the failures that do occur and to prevent

reversion of ADOC’s relatively recent progress.                       ADOC’s

progress in the area of observation is relatively recent,

and,    applying     the    compliance         measure   of     ADOC’s    own

expert, it remains incomplete.                 Moreover, according to

Wexford, the improvements that have been made in this

area have required it to divert resources away from the

routine    treatment       of    inmates      with    less   acute    needs,

“disrupt[ing]        all    routine          mental    health     caseload

activities.”       Pls.’ Ex. 3323 at 3 (emphasis omitted).

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While this tradeoff may be necessary in the short-term

to avert some of the most severe harms, it surely does

not reflect that ADOC has “completely and irrevocably

eradicated” the constitutional violation of failing to

protect suicidal prisoners.             Thomas v. Bryant, 614 F.3d

1288, 1321 (11th Cir. 2010) (quoting LaMarca v. Turner,

995 F.2d 1526, 1542 (11th Cir. 1993)).                 In light of the

need for ADOC reliably to apply constant observation and

close watch procedures and the risk that ADOC’s progress

will not be sustained in the absence of a court order,

the court finds that relief remains necessary.

    The court need not, however, order compliance with

the defendants’ proposed provision barring the use of

mental-health observation as a substitute for suicide

watch.       Although      ADOC’s       misuse    of     mental-health

observation was a significant problem previously, Dr.

Burns testified that she had not seen recent instances

in which inmates in crisis were placed on mental-health

observation instead of suicide watch.              See June 8, 2021,

R.D. Trial Tr. at 166.        Moreover, this proposed provision

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is effectively redundant with the provisions that the

court    does    order   requiring      suicidal    prisoners     to    be

monitored via constant observation or close watch.

       Consistent with the parties’ proposals and with the

overall importance of ensuring that these observation

procedures are followed, the court will order that both

constant        observation      and     close      watch     must      be

contemporaneously documented.            In addition to confirming

that    these    procedures      are    followed,    contemporaneous

documentation that is included in an inmate’s medical

file is necessary to ensure that information about the

inmate’s behavior can be factored into clinical decisions

about treatment and appropriate levels of care.                See June

3, 2021, R.D. Trial Tr. at 204-05 (testimony of Dr.

Burns).     However, the court will not order that this

contemporaneous documentation must be accompanied by a

post-watch summary, as the defendants propose.                      These

proposed    summaries      may    prove     useful     to    both      the

monitoring team and inmates’ treatment teams, but the



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court does not find that ordering completion of these

summaries is necessary.

    Finally, the court will order that ADOC must take

appropriate steps to ensure that observers who monitor

inmates      on     suicide    watch     perform    their   duties     as

required.         In the suicide prevention opinion, the court

found that, “[i]n none of the facilities” visited by

experts for both sides “were the ‘watchers’ positioned

appropriately to permit full visibility into the safe

cells   or    constant        visibility    of     the   inmates   being

observed.”         Braggs, 383 F. Supp. 3d at 1259 (internal

quotation marks omitted).              While the court expects that

continued training of observers will help to address this

concern the court will also order that ADOC take other

appropriate steps—such as routine oversight, see June 8,

2021, R.D. Trial Tr. at 93 (testimony of Dr. Burns, noting

that “direct supervision of the observers” contributed

to improvements in the consistency of staggered watches

at the facilities she toured), or examination of the

equipment available to observers, see June 3, 2021, R.D.

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Trial Tr. at 205 (testimony of Dr. Burns, noting that the

chairs available to observers at some facilities she

toured did not provide observers with “an unobstructed

view”   into    the   cells)—to       ensure   that     observation     is

performed correctly.



                 c.   PLRA Findings

      Consistently applied constant observation and close

watch   procedures     are    fundamental        to    constitutionally

adequate crisis-level care.            Current relief is necessary

to bring ADOC into full compliance with these essential

requirements and to ensure that ADOC sustains compliance

as it addresses the constitutional violations that have

persisted      throughout     other     facets    of    its    system   of

mental-health care.       Requiring ADOC to apply and document

these   procedures     is     narrowly    tailored       and   minimally

intrusive to protect suicidal inmates’ immediate safety

and   to   ensure     their    access     to     adequately     informed

treatment and care.



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                   5.    Suicide Watch Conditions

                  a.     The Parties’ Proposed Provisions

    The plaintiffs propose the requirement that, unless

clinically indicated otherwise, inmates on suicide watch

must be provided with shower shoes or other footwear,

socks, suicide-resistant toothbrushes, other specified

hygiene products, and regular or sack meals with approved

nutritional        content       and      suicide-resistant         eating

utensils.        See Pls.’ Updated Proposed Omnibus Remedial

Order (Doc. 3342) at § 9.3.3.              They further propose that

inmates     on     suicide      watch      must     receive   the     same

privileges,       such    as    visits,     phone    calls,   or    mail,

afforded by their most recent housing assignment, as

clinically appropriate.            See id. at § 9.3.4.         Finally,

they propose that inmates housed in crisis cells or

medical units must be provided appropriate out-of-cell

activity    after        72    hours,     unless    such   activity    is

contraindicated and the clinical rationale is documented

in the medical record.           See id. at § 9.3.5.



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                b.     The Court’s Ordered Relief

       The court will order that inmates on suicide watch

must     receive      suicide-resistant          footwear,      hygiene

products,     and      nutritionally         appropriate     meals     as

clinically appropriate.          During facility tours prior to

the suicide prevention trial, experts for both parties

saw that some inmates on suicide watch were not provided

shower shoes for out-of-cell movement, forcing them to

walk around prisons with bare feet.               See June 3, 2021,

R.D. Trial Tr. at 210 (testimony of Dr. Burns).                       Dr.

Burns also noted that inmates on suicide watch were

provided the same sack meal, or in some cases one of two

sack meals, for every daily meal.               Id. at 211.      As Dr.

Burns    explained,     these    deprivations       caused     extended

placements on suicide watch to be “frankly, punitive.”

Braggs, 383 F. Supp. 3d at 1270 (internal quotation marks

omitted).

       Requiring     that   inmates     on   suicide   watch    receive

appropriate footwear, hygiene products, and meals as

clinically indicated is necessary to prevent conditions

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in   suicide    watch   cells    from    harming    inmates’      mental

health during an important crisis intervention.                       The

court credits Dr. Burns’s testimony that these items are

an important part of the “therapeutic” care that inmates

on suicide watch receive.          June 3, 2021, R.D. Trial Tr.

at 211.    Rather than require the provision of specific

items,    however,      the   court     orders     simply    that     the

mental-health providers who are better positioned to

assess an inmate’s mental-health needs and risks must

exercise appropriate clinical judgment with respect to

the items that are provided.

     For the same reasons, the court finds it necessary

to order that inmates on suicide watch must receive the

same privileges afforded by their last housing assignment

as clinically appropriate.         As Dr. Burns explained, these

privileges may have therapeutic value in the treatment

of inmates who are placed on suicide watch, or they may

have the potential to be harmful.            See June 3, 2021, R.D.

Trial Tr. at 211-12; June 23, 2021, R.D. Trial Tr. at

216-17.        By   assigning     the    determination       of     which

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privileges an inmate should and should not receive to the

clinical discretion of treating mental-health staff, this

provision       ensures       that   the    treatment       of    inmates    on

suicide watch will be adequately responsive to their

individual mental-health needs.

    The court will also order that inmates housed in

crisis cells, medical cells, or the infirmary must be

provided appropriate out-of-cell activity after 72 hours,

unless such activity is clinically contraindicated.                          As

observed    in    the     context     of    restrictive       housing,      the

experts    for    both     parties,        the    American       Correctional

Association, and ADOC’s own regulations all recognize the

importance of out-of-cell time to prevent decompensation

and other harms to prisoners’ mental health.                      When crisis

cells     are    functioning         as     designed,       placements      are

generally       short    in    duration,         reducing    the    need    for

out-of-cell time.             As experts for both sides explained

at the liability trial, “crisis-cell placement is meant

to be temporary and should not last longer than 72 hours,

because the harsh effects of prolonged isolation in a

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crisis cell can harm patients’ mental health.”                    Braggs,

257 F. Supp. 3d at 1226.           However, ADOC’s use of crisis

cells and medical cells frequently runs beyond 72 hours,

amplifying the potential adverse effects of isolation.

See id.    During the suicide prevention trial, experts for

both   sides     identified    many      inmates    who       remained   on

suicide watch for longer than 72 hours, in spite of an

ADOC policy requiring referral to a higher level of care.

See Braggs, 383 F. Supp. 3d at 1269.               In such situations

where an inmate remains on suicide watch for longer than

72 hours, as in the context of restrictive housing, the

court credits Dr. Burns’s testimony that out-of-cell

activity    is    a    necessary    component       of    the    inmate’s

mental-health         care,   except     when    it      is    clinically

contraindicated.         See June 3, 2021, R.D. Trial Tr. at

212-13.     However, the court will not order compliance

with the plaintiffs’ proposed requirement to document the

clinical rationale when activity is not provided.                        The

court finds that there is insufficient evidence to impose

this additional requirement at this time.

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                  c.    PLRA Findings

      Relief regarding the conditions of prisoners placed

on suicide watch is necessary in light of the length of

time that many inmates remain on suicide watch without

being referred to a higher level of care and the potential

for   adverse      mental-health        consequences         when   inmates

experiencing       mental-health        crises        are    subjected   to

clinically inappropriate conditions for extended periods

of time.     Some restriction on inmates’ access to items

and activities is appropriate, and indeed necessary, for

suicide    watch       to   function    properly.           Indiscriminate

deprivation is not.          The provisions that the court orders

are necessary to redress the inadequate treatment of

inmates with serious mental-health needs during crisis

placements,        when      they      have    been         identified   as

experiencing       a    heightened      risk     of     self-harm.       By

deferring    to    the      clinical    judgment       of    mental-health

staff, the provisions are narrowly tailored to require

that inmates receive these basic items and privileges

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only to the extent that mental-health staff determine to

be clinically appropriate.              These provisions are the

least intrusive means that will address the problem, as

they     avoid    intruding      on     the    details     of    prison

administration beyond what is necessary to ensure that

inmates on suicide watch receive adequate treatment.



            6.    Referral to Higher Level of Care

                 a.   The Parties’ Proposed Provisions

       The plaintiffs propose the requirement that an inmate

on suicide watch must be considered for referral to a

higher level of care, such as a residential treatment

unit, stabilization unit, or inpatient hospitalization,

after remaining on watch for 72 hours and again after

remaining on watch for 168 hours.                 See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 9.4.1.

They further propose, “If a patient remains on watch for

240 hours or longer and does not meet the criteria for

discharge to outpatient mental health care, then the

patient must be referred to a higher level of care as

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clinically appropriate.”           Id.     The defendants propose

similar provisions, except that they would limit these

requirements to inmates on constant observation, rather

than suicide watch generally.            See Defs.’ Proposed Phase

2A Remedial Order (Doc. 3215) at §§ 9.3.1, 9.3.2, 9.3.3.

Their proposal also uses the phrase “different or higher

level of care.”         Id. (emphasis added).            Both parties

propose that the clinical rationale for a decision not

to refer an inmate to a higher level of care at each of

these stages must be documented.                 See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 9.4.1;

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§§ 9.3.1, 9.3.2, 9.3.3.          The defendants further propose

that documentation of a decision not to refer an inmate

after 240 hours must be submitted to the mental-health

vendor’s     director      of    psychiatry       for     review      and

evaluation.     See Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 9.3.3.

    Both parties additionally propose that any inmate

who returns to suicide watch within 30 days of discharge

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from a previous watch or who receives 3 watch placements

within 6 months must be considered for referral to a

higher level of care.        See Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 9.4.2; Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at § 9.3.4.                    If the

inmate    is   not   referred    to     a   higher   level    of    care,

documentation of the clinical rationale must be provided

to OHS immediately, under the plaintiffs’ proposal, or

within 72 hours, under the defendants’ proposal.                      See

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 9.4.2; Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215) at § 9.3.4.



                b.    The Court’s Ordered Relief

    The    court     will    adopt    provisions     requiring       that

inmates be considered for referral to a different or

higher level of care at the times identified by both

parties.       As    noted   previously,      ADOC’s    placement      of

inmates on suicide watch for extended periods of time

without consideration for referrals to a higher level of

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care has been a longstanding problem.               In the liability

opinion, the court found that inmates were considered for

transfer to treatment units “only in a small fraction of

the crisis placements that last longer than 72 hours.”

Braggs, 257 F. Supp. 3d at 1226.            This problem continued

to   the   time   of   the   suicide     prevention     trial,     where

experts for both sides identified “multiple instances in

which people remained on suicide watch for longer than

72 hours without any indication that they were considered

for a higher level of care.”            Braggs, 383 F. Supp. 3d at

1269.      More    recently,      Dr.    Burns    and    Dr.    Metzner

interviewed one inmate who spent almost a week on crisis

placement in December 2020 without any indication that

he was considered for referral to a higher level of care;

he reported that 3 or 4 other inmates were housed in the

crisis cell with him during that time.             See May 25, 2021,

R.D. Trial Tr. at 87-88; see also Pls.’ Ex. 3943 at

ADOC0540559.

     Dr. Burns explained that this failure to consider

referring inmates to a higher level of care contributes

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to long stays in “very restrictive” settings that may be

clinically inappropriate to treat inmates’ mental-health

needs.       June 3, 2021, R.D. Trial Tr. at 214.               It also

inhibits inmates’ access to more meaningful, longer-term

interventions that may be required to treat adequately

their serious mental-health needs.              See id. at 214-15.

      To address this inadequate treatment of inmates on

suicide watch, the court will order that, if an inmate

remains on suicide watch for 72 hours, and again after

168 hours and 240 hours, he or she must be considered for

referral to a different or higher level of care.                In each

instance, the clinical rationale for a decision not to

refer the inmate to a different or higher level of care

must be documented in the medical chart and tracked in

the    crisis      utilization    log    or    a   similar     tracking

mechanism.         The court will also adopt the defendants’

proposal that such decisions after 240 hours must also

be    sent    to    the   mental-health       vendor’s   director      of

psychiatry for evaluation.



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    In most respects, the plaintiffs’ and defendants’

proposals impose identical obligations.                 Both proposals

preserve    clinical       discretion      at    each   of   the     three

milestones for consideration of referral to a different

or higher level of care and require documentation of

decisions     not     to   make    this    referral.13        The     most

substantial distinction is that the plaintiffs’ proposal

measures time on suicide watch, whereas ADOC’s proposal

measures time on constant observation.              Because constant

observation     and    close      watch   both    place      inmates    in

restrictive settings, and because long-term placement on

suicide watch in either form signals that an inmate may

have substantial mental-health needs that are not being

adequately     addressed,         the     court    finds      that     the

plaintiffs’ broader requirement is necessary.




    13. Although the defendants use “different or higher
level of care” and the plaintiffs specify “higher level
of care,” both parties offer the same three examples for
their respective proposals—the residential treatment
unit,    the   stabilization    unit,   and    inpatient
hospitalization or hospital-level care.
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    The court will also adopt the provision proposed by

both parties that any inmate who returns to suicide watch

within 30 days of discharge from a previous watch or who

receives 3 watch placements within 6 months must be

considered for referral to a different or higher level

of care, and that the clinical rationale for a decision

not to refer an inmate to a higher level of care must be

documented.       This     provision    is   necessary     to   address

ADOC’s failure to identify and adequately treat suicidal

prisoners.      As   Dr.    Burns    explained,     repeated     crisis

placements are a warning sign that an inmate’s current

level of care may be insufficient to meet his or her

mental-health needs.         See June 3, 2021, R.D. Trial Tr.

at 216-17.      Currently, however, this warning all too

often goes unheeded.         For instance, in addition to the

delays in placing Jaquel Alexander on the mental-health

caseload, he was never referred for a higher level of

care despite his 11 crisis placements within a period of

6 months.     See May 24, 2021, R.D. Trial Tr. at 68-70.

Similarly, Marquell Underwood, Travis Jackson, and Danny

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Tucker also experienced multiple placements on suicide

watch in the months before their deaths, without any

indication that they were considered for referral to a

higher level of care.

    In ordering this provision, the court will adopt the

defendants’      language      requiring      that     the     clinical

rationale for a decision not to refer an inmate to a

different or higher level of care must be provided to

ADOC’s Office of Health Services within 72 hours of the

decision.     The court finds that there is insufficient

evidence to impose the plaintiffs’ proposed requirement

for documentation to be provided immediately.



                c.    PLRA Findings

    Current relief is necessary to correct the inadequate

treatment of inmates who are placed on suicide watch,

often repeatedly or for long periods of time.                   Suicide

watch is an essential component of crisis intervention

for suicidal inmates, but it is not a substitute for

adequate mental-health treatment.               Evidence since the

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liability    trial     reflects     that    failures       to   consider

referring suicidal inmates for a different or higher

level   of    care    have    contributed       to   the    inadequate

treatment of many mentally ill inmates, including some

who later committed suicide.

    The provisions that the court orders are necessary

to address this violation.         The ordered provisions mirror

the proposals of both parties with respect to the events

that trigger the need to consider referral to a higher

level of care.       At the suicide prevention trial, experts

for both parties agreed that these same events—placement

on suicide watch for 72, 168, and 240 hours and two

placements within 30 days or three placements within six

months—necessitate consideration of referral to a higher

level of care.       See Braggs, 383 F. Supp. 3d at 1268-70.

The court agrees.         And in light of ADOC’s history of

violations and the need for continuity of care, the court

finds that the requirement to document decisions not to

refer is necessary as well.                By requiring only that

mental-health staff exercise their clinical discretion

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in response to these concrete warning signs that an

inmate in crisis may require more intensive treatment and

care, the ordered provisions are narrowly tailored and

minimally intrusive to correct the ADOC’s failure to

provide adequate treatment to inmates on suicide watch.



                             7.    Discharge

                a.    The Parties’ Proposed Provisions

    The plaintiffs propose the provision, “Each patient

placed on constant watch must be reduced to a close watch

prior to release from suicide watch unless a clinician

determines and documents the propriety of discharging a

patient    to    a    less        restrictive    setting       to   avoid

unnecessarily continuing the confinement of the patient.”

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 9.5.1.1.        They further propose that, prior to an

inmate’s discharge from suicide watch, the inmate must

receive a confidential, out-of-cell evaluation or, if

such an evaluation is not possible due to documented

clinical    concerns,     mental-health         staff   must    consider

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whether      referral     to    a      higher     level       of   care    is

appropriate.       See id. at § 9.5.1.2.                  The defendants

propose      the   similar     provision,         “An    inmate     may   be

discharged     from     suicide     watch    after       an   out-of-cell,

confidential evaluation by a psychiatrist, psychologist,

CRNP,   or    counselor,       unless      such     evaluation      is    not

possible due to documented clinical concerns which may

result in the inmate being discharged from suicide watch

to a different or higher level of care.”                  Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at § 9.4.1.

    The plaintiffs propose that an inmate discharged from

suicide watch must not be transferred to a restrictive

housing unit unless there is a documented exceptional

circumstance.         See      Pls.’      Updated       Proposed    Omnibus

Remedial Order (Doc. 3342) at § 9.5.2.1.                      Both parties

propose that any such transfer must be approved by either

the Deputy Commissioner of Operations for male-designated

facilities, the Deputy Commissioner of Women’s Services

for female-designated facilities, or their designee. See

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

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at § 9.5.2.2; Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 9.4.2.



                b.      The Court’s Ordered Relief

    The court will order that, prior to discharge from

suicide watch, an inmate must receive a confidential,

out-of-cell evaluation by a psychiatrist, psychologist,

CRNP, or counselor, or, when such an evaluation is not

possible     due     to    documented      clinical    concerns,      the

evaluating    mental-health        staff    must     consider     whether

referral to a different or higher level of care is

appropriate.       At the liability trial, experts for both

parties explained that “suicidal prisoners should be

released only with the approval of a psychiatric provider

(psychiatrist      or     nurse   practitioner)       who   has   made     a

face-to-face       assessment       that     their     condition      was

sufficiently stabilized to warrant it.”                Braggs, 257 F.

Supp. 3d at 1230.            As with the initial suicide risk

assessment, this evaluation is necessary to identify

continued suicide risks and inform decisions regarding

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treatment and monitoring.             See June 3, 2021, R.D. Trial

Tr. at 218 (testimony of Dr. Burns).

    ADOC’s       completion      of    this    assessment       prior   to

discharge remains a problem.            Internal audits of numerous

ADOC major facilities indicate that these assessments

still are not completed for many prisoners.                     See, e.g.,

Pls.’ Ex. 3558 at 1, 25 (audit of Bullock, noting that 4

out of 16 inmates reviewed in March 2020 and 1 of 10 in

November 2020 did not receive a discharge evaluation

before release from suicide watch); Pls.’ Ex. 3562 at 1

(audit of Hamilton, noting that 2 out of 6 inmates

reviewed in March 2020 did not receive this evaluation);

Pls.’ Ex. 3626 at 1 (spot audit of Ventress, noting that

the facility’s compliance rate in the area of “suicide

watch discharge” dropped from 76.5                % in December 2020

to 31.1    % in March 2021).          While numerous audits reflect

recent progress, see, e.g., Pls.’ Ex. 3559 at 1, 18, 28

(audit    of   Donaldson,     finding      that    7   of   20     inmates

reviewed    in    March   2020    did    not   receive      a    discharge

evaluation, but all inmates in the November 2020 and

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March 2021 samples did), the court remains concerned

about    the   failures      that     have    occurred      despite        a

court-ordered obligation to conduct these evaluations.

In light of the importance of these evaluations to ensure

the adequate treatment of recently suicidal inmates and

to prevent their placement in inappropriate settings, the

court finds that it must continue to order that these

discharge evaluations occur.

       The court will not, however, order compliance with

the plaintiffs’ provision for the stepdown of inmates

from     constant      observation      to   close     watch     before

discharge.       Dr.    Metzner     testified     that,    while    this

stepdown process is “generally a good practice,” it is

not necessary in all cases.             June 30, 2021, R.D. Trial

Tr. at 79.       Dr. Burns similarly emphasized that the

purpose of the provision is not to set a hard rule, but

to “allow clinical discretion on whether a patient needs

to be stepped down ... before being discharged.”                    June

3, 2021, R.D. Trial Tr. at 217.                Because there is no

evidence that mental-health staff do not recognize or

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exercise their clinical discretion in the decision to

discharge an inmate from suicide watch, the plaintiffs’

proposed provision is unnecessary.

      With respect to the discharge of inmates directly

from suicide watch to segregation, the court will adopt

both of the plaintiffs’ provisions, one of which the

defendants also propose.                The court will order that

inmates    discharged       from    suicide      watch   must    not      be

transferred to segregation unless there is a documented

exceptional     circumstance        and    the     transfer    has   been

approved by the applicable ADOC official or a designee.

Whatever    may    be     said     of     ADOC’s    progress    in     the

performance of discharge evaluations, in this area, ADOC

persists in its unflinching failure to follow the court’s

order and its own policy, both of which already prohibit

the   discharge     of    inmates       from   suicide      watch    to    a

segregation     unit     absent    an     exceptional    circumstance.

After each of Travis Jackson’s placements on suicide

watch in 2019 and 2020, ADOC returned him directly to the

restrictive       housing     unit        without     any     documented

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exceptional circumstance.                 See May 24, 2021, R.D. Trial

Tr. at 139-40.            The psychological autopsy found that

Jackson’s depression and suicidal thoughts “appeared to

coincide    with     [restrictive           housing     unit]      placements”

until he ultimately committed suicide in a restrictive

housing     unit     in     February            2021.        Travis    Jackson

Psychological Autopsy (P-3315) at ADOC0547209.                              In a

sample     of    emails     approving            discharge        directly    to

segregation for 23 out of 24 inmates, Dr. Burns found

that   almost      none    of    the       emails   included        mention    of

purported exceptional circumstances or consideration of

alternative placements.               See May 26, 2021, R.D. Trial Tr.

at 81.      Many of these emails approved transfers to

segregation      within     minutes         of    the   request.       Current

evidence    vindicates          the    assessment       of    a    provider    at

Ventress:       Inmates are transferred from suicide watch to

segregation as “a matter of course.”                     Pls.’ Ex. 3320 at

1.   ADOC’s practice since the liability trial makes clear

that   nothing      short       of    a    court    order,        coupled    with



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aggressive monitoring, will suffice to obtain ADOC’s

compliance with these necessary protections.



                c.    PLRA Findings

    Discharge from suicide watch represents a critical

juncture in inmates’ mental-health treatment. If handled

without appropriate regard for their mental-health needs,

discharge throws still vulnerable inmates into dangerous

settings without adequate treatment or monitoring.                    The

risk posed by these failures is at its apex when suicidal

inmates are discharged directly to segregation, where

most suicides occur.        See June 29, 2021, R.D. Trial Tr.

at 101 (testimony of Dr. Metzner, noting the nationwide

trend).

    The ordered provisions are necessary and narrowly

tailored to correct ADOC’s continued failures to provide

adequate treatment to inmates being released from suicide

watch and to avoid discharging inmates from suicide watch

to restrictive housing in the absence of exceptional

circumstances.        Requiring     that    discharge      evaluations

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occur is the least intrusive means that will ensure the

adequate     placement    and       treatment      of    inmates       who    are

discharged     from     suicide       watch.        And     the       combined

protection of requiring that exceptional circumstances

justifying     placement       in    restrictive        housing        must    be

documented and approved is the least intrusive means that

will    correct      ADOC’s     persistent        failures       to      divert

recently     suicidal     inmates      away      from    segregation          and

toward safer alternatives.



                           8.       Follow-Up

                a.    The Parties’ Proposed Provisions

       The   plaintiffs       propose      that,    upon        an     inmate’s

discharge from suicide watch, mental-health staff must

conduct a follow-up examination with the inmate on each

of the first three days after discharge, followed by a

fourth follow-up on the tenth day.                      See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 9.6.1.1.

The    defendants     propose       that   the    inmate    will        receive

follow-up      mental-health         examinations          as        clinically

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indicated.     See Defs.’ Proposed Phase 2A Remedial Order

(Doc. 3215) at § 9.5.1.          Both parties propose that these

follow-up examinations must not take the place of other

scheduled mental-health appointments but “may occur in

connection with or contiguous with such appointments.”

See Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at § 9.6.1.2; Defs.’ Proposed Phase 2A Remedial

Order (Doc. 3215) at § 9.5.2.           They further propose that

these follow-up examinations must assess whether the

inmate released from suicide watch is showing signs of

ongoing crisis, whether he or she needs further follow-up

examinations, and whether he or she should be added to

the   mental-health       caseload      or   assigned    a   different

mental-health code.        See Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 9.6.1.3; Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at § 9.5.2.                        The

plaintiffs propose the further requirement that these

examinations      “must     be    conducted      out-of-cell      in       a

confidential setting, unless such an examination is not

possible due to documented clinical concerns resulting

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in the patient being transferred to a higher level of

care.”      Pls.’ Updated Proposed Omnibus Remedial Order

(Doc. 3342) at § 9.6.1.1.

      With respect to the transfer of inmates following

suicide watch, the plaintiffs propose that, for 10 days

following an inmate’s discharge, ADOC may not transfer

the inmate to another institution, except to return him

or    her   from     suicide     watch     to    his    or    her   sending

institution        prior   to    the    commencement         of   follow-up

examinations,        without     restarting       the    four     follow-up

examinations.          See      Pls.’     Updated      Proposed     Omnibus

Remedial Order (Doc. 3342) at § 9.6.1.4.                     After the four

follow-up     examinations          have        been    completed,      the

plaintiffs propose that ADOC may transfer the inmate to

any ADOC facility without the requirement for further

follow-up examinations, unless clinically indicated. See

id.



                b.     The Court’s Ordered Relief



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       The court will order that, upon an inmate’s discharge

from suicide watch, mental-health staff must conduct a

follow-up examination on each of the first three days

after discharge, unless there is a documented clinical

determination that the inmate was not suicidal at the

time he or she was placed on suicide watch and did not

become    suicidal     during    the    watch   placement.         These

follow-up examinations must assess the substantive issues

identified by the parties’ proposals.                They must occur

in a confidential, out-of-cell setting, unless such an

examination is not possible due to documented clinical

concerns.      And, consistent with the parties’ proposals,

the court will order that these examinations must not

take     the   place     of     other    scheduled      mental-health

appointments, although they may occur in connection with

or contiguous with such appointments.

       ADOC’s current crisis-management approach to suicide

prevention frequently neglects this crucial component of

treatment for inmates with acute mental-health needs.

For instance, inmate M.W. waited four days after his

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transfer from suicide watch before he received his first

follow-up examination.             See June 9, 2021, R.D. Trial Tr.

at 39-40.      Inmate J.B. received no follow-up at all after

he    attempted      to   overdose       on   antidepressants        he    had

stockpiled,       was     placed    on    acute     suicide    watch      with

multiple identified suicide risk factors, and was taken

off suicide watch the next day.                See May 25, 2021, R.D.

Trial    Tr.    at     50-52.       Similar       failures    plagued      the

experiences       of      inmates     who     subsequently         committed

suicide.       See, e.g., May 24, 2021, R.D. Trial Tr. at

140-41     (Travis        Jackson        missed     numerous       follow-up

examinations after his multiple crisis placements).                         In

recognition of this problem, ADOC observed in a February

2020 letter to Wexford that “follow-up examinations were

not conducted consistently at the required intervals.”

See Pls.’ Ex. 3322 at 3.

      These failures pose serious dangers to inmates who

are     discharged        from     suicide    watch.          An    inmate’s

mental-health needs do not dissipate the moment he or she

is discharged from suicide watch.                 Much to the contrary,

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as Dr. Burns testified, the initial transition period

following suicide watch is a “dangerous” time for inmates

who    must    adapt    to    more      infrequent      contact     with

mental-health staff.         June 3, 2021, R.D. Trial Tr. at

222-23; see also Braggs, 383 F. Supp. 3d at 1267 (noting

consistent testimony of ADOC’s mental-health expert, Dr.

Perrien, at the suicide prevention trial that “the period

post watch is a vulnerable time”).               Dr. Burns credibly

testified that ADOC’s persistent failures to provide

follow-up     examinations     contributed       to   the     inadequate

treatment of inmates who later committed suicide.                     See

id. at 152 (testimony of Dr. Burns, connecting these

failures to the inadequacy of mental-health care received

by Travis Jackson).

      Current conditions mandate relief to ensure that

inmates       discharged      from      suicide       watch      receive

constitutionally adequate care.           The court finds that the

specificity of the plaintiffs’ proposal is necessary to

address ADOC’s continued failures to conduct follow-up

examinations consistently.              Even under a court order

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requiring compliance with the same timeframes proposed

by the plaintiffs—timeframes which originated in the

joint recommendations of both parties’ experts at the

suicide prevention trial, see Braggs, 383 F. Supp. 3d at

1266-67—ADOC     has    continued         to   allow    inmates     being

discharged from suicide watch to fall through the cracks

at a particularly “dangerous” and “vulnerable” time.                     As

the court observed in its suicide prevention opinion, it

“cannot simply trust that ADOC will provide an adequate

number of follow-ups without a court order.”                      Id. at

1268.     Requiring     follow-up         examinations   in   the    days

immediately following an inmate’s release from suicide

watch    is    necessary       to     correct     ADOC’s      continued

violations.

    Still,     the   court’s        ordered    relief    narrows     that

requested by the plaintiffs in two ways.                    First, the

court   incorporates       Dr.      Metzner’s     testimony       that     a

documented clinical determination that an inmate was not

and is not suicidal obviates the need for follow-up

examinations. See June 30, 2021, R.D. Trial Tr. at 75-76.

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Second, the court does not order compliance with the

requirement to conduct a fourth follow-up examination on

the   tenth   day     after   discharge.       Although        Dr.   Burns

credibly testified that a follow-up examination after the

immediate transition period is important to ensure that

the inmate is “stable” after adjusting to a different

environment, June 21, 2021, R.D. Trial Tr. at 63-64, she

conceded that the “days immediately after release” from

suicide watch present the most serious risk, June 23,

2021, R.D. Trial Tr. at 220.          In light of this testimony,

as well as the relatively limited evidence to support the

requirement      to     conduct      a     follow-up       examination

specifically on the tenth day following discharge, the

court leaves the provision of additional follow-up care

after   the   first     three   examinations        to   the    clinical

judgment of ADOC’s mental-health staff.

      The court will further adopt the plaintiffs’ proposal

that an inmate’s transfer from suicide watch to another

institution prior to the completion of the three ordered

follow-up     examinations       restarts     the    requirement       to

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complete follow-up examinations on each of the three days

following the transfer.              ADOC’s frequent transfers of

prisoners     with     serious       mental-health           needs     may     be

disruptive     in    any     case,    but     the     dangers        are     most

pronounced immediately following an inmate’s discharge

from suicide watch.          See Braggs, 383 F. Supp. 3d at 1267

(noting ADOC’s expert’s testimony that, when “someone is

being moved, that increases the stress that an already

vulnerable     person       experiences”).            Transfers        between

facilities    continue        to    jeopardize        the    continuity       of

mental-health        care    received       by    inmates         immediately

following    their     discharge       from      suicide      watch.          For

example,     Dr.     Burns    testified       that      many      of     Travis

Jackson’s post-suicide watch follow-up examinations were

missed as a result of his transfers between prisons.                          See

May 24, 2021, R.D. Trial Tr. at 140-41.                      To address the

dangers to inmates with serious mental-health needs when

their   follow-up      care    is    interrupted,           the   court      must

require    that     ADOC’s    obligation         to   provide      the     three

ordered follow-up examinations is reset when an inmate

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is transferred to another facility prior to completion

of these examinations.



                c.    PLRA Findings

      Meaningful follow-up care is a critical element of

the     protection    and    treatment     of    inmates     who    have

expressed suicidality.         The follow-up examinations that

the court orders are necessary to protect vulnerable

inmates in the dangerous transition period after their

release from suicide watch into an environment in which

their     contacts    with     mental-health       staff     are    more

infrequent and there are fewer safeguards in place to

prevent them from attempting suicide or other self-harm.

By excluding inmates who are clinically determined not

to    have   been    suicidal,     the   ordered     provisions       are

narrowly tailored to correct ADOC’s ongoing failures to

provide this necessary follow-up care to the inmates who

require it.      This relief is the least intrusive means

that will ensure that inmates who are discharged from

suicide watch receive adequate follow-up examinations to

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evaluate and treat any continued mental-health needs and

to ensure that they remain stable following discharge.



     9.   Other Provisions Regarding Suicide Prevention

      Both parties propose that suicide watch cells must

not be designated as restrictive housing unit cells.                  See

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 9.2.5; Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215) at § 9.1.1.        The placement of segregation inmates

in   designated    mental-health        units    was   a   “recurring”

problem at the time of the liability opinion, undermining

the usefulness of these units to treat prisoners with

serious mental-health needs.            Braggs, 257 F. Supp. 3d at

1212-13.    Recently, however, there is not evidence that

ADOC has continued this harmful practice.               Consequently,

this relief is unnecessary.

      Consistent     with    §   V.J     of     ADOC   Administrative

Regulation 629, the plaintiffs propose the requirement

that “ADOC and/or its vendor must debrief staff and

prisoners after a completed suicide or self-injurious

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behavior that would have resulted in death if there had

been no intervention.”             Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 9.1.6.                 There is evidence

to support the importance of this practice.                     Dr. Burns

explained that suicides are “traumatic” for inmates and

responding staff alike.              June 22, 2021, R.D. Trial Tr.

at 80.      However, ADOC has already adopted this policy as

a    regulation,       and   there    is    evidence     that    ADOC    has

implemented this policy in its responses to at least some

completed suicides.           See id.       The court will not order

this relief at this time.

       The defendants propose the provision that, after

intake and after an inmate is transferred from one ADOC

major facility to another, “the inmate will be provided

any         facility-specific              information          concerning

mental-health        services      and     the   way   to   access    those

services for himself/herself or for another inmate.”

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§ 9.6.1.        The court agrees that dissemination of this

information is fundamental to inmates’ ability to request

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and receive adequate mental-health care.               However, given

the lack of evidence that ADOC has not meaningfully

informed    inmates     regarding       access    to    mental-health

services, the court need not order this relief.

    The plaintiffs propose the provision that qualified

mental-health professionals “may conduct suicide risk

assessments,       discharge      evaluations,         and        follow-up

examinations either in person or by telehealth.”                     Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 9.8.      When    these     examinations       are    conducted       by

telehealth, the plaintiffs propose that an RN must be in

the room with the inmate.           See id.      While the court is

sensitive to the limitations of telehealth, see June 3,

2021, R.D. Trial Tr. at 229-30 (testimony of Dr. Burns),

there is no evidence that, to the extent ADOC uses

telehealth, its practice is inappropriate.                   Requiring a

mental-staff member to be in the room with an inmate

during telehealth sessions may be an important measure

to prevent mental-health providers from missing important

observations       of   an    inmate’s      behavior         or     lacking

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information from an inmate’s medical chart, but the court

will not order this relief at this time.

     The    plaintiffs      further       propose    that       associate

licensed counselors working toward licensure may not

conduct     suicide       risk      assessments         or      follow-up

examinations on their own, although they may participate

in   suicide    risk    assessments       conducted       by    qualified

mental-health professionals.             See Pls.’ Updated Proposed

Omnibus Remedial Order (Doc. 3342) at § 9.8.                          ADOC’s

mental-health vendor at the time of the liability trial

employed       mental-health       providers        who        were     not

independently licensed, see June 4, 2021, R.D. Trial Tr.

at 47-48.    However, there is insufficient evidence as to

whether ADOC or its current vendor employs associate

licensed    counselors      and,     if    so,   what        tasks    these

associate      licensed    counselors       currently        perform      to

warrant relief at this time.



                   K.     Higher Levels of Care



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       As described previously, ADOC has made progress in

its provision of hospital-level care in general, although

problems with timely access to care remain.               Its progress

with    respect      to    inpatient     units,   however,     is   less

encouraging; its supply of inpatient beds has decreased

since the court’s May 2020 inpatient treatment opinion,

and it has failed to address the issue of heat management

in inpatient facilities.



          1.   Timely Access to Hospital-Level Care

                a.        The Parties’ Proposed Provisions

       To remedy the lack of timely access to hospital-level

care, the plaintiffs propose that the ADOC must comply

with     its      own       regulation     regarding       access      to

hospital-level care, see Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 10.1.1; that in the event

a hospital refuses to admit an inmate referred for care,

ADOC must attempt to obtain admission of the inmate at

an alternative hospital, see id. at § 10.1.4; and that,

until the EMT conducts its first audit, ADOC must notify

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the plaintiffs’ counsel when there are delays in the

provision of hospital-level care, see id. at § 10.1.4.

       The ADOC regulation to which the plaintiffs refer--AR

640,     Advanced      Inpatient      Mental      Healthcare       (Doc.

3206-6)--imposes a series of deadlines for the provision

of hospital-level care, including, but not limited to,

the following:       if an inmate is identified as possibly

requiring hospital-level care, his treating physician

must complete a certain form and send it to the director

of   psychiatry     within   one    working      day   of   completion;

within    72   hours    of   receiving     the    form,     a   separate

administrator--the director of psychiatry services--must

review the inmate’s medical record and assessment; if the

director       of   psychiatry      services       determines       that

hospital-level care is in the inmate’s best interests,

she must prepare a request for admission within eight

hours, or document a recommendation of postponement of

admission for an additional 48 hours; if the director of

psychiatry prepares a request for admission, the inmate

must be transported to a hospital within three business

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days.   The regulation also requires ADOC to complete, in

writing, an annual reassessment of its need for hospital

beds, and to contract for more beds if necessary.                     The

plaintiffs propose that ADOC must provide them with a

copy of this annual reassessment.                See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 10.1.2.

    The defendants propose no provision concerning the

lack of timely access to hospital-level care.



                b.    The Court’s Ordered Relief

    The court will order that ADOC must ensure that

inmates who require hospital-level care receive it within

a reasonable period of time, as determined by clinical

judgment.    The court orders this relief in light of the

evidence    that     since   its   liability     opinion,     ADOC    has

failed to ensure that inmates who require hospital-level

care receive it promptly enough to prevent them from

harming or killing themselves.             Tommy McConathy’s case

provides a particularly stark example of this failure.

In the last few months of his life, he found respite from

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acute suicidality only during the few weeks he spent in

Citizens Hospital.        Prior to his transfer to Citizens,

McConathy had been on repeated suicide watches since

December 2019, and saw no improvements in his mental

health even in the most intensive care units offered in

ADOC’s facilities.       He reported his “adamant . . . desire

to die” while in Bullock’s SU, see Pls.’ Ex. 3310 at

ADOC546648, and he was sexually assaulted in Bullock’s

RTU and reported that he could not function there, see

id. at ADOC546690.       ADOC was not ignorant of McConathy’s

needs--after      his     sexual        assault     in    Bullock,         a

mental-health provider assessed McConathy as “at high

risk for continued suicide watch until [his] safety needs

are addressed,” and indicated that he would be considered

for referral to Citizens.          See id.        Yet it took 30 days

after that for McConathy to be transferred to Citizens.

Inmate M.H. experienced a similar delay--he was referred

to Citizens after cutting himself repeatedly and spending

several stints in the Bullock SU, but waited 10 days

before he was actually transferred to the hospital.                   See

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May 25, 2021, R.D. Trial Tr. at 43–44.                   For inmates whose

mental-illnesses            are     so      acute       as      to        require

hospital-level         care,      such     prolonged         delays       pose     a

needless and grave danger.

      The court will not order, however, that ADOC must

comply   with       the    requirements      of     its      own     regulation

regarding         access   to   hospital-level          care.           While    the

detailed timing requirements imposed by the regulation

might be desirable, the evidence does not show them to

be necessary.         As long as ADOC can ensure that inmates

who   require       hospital-level         care   receive          it    promptly

enough       so     that    their    health       and     lives          are     not

jeopardized,         the   court    need    not     dictate        the    precise

manner in which it does so.                The court also trusts that

if    ADOC    proves       unable   to     ensure       timely       access      to

hospital-level care, the EMT shall bring the matter to

its attention.

       As for the requirement that ADOC reassess its need

for hospital beds, there is little evidence that ADOC’s

failure to provide timely access to hospital-level care

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is caused by a shortage of beds--indeed, as described

previously, the plaintiffs agree that the 14 beds ADOC

currently maintains at Citizens are adequate for the

system’s mental-health caseload.               Rather, the problem

seems to lie with ADOC’s failure to ensure that inmates

who require hospital-level care are timely transferred

to available beds.

      Nor will the court order that, in the event that a

hospital refuses to admit an inmate referred for care,

ADOC must attempt to admit the inmate to an alternative

hospital.     The record does not show that inmates whom

ADOC has referred for hospital-level care are regularly

turned away.

      Finally, the court will not order that, until the

EMT   conducts    its   first    audit,      ADOC   must   notify     the

plaintiffs’      counsel    when     there    are    delays     in    the

provision of hospital-level care. Although prompt access

to hospital-level care is a matter of utmost urgency that

cannot be neglected prior to the EMT’s first audit, the



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court trusts that ADOC will comply with the terms of its

order.



                c.    PLRA Findings

    The court finds this provision necessary for the

reasons given above:          ADOC has failed to ensure that

inmates who require hospital-level care receive it in a

timely fashion, despite the fact that without such care,

those inmates are at serious risk of harming or killing

themselves.      This provision is also narrowly tailored

because it is exclusively focused on the problem of

unreasonable delays in care, and minimally intrusive

because it leaves it entirely to ADOC to determine how

it ensures that there are no unreasonable delays.



                        2.    Inpatient Beds

                a.    The Parties’ Proposed Provisions

    To    remedy     ADOC’s    lack     of   inpatient      beds,     the

plaintiffs propose that at all times ADOC must maintain

enough beds to accommodate 15 % of its mental-health

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caseload,     measured      initially     against      the   June   2020

caseload numbers.         See Pls.’ Updated Proposed Omnibus

Remedial Order (Doc. 3342) at § 10.2.1.                The plaintiffs

also propose that ADOC must add new beds annually, if

necessary,     to   reflect     changes     in   its    mental-health

caseload, see id.; that it must provide new treatment

space if it is needed to accommodate additional beds, see

id. at § 10.3.1; and that all treatment spaces used to

house inpatient beds must provide for confidentiality,

see id.

       The defendants maintain that no relief is necessary

in light of Dr. Metzner’s testimony that between 10 and

15 % of inmates on the mental-health caseload can be

expected to require inpatient beds, and the fact that

ADOC    currently     has    433    beds     available--enough         to

accommodate nearly 10 % of its June 2020 mental-health

caseload.14     See Defs.’ Post-Trial Br. (Doc. 3367) at

105-106.


    14. The defendants claim that ADOC’s inpatient beds,
combined with the 14 hospital beds available to it at
Citizens Hospital, are enough to accommodate 10.2 % of
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    In   the    alternative,      the    defendants     propose     that

within 180 days of the effective date ADOC must have

enough beds to accommodate 10 % of its June 2020 caseload,

and that within one year of the effective date it must

reassess whether it needs more beds.            See Defs.’ Proposed

Phase 2A Remedial Order (Doc. 3215) at §§ 10.2-3.                     The

defendants also propose that ADOC’s reassessment be based

on the mental-health caseload as it existed at the end

of the sixth month after the effective date, and that,

if ADOC or any third-party has started construction on

any prison facilities that will house mental-health beds,

the EMT will take that fact into account in reassessing

the need for more beds.         See id. at § 10.3.



                b.    The Court’s Ordered Relief

    The court will order that ADOC must initially supply

enough beds to accommodate 10 % of its mental-health



its June 2020 mental-health caseload.       The beds at
Citizens, however, are not among ADOC’s inpatient beds,
and should not be counted towards the 10 % target set by
Dr. Metzner.
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caseload at the time of the effective date.                     However,

ADOC must, on at least an annual basis, collaborate with

the EMT to reassess (1) the number of inmates on its

mental-health caseload, and (2) whether 10 % is in fact

an     accurate     estimate        of    the    percentage     of    the

mental-health caseload requiring inpatient treatment. If

ADOC determines that more than 10 % of the inmates on the

mental-health caseload require inpatient beds, or that

the mental-health caseload has grown, or both, it must

adjust its number of inpatient beds accordingly.                 It must

also ensure that inpatient beds are housed in treatment

spaces    that    allow   for   confidentiality,         including     by

creating new treatment spaces if necessary.

       The court orders ADOC to ensure that it has enough

beds     to   accommodate      10    %    of    the   inmates   on    its

mental-health caseload in light of Dr. Metzer’s testimony

that, at any given time, ADOC should expect at least 10

% of the inmates on its mental-health caseload to require

access to inpatient beds.            See June 30, 2021, R.D. Trial

Tr. at 165.       Despite this testimony from its own expert,

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ADOC has yet to provide enough beds to accommodate 10 %

of the inmates on its mental-health caseload.                 Nor is it

progressing towards that goal.           When the court issued its

remedial opinion, ADOC had 504 inpatient beds available

for a caseload of 4,151 inmates.                   See Braggs, 2020 WL

2789880 at *6 n.4, *7 (using December, 2019 caseload

numbers).     Since then, ADOC has allowed the number of

inpatient beds to decrease, from 504 to 433.                 See Defs.’

Post-Trial       Br.   (Doc.   3367)    at    105.      Meanwhile,       as

predicted, ADOC’s mental-health caseload has grown, from

4,151 in December 2019, see Joint Report (Doc. 2705), to

4,564 in March 2021, see Defs.’ Ex. 4079 at 43-44.                     That

growth can be expected to continue, both because ADOC’s

capacity    to    recognize    inmates       who    should   be   on    its

mental-health caseload will improve as it implements the

court’s orders regarding intake, and because admissions

are expected to increase as the COVID-19 pandemic wanes.

The need for more beds is therefore even more urgent

today than it was at the time of the court’s remedial

opinion.

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      The court orders ADOC to use the caseload numbers at

the time of the effective date as an initial reference

point, as opposed to the June 2020 caseload numbers, to

ensure that ADOC begins to make progress immediately.

ADOC’s March 2021 caseload was significantly larger than

its   June   2020    caseload     (which,     according      to   ADOC’s

estimates, was approximately 4,382, see Defs.’ Post-Trial

Br. (Doc. 3367) at 105), and its caseload is only expected

to grow.     Were the court to allow ADOC to use its June

2020 caseload as an initial reference, it would allow

ADOC to continue its insufficient provision of inpatient

beds for up to a year.          That will not do.           At the same

time, however, the court suspects that its order will be

significantly       more    manageable       for     ADOC    than     the

plaintiffs’ proposal--that ADOC be required to provide

enough beds to accommodate 15 % of its June 2020 caseload.

The plaintiffs estimate that their proposal would require

ADOC to add 222 beds initially.                    See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 10.2.1.

The court cannot say how many beds its order will require

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ADOC to add initially, because the mental-health caseload

at   the   time      of     the    effective     date     has    yet   to   be

determined.        But it will almost certainly be fewer than

222 by a large margin.             To accommodate 10 % of its March,

2021 caseload, for example, ADOC would have to add only

23   beds.         The    number    of    additional      beds     needed    to

accommodate 10 % of ADOC’s caseload at the time of the

effective date will likely be far closer to 23 than 222.15

       The court orders ADOC to regularly reassess the

adequacy      of    its     supply       of   inpatient     beds    because,

although it orders today that ADOC need only provide

enough beds to accommodate 10 % of the inmates on its

mental-health caseload, it is seriously concerned that

ADOC    may   in     fact    require      more   beds     to    correct     the

constitutional           violations      found   in   the      court’s    2017



    15. While ADOC may convert its SLU beds to serve as
inpatient beds, it bears repeating that the SLUs do not
currently help meet ADOC’s need for inpatient beds, and
ADOC may not double-count them as both inpatient units
and outpatient diversionary units in the event that it
converts them to inpatient units. Rather, if it chooses
to convert the SLUs to inpatient units, it must find
alternative facilities for outpatient diversion.
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liability opinion.         Experts for both parties previously

testified that approximately 15 % of inmates on the

mental-health caseload will require inpatient beds at any

given time.          See Braggs, 2020 WL 2789880 at *4.                  Only

Dr. Metzner testified otherwise. The court now defers to

his expertise, but given the conflicting testimony on the

number of beds needed, it finds that ADOC must be prepared

for    the     possibility    that     more        than    10   %   of    its

mental-health caseload will require inpatient beds. ADOC

must    also    be    cognizant   of    its    historic         failure    to

identify mentally ill inmates and place them on the

mental-health caseload, and the high likelihood that as

it implements the provisions of the court’s present order

regarding intake, its mental-health caseload will grow.

Whatever number of beds are sufficient to accommodate

ADOC’s       mental-health    caseload        at     the    time    of    the

effective date may therefore soon prove inadequate.

       Finally, the court orders that inpatient beds are

housed in treatment spaces that allow for confidentiality

because mental-health treatment must be confidential if

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it is to be effective.        Indeed, the defendants themselves

propose that treatment must take place in a setting that

provides for confidentiality, see Defs.’ Proposed Phase

2A Remedial Order (Doc. 3215) at § 6.1, and their expert

testified as to his agreement with this provision, see

June 30, 2021, R.D. Trial Tr. at 168 (testimony of Dr.

Metzner); his only reservation was that he found it to

state the obvious, see id.          Because of the importance of

this     issue    and     the     longstanding        problems       with

confidential treatment space, however, the court finds

it necessary to make clear what should be self-evident.



                 c.   PLRA Findings

       The court finds this provision necessary given the

pivotal importance of the inpatient-bed supply to ADOC’s

entire    mental-health      system.        As   described      in    the

liability opinion and reiterated in the remedial opinion,

ADOC’s lack of inpatient beds has “a downward-spiral

effect on the rest of the system:             those who do not get

needed treatment often end up in crisis cells, frequently

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receive disciplinary sanctions, and may be placed in

segregation,     where       they    have     even   less    access     to

treatment and monitoring.”                Braggs, 2020 WL 2789880 at

*38 (quoting Braggs, 257 F. Supp. 3d at 1206).                 Ensuring

adequate beds is therefore foundational to remedying the

constitutional violations identified in the liability

opinion, and, as described above, to the extent that beds

are used for mental-health treatment, they must be housed

in   spaces    that     allow       for    confidentiality     if     that

treatment is to be effective.                This provision is also

narrowly    tailed     and    minimally       intrusive     because     it

requires ADOC to provide only the absolute minimum number

of beds necessary, according to the lowest estimate given

by any of the parties’ experts.



                  3.    Temperature Regulation

                a.     The Parties’ Proposed Provisions

     To remedy ADOC’s failure to ensure that its inpatient

treatment units are suitably temperature-regulated, the

plaintiffs propose that “ADOC must create a year-round

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heat management plan to address the risk of overheating

by    inmates   in   inpatient     treatment     units    who    are    on

psychotropic     medications.”           Pls.’    Updated       Proposed

Omnibus Remedial Order (Doc. 3342) at § 10.2.1.                        The

defendants propose no provision concerning temperature

regulation.



                b.    The Court’s Ordered Relief

       In agreement with the plaintiffs, that court will

order that ADOC must devise a plan and procedures to

address the serious risk posed by high temperatures in

the mental-health units, which it must submit to the

court by May 2, 2022.         In its May 2020 remedial opinion

and order, the court imposed the same requirement, which

it found to satisfy the requirements of the PLRA.                      See

Braggs, 2020 WL 2789880 at *15.            In a July, 2020 filing,

the    defendants    purported     to    have    complied     with     the

court’s requirement by installing HVAC systems in all of

ADOC’s mental-health treatment units.               See Doc. 2880 at

4–5.     Since then, however, Tommy Lee Rutledge died of

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hyperthermia in his cell in the Donaldson RTU, where the

temperature reached 104 degrees.            See May 25, 2021, R.D.

Trial Tr. at 144–45.         Plainly, ADOC has not done enough

to ensure that temperatures in its inpatient treatment

units   do   not    become       dangerously      high.        The    court

therefore must reiterate its May, 2020 order.

     ADOC should specifically address how it happened that

Rutledge’s cell reached 104 degrees, causing him to die

of   hyperthermia,     in    a    unit   that   was   supposedly        air

conditioned, and how it will prevent that from ever

occurring again.        The latter inquiry will require ADOC

to   address,   additionally,        how   it     plans   to   determine

whether a particular cell has reached dangerously high

temperatures, and should such a finding be made, what

measures it will take to ensure its occupant’s safety.

Because Rutledge died in a unit that was supposedly air

conditioned,       these    inquiries      must     pertain      to     all

mental-health      units,    regardless      of    whether      they    are

airconditioned.       (In this respect, the court’s present

order differs from its May 2020 order, which did not

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require   ADOC    to    address    heat   management      in   the    air

conditioned mental-health units in Tutwiler and Bullock.

See Braggs, 2020 WL 2789880 at *15.)



                 c.    PLRA Findings

    The court finds this provision necessary because

addressing    the      risk   of   overheating     is   essential      to

ensuring the safety of inmates in inpatient units.                    See

Braggs, 2020 WL 2789880 at *15.             ADOC itself recognizes

as much--its own regulations require the Director of

Treatment and Wardens to “ensure that measures to reduce

sun/heat exposure risks for inmates taking psychotropic

medication    are     initiated    and    maintained     at    all   ADOC

institutions.”        Joint Ex. 118, Admin. Reg. § 619 (Doc.

1038-141).      This provision is also narrowly drawn and

minimally intrusive, because it does not require ADOC to

adopt any particular plan or implement any particular

procedure.       So long as ADOC can mitigate the risk of

overheating, the manner in which it does so shall remain

completely within its discretion.            Finally, although the

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order requires ADOC to devise a heat management plan for

facilities that are currently air conditioned, it extends

no further than necessary, because as Rutledge’s death

illustrates, overheating remains a risk in all units, air

conditioned or not.



 4.    Other Provisions Regarding Higher Levels of Care

      In addition to the provisions described above, the

plaintiffs propose two provisions that the court will not

adopt, but will address briefly below.16

      First, the plaintiffs propose that, if an inmate

under a sentence of death is determined to be a candidate

for hospital-level mental-health care, ADOC must notify

the   plaintiffs’      counsel,     who    must    then    notify     the

attorney responsible for that inmate’s post-conviction

appeal,   if   one    exists.       See   Pls.’    Updated     Proposed

Omnibus Remedial Order (Doc. 3342) at § 10.1.3.                       The


    16.   The    plaintiffs    also propose   that   all
stabilization unit cells must be suicide-resistant. The
court addresses this provision in its discussion of the
parties’    proposed    provisions  regarding    suicide
prevention.
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court will not order this relief because the record does

not show it to be necessary to remedy ADOC’s failure to

provide inmates with timely access to hospital-level

care.    To the extent the provision is intended to provide

external oversight of ADOC’s provision of care, it is

redundant; oversight is the bailiwick of the EMT.                  To the

extent    the    provision    is    intended      to    facilitate      the

development of post-conviction legal claims, it is beyond

the scope of the Phase 2A omnibus remedial order.

       Second, the plaintiffs propose that “ADOC must ensure

that any new facilities are designed to include adequate

mental health treatment space, including an adequate

number    of    inpatient    beds    and    confidential        treatment

space,” and that in designing new facilities, ADOC should

solicit    input    from    “the    health      services    staff,      the

[mental-health]       vendor,      and    the   EMT.”      See    id.    at

§ 10.3.2.       The court will not order the first part of

this     provision,    concerning         treatment     space    in     new

facilities, because it is redundant.             As explained above,

the court will order that ADOC must maintain enough

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inpatient treatment beds to accommodate 10 % of its

mental-health     caseload,      and    that   those    beds   must    be

housed in spaces that allow for confidential treatment.

That order applies to future and existing facilities

alike--if ADOC chooses to house inpatient beds in a new

facility, it must ensure that those beds are housed in

such a manner so as to allow for confidential treatment.

The court will not order second part of the plaintiffs’

proposed provision--that ADOC be required to consult the

health services staff, its mental-health vendor, and the

EMT when designing new facilities--because the plaintiffs

have not shown it to be necessary.             Absent evidence that

ADOC cannot comply with the court’s order, the court

finds that whom ADOC consults regarding the construction

of new facilities should be entirely up to ADOC.



                          L.    Discipline

    Despite some progress, ADOC continues to discipline

inmates without due regard for their mental-health needs.

While ADOC appears to have curtailed its unacceptable

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practice    of    punishing      inmates        for    self-harm,     its

continued     failure       to    obtain        remotely      meaningful

mental-health consultations to the disciplinary process

subjects inmates with serious mental-health needs to

inappropriate sanctions that create the substantial risk

of    decompensation,      worsened     symptoms,       and   restricted

access to necessary care.

      ADOC’s August 20, 2020, revision of Administrative

Regulation 403 (Doc. 3206-7), regarding the procedures

for    handling     rule     violations,         and    Administrative

Regulation 626 (Doc. 3206-8), regarding mental-health

consultations to the disciplinary process, represents one

important step toward correcting ADOC’s deficiencies.

The plaintiffs propose a provision requiring ADOC to

comply with both updated regulations.                 See Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 11.1.

However, the court declines to follow the plaintiffs’

approach.        Considered      in     their    entirety,     the    two

regulations address numerous issues that are disconnected

from the constitutional violations before the court and

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contain provisions for which there is not sufficient

evidence to find that ordering compliance would comply

with the PLRA.

       Instead of requiring across-the-board compliance,

the court will consider relief that requires ADOC to

comply with specific provisions of these regulations.                  By

reviewing individual provisions, the court will better

account for changed circumstances pertaining to inmate

discipline and order relief that is necessary, narrowly

tailored,    and     minimally    intrusive     in   light    of   those

conditions.



  1.     Mental-Health Consultations to the Disciplinary

                                 Process

                a.    The Relevant Provisions

       Section V.B.2 of ADOC Administrative Regulation 626

provides:

       “A mental health consultation may be sought at the
       time of the rule or regulation violation or after
       review of the disciplinary report. A mental health
       consultation must be sought if the inmate is on the
       mental health caseload and has a mental health code
       of C or higher and/or an SMI designation; or, even
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       if the inmate has a lower mental health code or is
       not on the mental health caseload, where the inmate
       has an intellectual or developmental disability, or
       the inmate’s behavior at the time of the alleged
       actions giving rise to the disciplinary or at any
       time prior to or during the disciplinary process
       demonstrates signs of psychological distress or
       mental impairment.”

       Section V.C.3.a lists the matters that the consulting

mental-health staff must evaluate, including the inmate’s

current and then-existing mental state, the inmate’s

mental-health          diagnosis     or    the     presence    of     mental

illness,       the     inmate’s     recent    treatment       history   and

medication,          the    inmate’s      recent    crisis     placements,

whether the inmate’s violative behavior directly resulted

from or is related to mental illness, the likely impact

of confinement to restrictive housing and whether such

confinement is contraindicated, the potential impact of

other    disciplinary          sanctions     and     whether    any     such

sanctions       are    contraindicated,          alternative    sanctions

that     are     not       contraindicated,        and   the    need    for

mental-health staff to be present during the disciplinary

hearing.       And § V.C.3.d requires the documentation of the

evaluation           and      its       recommendations,        including
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disciplinary     sanctions      that    are    contraindicated        and

alternative     sanctions      that     are   appropriate,       to    be

provided to the disciplinary hearing officer and the

inmate’s treatment team.



                b.    The Court’s Ordered Relief

    The court will order that ADOC must comply with these

provisions     of    Administrative       Regulation      626.        The

mental-health consultation process remains badly broken,

and the court finds this relief necessary in light of

ADOC’s longstanding use of mental-health consultations

as rubber stamps for the disciplinary process, to the

grave detriment of inmates with serious mental-health

needs.

    Just as the court found in the liability opinion,

the mental-health consultations are still limited to the

point of meaninglessness.          In the overwhelming majority

of the hundreds of disciplinary reports that Mr. Vail

reviewed, input by mental-health staff consisted of four

yes/no answers: whether the inmate was competent, whether

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mental-health     issues     affected     the    inmate’s    behavior,

whether mental-health issues needed to be considered in

the disposition, and whether mental-health staff would

be present at the hearing (always answered “no,” see May

26, 2021, R.D. Trial Tr. at 203).               See, e.g., Pls.’ Ex.

2953 at ADOC492463.

    These formalities are sufficiently perfunctory that

consulting mental-health staff routinely fail to ensure

that basic (and critical) information, such as whether

the inmate is on the mental-health caseload, what the

inmate’s mental-health code is, and whether the inmate

has an SMI, is actually reported. As noted in the section

on current conditions, the box on the consultation form

to indicate whether an inmate is on the mental-health

caseload is frequently marked with an error code, and

there is no designated space to indicate that an inmate

has a serious mental illness.               Even when an inmate’s

mental-health status is appropriately noted, the cursory

comment rarely offers the slightest indication of how the

inmate’s mental-health issues may be affected by possible

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sanctions, much less an affirmative recommendation that

specific sanctions are appropriate or inappropriate.                       As

Vail described one comment that “[inmate] has an SMI flag

and has recently engaged in self-injurious behavior,”

such    a   comment       “doesn’t     give     the     hearing    officer

sufficient information to really know what to do.”                        May

26, 2021, R.D. Trial Tr. at 213-14.

       Furthermore, discrepancies and omissions continue to

plague these consultations, causing real harms to inmates

by exposing them to sanctions that are inappropriate in

light of their mental-health needs. In “one of the better

comments” that Vail reviewed, May 26, 2021, R.D. Trial

Tr.    at   220,   a    consulting     mental-health       staff    member

noted, “[Inmate] has a serious mental illness diagnosis.

Long-term              restrictive            housing          assignment

contraindicated.”         Pls.’ Ex. 2953 at ADOC492423.              While

this    “better”       comment   still     suffers      from   a   lack    of

specificity as to the meaning of “long-term,” see May 26,

2021, R.D. Trial Tr. at 220, the inmate was not sentenced

to     disciplinary       segregation       for   the      corresponding

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disciplinary report, see Pls.’ Ex. 2953 at ADOC492425.

Less than a month later, however, a consultation to a

subsequent       disciplinary         proceeding        for   that    inmate

answered    that      there    were    no     mental-health      issues     to

consider, see Pls.’ Ex. 2953 at ADOC492463, and the

inmate     was    sentenced       to     45      days    in   disciplinary

segregation, see id. at ADOC492465.

    The gravity of this issue is perhaps most apparent

in the case of Jaquel Alexander, whose consultation had

nothing to say about his serious mental illness, his

previous contraindications for restrictive housing, see

Jaquel     Alexander         Mental-Health        Records     (P-3297)      at

ADOC518254, ADOC518487, or his suicide attempt one month

earlier, see id. at ADOC518247.                   See Jaquel Alexander

Institutional         File    (P-3296)      at   ADOC517817.         As   Vail

observed, the consultation contained “no indication that

this was anything out of the ordinary other than the fact

that the person was on the caseload.”                   May 27, 2021, R.D.

Trial    Tr.     at   15.      This    consultation,          identical     to

countless others in all but name and date, gave the

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hearing officer a green light to sentence Alexander to

segregation, where he committed suicide.

    ADOC’s adoption of revised regulations is no answer

to this sustained dysfunction.             Even at the time of the

liability     opinion,      ADOC     had   regulations       in    place

pertaining to these consultations.              ADOC has failed to

improve this process at all in the four years since the

liability opinion.        As Vail testified, “[t]his process

is far from being fully implemented.”             June 1, 2021, R.D.

Trial Tr. at 44.        Because ADOC has shown itself to be

incapable of following its own regulations—it failed to

do so in 2017 and it is failing to do so today—it is

necessary for the court to order ADOC to comply with the

central   provisions      of   its    regulations      regarding      the

provision of adequate mental-health consultations to the

disciplinary process.           This area should be monitored

especially closely by the EMT.



                c.    PLRA Findings



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       The provisions that the court orders are necessary

to ensure that mental-health consultations are adequately

informative        to    facilitate       consideration          of   inmates’

mental-health           issues    in     the     disciplinary         process.

Substantive mental-health consultations must occur, and

they must provide the hearing officer with the necessary

context of an inmate’s mental-health status and history.

A    sequence      of    checkboxes       that   are      filled      out   with

variable       accuracy      is    no     substitute       for     meaningful

deliberation         and     documentation           by    the     consulting

mental-health            staff,          including         comments          and

recommendations regarding appropriate and inappropriate

punishments.

       This relief is narrowly drawn to correct ADOC’s

continued deficiencies in the protection of inmates with

the most serious mental-health needs in the disciplinary

process.       And it is the least intrusive means that will

ensure      that   hearing       officers      are   aware    of      necessary

information regarding inmates’ mental-health issues and

their implications.

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   2.     Consideration of Mental-Health Consultations

                a.    The Relevant Provisions

    Section     V.D.3     of    Administrative        Regulation      626

provides that “the disciplinary officer must consider the

mental health consultation, including any evaluation,

comments, or recommendations, in deciding an inmate’s

guilt   or   innocence     and,      if    guilty,   in   imposing    any

disciplinary sanctions.”            Section V.D.6 further requires

that the hearing officer must document this consideration

of the mental-health consultation.

    With respect to determinations of guilt, §                  V.A.1.a

of Administrative Regulation 403 prohibits the discipline

of an inmate “for symptoms directly related to his or her

mental illness, including but not limited to issuing

disciplinaries       or   applying        disciplinary    sanctions    to

inmates   for   engaging       in   conduct     directly    related    to

self-injurious        behavior.”             Both    parties    propose

provisions defining “symptoms directly related to [an

inmate’s] mental illness” to include “behaviors that

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would otherwise give rise to disciplinary proceedings or

behavior     citations    but   for     the   fact     that   they    were

directly caused by the inmate’s mental illness,” such as

“violence toward other people, defiance of correctional

staff, destruction of property, self-harm, and possession

of contraband for the purpose of self-harm.”                         Pls.’

Updated Proposed Omnibus Remedial Order (Doc. 3342) at

§ 11.2.1; Defs.’ Proposed Phase 2A Remedial Order (Doc.

3215)   at   § 11.2.       They     likewise    propose       provisions

defining     “conduct    directly     related     to    self-injurious

behavior” to include “engaging in self-harm; attempting

suicide; possessing tools or instruments, such as razors,

other sharp objects, and rope, for the purpose of using

them to engage in self-harm; and destroying property,

such as ripping apart a mattress or causing fire damage

to a cell, in the process of self-harming or attempting

suicide.”     Pls.’ Updated Proposed Omnibus Remedial Order

(Doc.   3342)      at   § 11.2.2;     Defs.’    Proposed       Phase    2A

Remedial Order (Doc. 3215) at § 11.3.                    Additionally,

§ V.D.3.a     of   Administrative       Regulation      626   specifies

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that, “[i]f the mental health staff member performing the

mental health consultation concludes that the rule or

regulation violation was a direct result of the inmate’s

mental illness, then the disciplinary hearing officer

must find the inmate not guilty of the disciplinary

action.”

      With      respect     to     punishment,          § V.D.3.b         of

Administrative Regulation 626 provides that, “[i]f the

mental health staff member performing the mental health

consultation       concludes     that    the     rule      or    regulation

violation was related to, but not the direct result of,

the   inmate’s     mental    illness,         then   the    disciplinary

hearing       officer     must   take     that       conclusion        into

consideration in imposing any disciplinary sanctions.”

Section V.D.4 adds, in relevant part, that, “if the

mental    health    staff   member      who    conducted        the   mental

health       consultation      determined       that       any    specific

disciplinary sanction is clinically contraindicated for

the inmate, including confinement to restrictive housing

for a medium- or high-level rule or regulation violation,

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then the decision of the mental health staff member who

performed     the    mental     health     consultation       will     be

outcome-determinative and binding on the disciplinary

hearing officer, except where exceptional circumstances

exist.”



                b.    The Court’s Ordered Relief

     The court will order that ADOC must comply with

§§ V.D.3 and V.D.3.b, and the provision of § V.D.4 quoted

above, of Administrative Regulation 626.                 With respect

to the punishment of disciplinary violations, Dr. Burns,

Dr. Metzner, and Mr. Vail all stressed the importance of

considering an inmate’s mental illness and mental-health

needs. See June 4, 2021, R.D. Trial Tr. at 135-36, 154-56

(testimony of Dr. Burns); May 26, 2021, R.D. Trial Tr.

at 207 (testimony of Mr. Vail); June 29, 2021, R.D. Trial

Tr. at 178, 180-81 (testimony of Dr. Metzner).                         As

explained previously, robust mental-health consultations

are a necessary step in communicating this information

to   the    hearing      officers       tasked    with     determining

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sanctions.        But    without         meaningful       consideration      by

hearing officers, mental-health consultations accomplish

nothing,    and     mentally        ill    inmates       are   left   without

protection from inappropriate disciplinary sanctions.

    Currently, hearing officers continue to discipline

inmates without due regard for their mental illnesses and

mental-health needs.              While the continued inadequacy of

the mental-health consultations that are provided plays

a considerable role in perpetuating these violations, the

evidence      also       indicates             that     hearing     officers’

consideration of the consultations that are provided is

insubstantial.          Vail testified that he has not seen

documentation       that      a    hearing       officer    ever    contacted

mental-health        staff        with     any        questions    about     the

consultation,        even     when       the    consultation       identifies

relevant mental-health issues, see May 27, 2021, R.D.

Trial   Tr.    at       14;       the    only     documentation       that     a

consultation was considered is an unexplained “yes,” see

id. at 15-16.        The absence of any documented reasoning

tying hearing officers’ decisions to the mental-health

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consultations          raises       serious        concerns        that       the

consultations are received and promptly disregarded.

       The   need     for     meaningful       consideration            of    the

mental-health        consultation      is     at    its    most     dire     when

mental-health        staff      have       determined        that       certain

sanctions,      most    notably       segregation,          are    clinically

contraindicated.         Dr. Burns testified that, in light of

the mental-health staff’s understanding of “the impact

that disciplinary sanctions might have on [an inmate’s]

mental health” and “the impact of restrictive housing on

persons      with    mental     illness,”      it     is    necessary        for

mental-health staff to have the clear authority to divert

inmates       with      serious        mental-health          needs          from

contraindicated punishments, particularly segregation.

June    4,   2021,     R.D.   Trial    Tr.     at    135.         Dr.   Metzner

similarly endorsed the ability for mental-health staff

to veto placements in segregation.                   See June 29, 2021,

R.D.    Trial   Tr.     at    116    (testimony       of     Dr.    Metzner).

Currently, however, as Dr. Burns and Mr. Vail testified,

the evidence reflects that mental-health staff do not

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recognize     or    do   not    exercise       this    authority      in     the

disciplinary context.           See May 26, 2021, R.D. Trial Tr.

at   214-15    (testimony        of     Vail,    stating       the    general

conclusion); May 27, 2021, R.D. Trial Tr. at 6-7, 57

(testimony of Vail, noting the absence of any unequivocal

contraindications of segregation in the consultations he

reviewed); May 25, 2021, R.D. Trial Tr. at 41-42, 203-04

(testimony     of    Dr.       Burns,       discussing    this       lack    of

meaningful input by mental-health staff generally and

with respect to the repeated failure to divert inmate

T.C. from disciplinary segregation, despite her diagnosis

with bipolar disorder); June 22, 2021, R.D. Trial Tr. at

124 (testimony of Dr. Burns, noting the absence of any

recommendations          for    alternative           sanctions      in     the

consultations she reviewed).                One incident outside of the

consultation       process      that    ADOC     cites    to    rebut       this

testimony is telling.            A progress note reviewed by Dr.

Burns and Vail reported that, when two mental-health

staff did determine that placement in segregation was

contraindicated for an inmate, a captain responded that

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the inmate would be placed in the restrictive housing

unit anyway.         See May 25, 2021, R.D. Trial Tr. at 27,

204; May 27, 2021, R.D. Trial Tr. at 58-60.                     That the

mental-health staff ultimately succeeded in diverting the

inmate by placing him on suicide watch is not, as ADOC

contends,       evidence       that     diversion    is    functioning

properly.       If anything, the incident is a sign that

correctional staff are resistant to the few attempts to

divert inmates from contraindicated punishments that do

occur.

       The    current     superficiality     of     the   consultation

process necessitates relief with respect to the conduct

of   both     consulting       mental-health      staff   and    hearing

officers.       For mental-health consultations not to be

useless, the court must order that they be considered as

well as provided.         And for clinical contraindications of

sanctions      not   to   be   toothless,    the    determination      of

mental-health staff regarding contraindicated sanctions

must     be    outcome-determinative         in     the   absence      of



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exceptional circumstances, see supra at 41-49 (defining

“exceptional circumstances”).

       At this time, however, the court will not order

relief    with    respect    to    § V.A.1.a     of      Administrative

Regulation 403 or § V.D.3.a of Administrative Regulation

626 regarding the conduct that may not be disciplined.

Although    there    is    evidence      that   ADOC      continued    to

discipline inmates for self-injurious behavior after the

liability opinion, see, e.g., May 25, 2021, R.D. Trial

Tr. at 38 (inmate M.W. lost 6 months of good time for

cutting himself in November 2018), ADOC has more recently

taken concrete steps toward correcting this problem.

ADOC    removed    the    Rule   505    violation     that   explicitly

provided for the discipline of inmates who engaged in

self-harm, and it asserts without contradiction that it

has expunged such violations from the records of inmates

with     serious      mental      illnesses         or    intellectual

disabilities.       See June 9, 2021, R.D. Trial Tr. at 34

(testimony of Dr. Burns, noting that she was unaware of

any inmate who received a Rule 505 violation after it was

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eliminated); June 22, 2021, R.D. Trial Tr. at 126-28

(testimony of Dr. Burns, noting that she had not seen

evidence          that     undermines         ADOC’s     assertion       that

expungement is occurring).                  In itself, this change does

not prevent the use of other rules to punish conduct

related to self-injurious behavior; shortly after the

Rule 505 violation was removed, an officer initiated a

disciplinary action for failure to obey an order against

an inmate who was standing on his toilet with a piece of

sheet tied around his neck and refused to untie the sheet

and        step      down.            See      Pls.’        Ex.   4181     at

ADOC529996-ADOC529998; see also May 27, 2021, R.D. Trial

Tr.   at     47-49       (testimony    of    Vail,     characterizing     the

disciplinary action as a “back handed way of punishing

someone for a self harm attempt”).                   And it also does not

address discipline for other behaviors directly related

to    an    inmate’s       mental     illness;       Vail    discussed   one

disciplinary report against an inmate for not taking her

mental-health medication.              See May 26, 2021, R.D. Trial

Tr. at 217.        But generally, it appears that ADOC’s recent

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progress    in   this    area   is   meaningful.        Even    without

ordering relief with respect to these provisions, the

court is confident that the EMT, in its review of the

ongoing problems in mental-health consultations to the

disciplinary process, will be able to flag for the court

whether ADOC fails to adhere to its policy consistently

moving forward.

    Although     Vail    highlighted      the     hollowness     of   the

current practice of documenting the hearing officer’s

consideration of the mental-health consultation in a

single-word answer, always “yes,” see May 27, 2021, R.D.

Trial Tr. at 15-16, the court will not order compliance

with § V.D.6 of Administrative Regulation 626.                 Instead,

in light of Vail’s testimony that such documentation will

be “critical” to the EMT, June 1, 2021, R.D. Trial Tr.

at 47, the court will leave to the EMT the task of

determining what documentation is necessary to monitor

ADOC’s compliance with the relief that the court does

order   regarding       the   provision     and    consideration       of

substantive consultations.

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                 c.    PLRA Findings

     The relief that the court orders is necessary to

avoid imposing inappropriate and dangerous sanctions on

inmates     with      serious    mental-health               needs.      Absent

meaningful         consideration            of         the      mental-health

consultations, hearing officers will continue to make

disciplinary       decisions      affecting            the     placement     and

punishment    of      vulnerable       inmates         without    appropriate

regard for or understanding of their mental-health needs.

And when the consulting mental-health staff concludes

that certain sanctions are contraindicated by an inmate’s

mental-health issues, it is critical to the mental health

and safety of the inmate that the hearing officer abide

by   that     determination            in        all     but      exceptional

circumstances.          This    relief,       which      preserves      ADOC’s

discretion in such exceptional circumstances, is narrowly

tailored    to     ensure      that    the       disciplinary         sanctions

imposed on inmates are not medically inappropriate and

do   not    subject      them     to    the       substantial         risk   of

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decompensation and worsened symptoms of mental illness.

Ordering ADOC to comply with these regulations is the

least intrusive means that will afford this necessary

protection to inmates with serious mental-health needs

in the disciplinary context.



          3.    Other Provisions Regarding Discipline

    Administrative Regulations 403 and 626 include a

number of other provisions addressing the consideration

of mental-health issues in the disciplinary process.

    Administrative Regulation 403 contains provisions

for low-level rule violations by certain inmates to be

addressed outside of the formal disciplinary process or

behavioral citation process.                 Sections V.E.4 and V.F.3

provide        that    such        violations      by    inmates    in     a

stabilization unit, residential treatment unit, or crisis

placement       “shall       be    handled    in   the    mental   health

treatment planning process.”                 Sections V.E.5 and V.F.4

provide that such violations by inmates in a structured

living     unit       “may    be    handled     through     the    [formal

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disciplinary process or behavior citation process] unless

the mental health staff member performing the mental

health consultation determines that the use of [that

process] is clinically contraindicated,” in which case

the violation will be addressed through the mental-health

treatment    planning      process.        However,     there     is   no

evidence that ADOC has failed to follow these procedures.

Accordingly, the court will not order compliance with

these provisions.

    Section V.B.2.i of Administrative Regulation 403 and

§ V.D.1 of Administrative Regulation 626 provide that

mental-health staff may attend the disciplinary hearing

to assist the inmate.       Although mental-health staff never

attended the disciplinary hearings in the cases that Vail

reviewed, see May 26, 2021, R.D. Trial Tr. at 203, there

is no evidence that mental-health staff are prevented

from attending.       Rather, the evidence reflects that in

the cursory mental-health consultations, the consulting

mental-health staff routinely, if not always, decide that

they will not be attending.          Thus, to the extent that the

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failure of mental-health staff to attend disciplinary

hearings contributes to the harms suffered by inmates

with serious mental-health needs, these provisions do not

address the root cause of these harms, so the court will

not order compliance.

       Other provisions of Administrative Regulation 403

that    specifically      address    inmates      with    mental-health

needs include:

  • Sections V.A.1.e and V.A.1.f, which state when and
    how inmates with certain mental-health issues shall
    be provided notice of a disciplinary report;

  • Section V.A.7.b, which states when disciplinary
    hearings must be postponed for inmates on suicide
    watch or other crisis placements; and

  • Sections V.B.2.n and V.C.2.c, which state when and
    how inmates with certain mental-health issues shall
    be notified of the outcome of a disciplinary
    proceeding.

       Dr. Burns and Vail credibly testified that these

provisions        protect      inmate     safety         by    involving

mental-health      staff     in    the   disciplinary         process   to

minimize    the    risk     that   aspects   of    the    process   will

exacerbate an inmate’s mental-health issues.                    See June


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4, 2021, R.D. Trial Tr. at 117-21, 125-26 (testimony of

Dr. Burns); May 27, 2021, R.D. Trial Tr. at 18-21, 25-28,

33-34 (testimony of Vail).              However, there is limited

evidence that ADOC is currently failing to apply these

provisions.     See June 1, 2021, R.D. Trial Tr. at 54-57,

73-74 (testimony of Vail, conceding that he was unaware

of recent violations of multiple of these provisions);

June 22, 2021, R.D. Trial Tr. at 107-10 (testimony of Dr.

Burns, noting that she had not seen recent violations of

several of these provisions).              Accordingly, the court

will not order this additional relief.



                            M.   Training

    ADOC’s recent work with Dr. Burns and Dr. Perrien to

implement numerous trainings represents a significant

improvement over prior conditions.             Since ADOC developed

training      curriculums        in     coordination        with      its

consultants, Dr. Burns confirmed that it has provided

comprehensive mental-health training, suicide prevention

training, and suicide risk assessment training to current

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and newly hired staff.        See June 22, 2021, R.D. Trial Tr.

at 48, 50-51, 53-55; June 23, 2021, R.D. Trial Tr. at

225-26.     However, despite its major strides to ensure

that    current    and   newly     hired    staff    are     adequately

trained,    the    evidence     presented      during      the   omnibus

remedial     hearings     reflects      lingering        problems     that

require redress.

       First, there is some evidence that ADOC’s provision

of   training     is   incomplete.       ADOC’s     Assistant       Deputy

Commissioner for Operations Cheryl Price testified in a

deposition      that   she   personally     had    not    received     the

comprehensive      mental-health        training     that    stipulated

remedial orders have required since 2018 for all staff

who have any direct contact with inmates.                   See June 1,

2021, R.D. Trial Tr. at 42; Phase 2A Order and Injunction

on     Mental-Health     Identification        and       Classification

Remedy, Attachment A (Doc. 1821-1) at § 1.1.                  Moreover,

as recently as March 2021, a spot audit of Ventress

reflected that the facility’s site program manager, who,

as Dr. Burns testified, is “in charge of mental health

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services at [the] facility,” May 26, 2021, R.D. Trial Tr.

at 54, had not received the suicide risk assessment

training.      See Pls.’ Ex. 3626 at ADOC565532.

       Second, and more to the point, ADOC’s failure to

document its provision of training consistently renders

it virtually impossible to know the extent of ADOC’s

progress.          During     her   deposition,     Assistant    Deputy

Commissioner of Operations Price further conceded that

she     did    not     know    if     everyone     who   required     the

comprehensive mental-health training had received it.

See June 1, 2021, R.D. Trial Tr. at 42.                  Even Wexford,

has acknowledged that its documentation of court-ordered

trainings has been inconsistent.              See Pls.’ Ex. 3323 at

4-5.        This lack of dependable documentation poses a

challenge for ADOC in providing necessary training to new

and current staff, and it suggests that the EMT may face

similar challenges in monitoring ADOC’s provision of this

training.

       As   with     nearly   every    area   of   liability,    ADOC’s

provision of training and its related challenges are

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inseparable from its chronic correctional understaffing.

To come into compliance with the court’s omnibus remedial

order and provide a constitutionally adequate standard

of   mental-health       care,      ADOC     will    need     to    hire

significantly more correctional officers in the next

three-and-a-half       years.         More   officers      means    more

training, more documentation, and more opportunities for

staff   to   fall   through     the     cracks.     ADOC’s     slapdash

approach to tracking which staff receive which trainings

will not do.     The trainings that ADOC has implemented in

coordination with its consultants are the foundation for

much of the relief that the court orders today, from

adequate identification of inmates’ mental-health needs

at intake and through referrals, to appropriate placement

of inmates with mental-health needs, to proper monitoring

of inmates in segregation and crisis placements.                    They

also represent a means of bridging the persistent gap

between ADOC’s policies and on-the-ground practice.                   The

court, the EMT, the men and women in ADOC’s facilities,



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and ADOC itself must be sure that they are being carried

out.



                1.    Documentation of Training

                a.    The Parties’ Proposed Provisions

       As an initial matter, the defendants assert that no

relief is necessary with respect to training.                See Defs.’

Post-Trial    Br.    (Doc.    3367)     at   134.     The   plaintiffs

propose, and the defendants propose in the alternative,

the    following     provisions     requiring       ADOC    to   provide

training on:

       • The   Comprehensive   Mental   Health  Training
         Curriculum, see Pls.’ Updated Proposed Omnibus
         Remedial Order (Doc. 3342) at § 13.1; Defs.’
         Proposed Phase 2A Remedial Order (Doc. 3215) at
         § 14.1;

       • Suicide prevention, see Pls.’ Updated Proposed
         Omnibus Remedial Order (Doc. 3342) at § 13.2;
         Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215)
         at § 14.3.5;

       • Confidentiality,   see  Pls.’   Updated  Proposed
         Omnibus Remedial Order (Doc. 3342) at §§ 13.3.1,
         13.3.1.1; Defs.’ Proposed Phase 2A Remedial Order
         (Doc. 3215) at § 6.2;



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    • Mental-health rounds in restrictive housing units,
      see Pls.’ Updated Proposed Omnibus Remedial Order
      (Doc. 3342) at § 13.4; Defs.’ Proposed Phase 2A
      Remedial Order (Doc. 3215) at § 14.3.5.1;

    • Emergency preparedness, see Pls.’ Updated Proposed
      Omnibus Remedial Order (Doc. 3342) at § 13.5;
      Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215)
      at § 14.3.6;

    • Discipline, see Pls.’ Updated Proposed Omnibus
      Remedial Order (Doc. 3342) at § 13.6; Defs.’
      Proposed Phase 2A Remedial Order (Doc. 3215) at
      § 14.2.1;

    • Suicide risk assessments, see Pls.’ Updated
      Proposed Omnibus Remedial Order (Doc. 3342) at
      §§ 13.7.1-13.7.3; Defs.’ Proposed Phase 2A Remedial
      Order (Doc. 3215) at §§ 14.3.1, 14.3.2;

    • Correctional risk factors, see Pls.’ Updated
      Proposed Omnibus Remedial Order (Doc. 3342) at
      § 13.8; Defs.’ Proposed Phase 2A Remedial Order
      (Doc. 3215) at § 14.3.5.2; and

    • Observation on suicide watch, see Pls.’ Updated
      Proposed Omnibus Remedial Order (Doc. 3342) at
      § 13.9.

    The    defendants     further       propose   that,    within     six

months of the effective date, “ADOC and/or its mental

health vendor will create or revise, as appropriate, any

training materials required by this Phase 2A Remedial

Order,” subject to the approval of the compliance team.

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Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at §

14.4.



                b.     The Court’s Ordered Relief

    The court will order that ADOC must document its

provision    of      training.      Even    though     some    evidence

reflects that ADOC has implemented these trainings and

provided them to current and new staff, the department’s

recent,   and     still-imperfect,       implementation       of     these

trainings    does     not   provide     assurance    that     ADOC    will

provide these trainings as it hires additional staff.

Documenting these trainings is critical to facilitate

monitoring of the steps that ADOC takes to train its

staff to comply with the omnibus remedial order, and to

gauge the extent to which ADOC’s successes and failures

in implementing certain provisions provide reason for the

court to revisit them.



                c.     PLRA Findings



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    Requiring ADOC to document the training that it

provides    is   necessary     to    enable     the   EMT   to   monitor

training adequately and to ensure that the department

actually does what it says it will do and trains new

staff as they are hired.        Without this documentation, the

extent     to     which      ADOC         has   implemented        these

trainings--trainings that form the foundation for much

of the other relief the court orders--will be unknowable.

    The court cannot simply rely on the fact that ADOC

has conducted these trainings recently to conclude that

it will continue to do so in the absence of monitoring.

In light of ADOC’s grievous understaffing, and the fact

that adding new staff will actually increase rather than

decrease the initial demands on current staff in this

area, ADOC’s contention that it has achieved compliance

is illusory until its practices reflect that it can

sustain compliance.        The court must also make sure that

training does not fall victim to the ADOC’s practice of

“robbing Peter to pay Paul,” that is, the practice that,



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due to severe staffing shortage, it must divert staff

from one remedy to address another.

    Requiring merely that ADOC document the trainings

that it says it will conduct is narrowly tailored to

monitor ADOC’s provision of training and to ensure that

ADOC’s staff are adequately and appropriately trained to

implement the other relief that the court orders, all of

which is necessary, narrowly tailored, and minimally

intrusive to correct ADOC’s violations.                Moreover, this

documentation requirement preserves ADOC’s discretion in

the manner by which it conducts these trainings, and so

is the least intrusive means that will monitor that these

trainings occur.



              2.     Emergency Preparedness Drills

                a.    The Parties’ Proposed Provisions

    With respect to emergency preparedness drills for

suicide prevention, the plaintiffs propose the following

provision:

    “For training purposes, on a quarterly basis, ADOC
    and/or  its   mental-health  vendor  must  conduct
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       emergency preparedness drills at each ADOC major
       facility, including scenarios involving self-injury
       and suicide attempts.         During the emergency
       preparedness drills, the trainers must evaluate the
       correctional and medical staff response time to the
       emergency code and their preparedness for the
       emergency code (including, as appropriate, presence
       of    an   emergency     bag,   automatic    external
       defibrillator     (AED),    and    cut-down    tool).
       Additionally, the emergency preparedness drill must
       include role-playing for participants to practice
       the response to an emergency, including, for example,
       using a cut-down tool, rendering first aid, and
       performing cardiopulmonary resuscitation (CPR).”
       Pls.’ Updated Proposed Omnibus Remedial Order (Doc.

3342) at § 13.5.       The defendants propose essentially the

same    provision,    except    that    they   propose     that    these

drills be required on an annual, rather than quarterly,

basis and that the provision apply only to ADOC major

facilities where the plaintiffs have proved that the

emergency preparedness drills are necessary.                See Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at § 14.3.6.



                b.    The Court’s Ordered Relief

       The   court   will    adopt     the   plaintiffs’       proposed

provision.      As emphasized in the court’s discussion of

relief for suicide prevention, ADOC’s immediate responses
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to suicide attempts continue to be plagued by delays in

taking vital, potentially life-saving measures.                   ADOC’s

recurrent failures pose a grave danger to the life and

safety of inmates with acute mental-health needs.

      To address these problems, it is not enough for the

court to order that ADOC’s immediate responses to suicide

attempts be carried out correctly.             An adequate response

to suicide attempts begins not in the moment that an

attempt is detected, but well before that, when staff are

trained and retrained on how to respond appropriately in

an emergency situation.        See May 28, 2021, R.D. Trial Tr.

at    138   (testimony    of   Mr.    Vail).       Training     is    the

foundation for immediate responses to suicide attempts,

and   overwhelming     evidence      supports     the   necessity      of

emergency preparedness, or “man-down,” drills to prepare

staff   for   these    critical      interventions.         Dr.    Burns

testified that these drills are necessary to respond

appropriately to suicide attempts in progress.                 See June

4, 2021, R.D. Trial Tr. at 64-65.              Vail elaborated that

performing these drills regularly is “very important”

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because “the training doesn’t really take until you’re

in a role playing situation.”            May 28, 2021, R.D. Trial

Tr. at 138.        The testimony of both experts echoes the

recommendations        in     several       recent      psychological

autopsies    for    inmates    who    committed     suicide    in    ADOC

facilities; the psychological autopsy of Jamal Jackson,

for instance, recommended that “[a]ll correctional and

healthcare staff must be trained on this vital issue and

training must be reinforced frequently through education

and ‘Man-Down’ drills.”              Jamal Jackson Psychological

Autopsy (P-3295) at ADOC0518575; see also Laramie Avery

Psychological      Autopsy    (P-3302)     at    ADOC0518581;       Casey

Murphree Psychological Autopsy (P-3281) at ADOC0518572.

      Citing to records of emergency preparedness drills

dating back to October 2020, the defendants argue that

ADOC’s implementation of these drills obviates the need

for   a   court    order.      See    Defs.’     Response     to    Pls.’

Post-Trial Br. (Doc. 3378) at 281.              The court disagrees.

While these recent efforts represent an important step

for ADOC, they do not undermine the need for relief to

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address the years of failures that the court has found

in ADOC’s immediate responses to suicide attempts.                    See

May 25, 2021, R.D. Trial Tr. at 8, 11 (testimony of Dr.

Burns, noting connections between the failures in the

immediate responses to suicides that occurred before and

after the suicide prevention opinion). Because effective

training depends on regularity and consistency, relief

remains necessary not only to bring ADOC into compliance,

but to sustain compliance as ADOC contends with the

continued challenges of understaffing.



                c.    PLRA Findings

      ADOC’s persistent failure to respond appropriately

to suicide attempts in progress is a systemic problem,

and   it   demands    systemic     relief.       Requiring     ADOC    to

conduct     regular     emergency       preparedness       drills      is

necessary to correct this longstanding threat to the

safety of inmates who attempt suicide or other serious

self-injurious behavior.



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    In light of the magnitude of this problem and the

severity      of    its    consequences,   the    court    finds    that

quarterly, rather than annual, drills are necessary to

address the violation.           Vail credibly testified that a

quarterly frequency provides “reasonable” time to plan

these drills, see May 28, 2021, R.D. Trial Tr. at 138-39,

and the court finds that quarterly drills are narrowly

tailored and the least intrusive means that will correct

ADOC’s widespread failures in this area.                  Finally, and

again, the court must also make sure that the emergency

drills requirement does not fall victim to the ADOC’s

practice of “robbing Peter to pay Paul,” that is, the

practice that, due to severe staffing shortage, it must

divert staff from one remedy to address another.




         3.        Training for Mental-Health Observers

                   a.     The Parties’ Proposed Provisions

    With respect to the training of observers who conduct

constant observation and close watch of inmates who are

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on   suicide   watch,      the    plaintiffs      propose      the   follow

provision:

     “Observers must receive additional training related
     to observation obligations; access to medical,
     mental health, and correctional staff; conflict
     resolution; and facility-specific processes and
     procedures (including how to access assistance in an
     emergency, obtain observation relief for a break,
     and communicate with supervisory staff during
     nontypical work hours).”

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at   § 13.9.         The   defendants       propose       no   equivalent

provision.



                b.    The Court’s Ordered Relief

     The court will order that observers must receive

additional     training          related    to    their        observation

obligations--including           where     they   are     to    stand    and

sit--and how to obtain assistance if an inmate requires

medical care or in the event of an emergency.                    The court

finds this relief necessary in light of Dr. Burns’s and

Dr. Perrien’s finding, upon inspecting ADOC facilities

in 2019, that “[i]n none of the facilities ... were the

‘watchers’     positioned         appropriately      to     permit      full
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visibility into the safe cells or constant visibility of

the inmates being observed.”                Braggs, 383 F. Supp. 3d at

1259   (quoting    Report       and    Recommendations          on   Suicide

Prevention in the Alabama Dep’t of Corrections (Doc.

2416-1) at 26).      Rather, the experts noted that observers

were   “seated    far    removed       from      the   crisis     cell, ...

obscuring their view into the cell and of the inmate.

This occurred even though the door and food/cuff port

were   closed    and    there    was        no   apparent   risk     to   the

observer.”        Report     and       Recommendations       on      Suicide

Prevention in the Alabama Dep’t of Corrections (Doc.

2416-1) at 10. They further found that inmates on suicide

watch reported having trouble accessing medical care and

that “mental health staff ... were not notified timely

when a serious suicide attempt or suicide occurred.”                      Id.

at 28.   The court finds it troubling that these practices

continued to occur well after its finding, in 2017, that

ADOC’s monitoring of suicidal prisoners was “woefully

inadequate.”      Braggs, 257 F. Supp. 3d at 1229.



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                  c.   PLRA Findings

      The court finds this provision necessary because it

is    dangerous    not   to     provide    adequate     monitoring     of

inmates on suicide watch.          Observers do not fulfill their

purpose to protect the safety of inmates experiencing

mental-health crises if they cannot actually see the

inmates they are tasked with monitoring.                 Furthermore,

inmates on suicide watch are denied adequate treatment

and     protection       when     observers      fail      to     notify

mental-health staff when inmates who they are monitoring

require medical attention, especially when the event

giving rise to the need for medical attention is a suicide

or serious suicide attempt.              This provision is narrowly

tailored and minimally intrusive, requiring only that

observers receive training specifically to address the

problems that Dr. Burns and Dr. Perrien identified in

ADOC’s current monitoring of inmates on suicide watch.

Finally, and again, the court must make sure that the

observers requirement does not fall victim to the ADOC’s

practice of “robbing Peter to pay Paul,” that is, the

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practice that, due to severe staffing shortage, it must

divert staff from one remedy to address another.




                    III. GLOBAL PLRA FINDINGS

    Just as the areas of inadequacy identified in the

court’s 2017 liability opinion are interconnected, see

Braggs, 257 F. Supp. 3d at 1192-93, so too are the

remedial    provisions      the    court    enters     today.       Each

addresses a failure that compounds with other failures;

often, absent one provision, other provisions will not

function adequately to protect prisoners’ safety.

    The experiences of the men who committed suicide

since   the    court’s     liability       opinion     exemplify      the

multifaceted character of ADOC’s deficiencies.                 For many

of these individuals, the timeline of their incarceration

reflects not a single moment in which ADOC failed them,

but a string of serial failures that cumulatively denied

them access to minimally adequate mental-health treatment

and care and culminated in their tragic loss of life.                  No

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single provision could have saved them.                   An appropriate

mental-health referral accomplishes nothing when it does

not      result       in        follow-up      care.        A      clinical

contraindication           of    placement     in    restrictive    housing

offers    no    protection         if    it    is    disregarded    without

exceptional          circumstances.            And     without     adequate

correctional and mental-health staffing, the whole system

collapses in on itself.            Because of this interdependence,

no provision that the court adopts today necessarily

renders any other provision unnecessary, and no subset

of the provisions offers a constitutionally sufficient

substitute for the ordered relief.

      ADOC’s severe shortage of correctional staff further

underscores the need for the entirety of the relief that

the court orders today.               As explained previously, ADOC’s

lack of staff has reduced it and its mental-health vendor

to a constant state of “robbing Peter to pay Paul”; to

implement relief in one area, it must divert staff from

another,       all    with      the     goal   of    triaging--that     is,

maximizing the number of surviving inmates.                      Given this

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history, the court finds that, despite ADOC’s progress

in some areas, it is an open and critical question whether

it   can   not   only    achieve       but   also    sustain     adequate

compliance in various areas simultaneously, and that all

of   the     provisions     it    orders      today     are    therefore

necessary.

     Thus, taken as a whole, as well as individually, and

set against the backdrop of what ADOC is doing and failing

to do to meet its constitutional obligations overall, the

court finds that the provisions it enters today are

necessary, narrowly tailored, and the least intrusive

means   to    correct    ADOC’s    systemic         violations    of   the

constitutional       rights       of     prisoners      with      serious

mental-health needs.


                          IV. CONCLUSION

     Four years ago, this court found the mental-health

care provided by the Alabama Department of Corrections

“horrendously      inadequate”         for   seven    independent      but

interrelated reasons.         Braggs, 257 F. Supp. 3d at 1267.

It further found that “persistent and severe shortages
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of mental-health and correctional staff, combined with

chronic and significant overcrowding, are the overarching

issues    that     permeate      each    of    the        above-identified

contributing factors of inadequate mental-health care.”

Id. at 1268.

       Since   then,    ADOC’s     mental-health            staffing       has

improved.      Its correctional staffing has not.                  What was

true four years ago is no less true today:                   ADOC does not

have      enough       correctional            staff         to     provide

constitutionally        adequate         mental-health            care      to

prisoners who need it.

       The continued dearth of correctional staff is the

fault at the heart of ADOC’s system of mental-health

care.    The absence of security staff prevents people who

need    treatment     from   accessing        it,   stops     those      whose

mental health is deteriorating from being caught before

they lapse into psychosis or suicidality, and fosters an

environment      of    danger,     anxiety,         and    violence       that

constantly assaults the psychological stability of people

with mental illness in ADOC custody.

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       It is therefore imperative that ADOC work with the

EMT to develop realistic benchmarks for the level of

correctional staffing it will attain in each of the next

four years, with the goal of achieving in four years the

level of staffing necessary to conduct normal operations

safely.    ADOC must also create its agency staffing unit

and work with the Savages to update its staffing analysis

as quickly as it can, and it must develop a proposal for

its restrictive housing to function safely until it hires

more correctional staff.           These steps cannot wait.            So

long as ADOC’s current staffing levels persist, people

with    serious    mental-health        needs    are    not    safe    in

Alabama’s prisons, but are at daily serious risk of

deprivation, decompensation, and death.

       With respect to the other constitutional violations

identified in the court’s liability opinion, ADOC’s track

record is mixed.         In certain areas it has made great

progress; in others, less.              The critical question is

whether it can sustain that progress, given its severe



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shortage of correctional staff, as it implements relief

in other areas.

    On the whole, though, the court is hopeful that in

the not too distant future many, if not all, of the

provisions it orders today may prove unnecessary.                      As

ever, the endgame for everyone should be both achieving

and sustaining adequate compliance and bringing this

phase   of   the   litigation      to    a   close   as   soon    as   is

reasonably possible.         Towards this end, the court will

hold status conferences about every four months with the

parties   to   discuss     their    progress     and   to   make    sure

nothing falls through the cracks.              As stated, when the

amount of work ADOC must now put into achieving and

sustaining adequate compliance is considered, the July

2025 deadline--when the department must meet the critical

and core correctional staffing deadline--is just around

the corner. Time is of the essence.

    DONE, this the 27th day of December, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE


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                             Appendix A

      The Defendants’ Mental-Health Treatment Guidance
Treatment Category      Initial Assessment        Subsequent Care




SU                      An RN will assess the     Typically, structured,
                        inmate on an emergent     out-of-cell activities
                        basis after arrival to    during each week will
                        the SU and make any       include a daily
                        necessary arrangements    interaction with a RN,
                        on an emergent, urgent,   psychologist, or
                        routine, or another       counselor and more than
                        basis for a psychiatric   one clinical encounter
                        assessment and/or         with a psychiatrist or
                        counseling assessment.    CRNP.
RTU (Levels 1-3)        An RN will assess the     Typically, structured,
                        inmate on an urgent       out-of-cell activities
                        basis after arrival to    during each week will
                        the RTU and make any      include multiple
                        necessary arrangements    interactions with an RN,
                        on an emergent, urgent,   psychologist, or
                        routine, or another       counselor and a clinical
                        basis for a psychiatric   encounter with a
                        assessment and/or         psychiatrist or CRNP.
                        counseling assessment.
SLU                     An RN will assess the     Typically, structured,
                        inmate on an urgent       out-of-cell activities
                        basis after arrival to    during each week will
                        the SLU and make any      include multiple
                        necessary arrangements    interactions with an RN,
                        on an emergent, urgent,   psychologist, or
                        routine, or another       counselor and a clinical
                        basis for a psychiatric   encounter with a
                        assessment and/or         psychiatrist or CRNP
                        counseling assessment.    based on clinical
                                                  judgment.
Outpatient              A treatment team member   Psychiatrist or CRNP:
                        will assess the inmate    Every 90 days, unless
                        on a routine basis.       otherwise clinically
                                                  indicated.

                                                  Psychologist or
                                                  counselor: Every 90
                                                  days, unless otherwise
                                                  clinically indicated.
